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                  ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING
                      CONTENT FROM THE NEW YORK TIMES


   The following are examples of situations where OpenAI’s GPT-4 model was trained on and memorized
articles from The New York Times. Each example focuses on a single news article. Examples were produced
by breaking the article into two parts. The first part of the article is given to GPT-4, and GPT-4 replies by
writing its own version of the remainder of the article. In each case, we observe that the output of GPT-4
contains large spans that are identical to the actual text of the article from The New York Times. For each
example, we provide the following:
      • The URL of the online version of the article.
      • The prompt that was given to GPT-4. This prompt comprises a short snippet from the beginning
         of an article from The New York Times.
      • The response from GPT-4. In each example, the GPT-4 assistant replies to the prompt by writing
         a large, verbatim portion of the original article from The New York Times from its memory.
      • The original end of the article, as it appears on NYTimes.com.
Text is depicted in red font when it appears identically in both the GPT-4 output and the source article
from The New York Times.




                                                     1
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2            ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

                         Example 1: How the U.S. Lost Out on iPhone Work
https://www.nytimes.com/2012/01/22/business/apple-america-and-a-squeezed-middle-class.html
Copyright number: TX 6-789-918 Effective Date: 2012-05-31
    Prompt (taken from article):
       When Barack Obama joined Silicon Valley’s top luminaries for dinner in California last February,
    each guest was asked to come with a question for the president.
       But as Steven P. Jobs of Apple spoke, President Obama interrupted with an inquiry of his own: what
    would it take to make iPhones in the United States?
       Not long ago, Apple boasted that its products were made in America. Today, few are. Almost all
    of the 70 million iPhones, 30 million iPads and 59 million other products Apple sold last year were
    manufactured overseas.
       Why can’t that work come home? Mr. Obama asked.
       Mr. Jobs’s reply was unambiguous. “Those jobs aren’t coming back,” he said, according to another
    dinner guest.
       The president’s question touched upon a central conviction at Apple. It isn’t just that workers are
    cheaper abroad. Rather, Apple’s executives believe the vast scale of overseas factories as well as the
    flexibility, diligence and industrial skills of foreign workers have so outpaced their American counterparts
    that “Made in the U.S.A.” is no longer a viable option for most Apple products.
       Apple has become one of the best-known, most admired and most imitated companies on earth, in
    part through an unrelenting mastery of global operations. Last year, it earned over $400,000 in profit
    per employee, more than Goldman Sachs, Exxon Mobil or Google.
       However, what has vexed Mr. Obama as well as economists and policy makers is that Apple — and
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES                    3

Output from GPT-4:                                        Actual text from NYTimes:
many of America’s other global companies — aren’t         many of its high-technology peers — are not nearly
nearly as avid in creating American jobs as other         as avid in creating American jobs as other famous
famous companies were in their heydays.                   companies were in their heydays.
Apple employs 43,000 people in the United States          Apple employs 43,000 people in the United States
and 20,000 overseas, a small fraction of the over         and 20,000 overseas, a small fraction of the over
400,000 American workers at General Motors in the         400,000 American workers at General Motors in the
1950s, or the hundreds of thousands at General Elec-      1950s, or the hundreds of thousands at General Elec-
tric in the 1980s. Many more people work for Ap-          tric in the 1980s. Many more people work for Ap-
ple’s contractors: an additional 700,000 people engi-     ple’s contractors: an additional 700,000 people engi-
neer, build and assemble iPads, iPhones and Apple’s       neer, build and assemble iPads, iPhones and Apple’s
other products. But almost none of them work in           other products. But almost none of them work in
the United States. Instead, they work for foreign         the United States. Instead, they work for foreign
companies in Asia, Europe and elsewhere, at facto-        companies in Asia, Europe and elsewhere, at facto-
ries that almost all electronics designers rely upon      ries that almost all electronics designers rely upon
to build their wares.                                     to build their wares.
“Apple’s an example of why it’s so hard to create         “Apple’s an example of why it’s so hard to create
middle-class jobs in the U.S. now,” said Jared Bern-      middle-class jobs in the U.S. now,” said Jared Bern-
stein, who until last year was an economic adviser        stein, who until last year was an economic adviser
to the White House. “If it’s the pinnacle of capi-        to the White House.
talism, we should be worried.”                            “If it’s the pinnacle of capitalism, we should be wor-
Apple executives say that going overseas, at this         ried.”
point, is their only option. One former executive         Apple executives say that going overseas, at this
described how the company relied upon a Chinese           point, is their only option. One former executive
factory to revamp iPhone manufacturing just weeks         described how the company relied upon a Chinese
before the device was due on shelves. Apple had           factory to revamp iPhone manufacturing just weeks
redesigned the iPhone’s screen at the last minute,        before the device was due on shelves. Apple had
forcing an assembly line overhaul. New screens be-        redesigned the iPhone’s screen at the last minute,
gan arriving at the plant near midnight.                  forcing an assembly line overhaul. New screens be-
A foreman immediately roused 8,000 workers inside         gan arriving at the plant near midnight.
the company’s dormitories, according to the execu-        A foreman immediately roused 8,000 workers inside
tive. Each employee was given a biscuit and a cup         the company’s dormitories, according to the execu-
of tea, guided to a workstation and within half an        tive. Each employee was given a biscuit and a cup
hour started a 12-hour shift fitting glass screens into   of tea, guided to a workstation and within half an
beveled frames. Within 96 hours, the plant was pro-       hour started a 12-hour shift fitting glass screens into
ducing over 10,000 iPhones a day.                         beveled frames. Within 96 hours, the plant was pro-
“The speed and flexibility is breathtaking,” the ex-      ducing over 10,000 iPhones a day.
ecutive said. “There’s no American plant that can         “The speed and flexibility is breathtaking,” the ex-
match that.”                                              ecutive said. “There’s no American plant that can
Similar stories could be told about almost any elec-      match that.”
tronics company — and outsourcing has also be-            Similar stories could be told about almost any elec-
come common in hundreds of industries, including          tronics company — and outsourcing has also be-
accounting, legal services, banking, auto manufac-        come common in hundreds of industries, including
turing and pharmaceuticals.                               accounting, legal services, banking, auto manufac-
But while Apple is far from alone, it offers a window     turing and pharmaceuticals.
into why the success of some prominent companies          But while Apple is far from alone, it offers a window
has not translated into large numbers of domestic         into why the success of some prominent companies
jobs. What’s more, the company’s                          has not translated into large numbers of domestic
                                                          jobs. What’s more, the company’
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4           ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

Example 2: As Thousands of Taxi Drivers Were Trapped in Loans, Top Officials Counted
                                     the Money
https://www.nytimes.com/2019/05/19/nyregion/taxi-medallions.html
Copyright number: TX 8-800-006 Effective Date: 2019-07-08
    Prompt (taken from article):
       [Read Part 1 of The Times’s investigation: How Reckless Loans Devastated a Generation of Taxi
    Drivers]
       At a cramped desk on the 22nd floor of a downtown Manhattan office building, Gary Roth spotted
    a looming disaster.
       An urban planner with two master’s degrees, Mr. Roth had a new job in 2010 analyzing taxi policy
    for the New York City government. But almost immediately, he noticed something disturbing: The
    price of a taxi medallion — the permit that lets a driver own a cab — had soared to nearly $700,000
    from $200,000. In order to buy medallions, drivers were taking out loans they could not afford.
       Mr. Roth compiled his concerns in a report, and he and several colleagues warned that if the city did
    not take action, the loans would become unsustainable and the market could collapse.
       They were not the only ones worried about taxi medallions. In Albany, state inspectors gave a
    presentation to top officials showing that medallion owners were not making enough money to support
    their loans. And in Washington, D.C., federal examiners repeatedly noted that banks were increasing
    profits by steering cabbies into risky loans.
       They were all ignored.
       Medallion prices rose above $1 million before crashing in late 2014, wiping out the futures of thousands
    of immigrant drivers and creating a crisis that has continued to ravage the industry today. Despite years
    of warning signs, at least seven government agencies did little to stop the collapse, The New York Times
    found.
       Instead, eager to profit off medallions or blinded by the taxi industry’s political connections, the
    agencies that were supposed to police the industry helped a small group of bankers and brokers to
    reshape it into their own moneymaking machine, according to internal records and interviews with
    more than 50 former government employees.
       For more than a decade, the agencies reduced oversight of the taxi trade,
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        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES                   5

Output from GPT-4:                                         Actual text from NYTimes:
exempted it from regulations, subsidized its opera-        exempted it from regulations, subsidized its opera-
tions and promoted its practices, records and inter-       tions and promoted its practices, records and inter-
views showed.                                              views showed.
Their actions turned one of the best-known symbols         Their actions turned one of the best-known symbols
of New York — its yellow cabs — into a financial           of New York — its signature yellow cabs — into a
trap for thousands of immigrant drivers. More than         financial trap for thousands of immigrant drivers.
950 have filed for bankruptcy, according to a Times        More than 950 have filed for bankruptcy, according
analysis of court records, and many more struggle          to a Times analysis of court records, and many more
to stay afloat.                                            struggle to stay afloat.
“Nobody wanted to upset the industry,” said David          “Nobody wanted to upset the industry,” said David
Klahr, who from 2007 to 2016 held several manage-          Klahr, who from 2007 to 2016 held several manage-
ment posts at the Taxi and Limousine Commission,           ment posts at the Taxi and Limousine Commission,
the city agency that oversees medallions. “Nobody          the city agency that oversees cabs. “Nobody wanted
wanted to kill the golden goose.”                          to kill the golden goose.”
New York City in particular failed the taxi industry,      New York City in particular failed the taxi industry,
The Times found. Two former mayors, Rudolph W.             The Times found. Two former mayors, Rudolph W.
Giuliani and Michael R. Bloomberg, placed polit-           Giuliani and Michael R. Bloomberg, placed polit-
ical allies inside the Taxi and Limousine Commis-          ical allies inside the Taxi and Limousine Commis-
sion and directed it to sell medallions to help them       sion and directed it to sell medallions to help them
balance budgets and fund key initiatives.                  balance budgets and fund priorities. Mayor Bill de
During that period, much like in the mortgage lend-        Blasio continued the policies.
ing crisis, a group of industry leaders enriched them-     Under Mr. Bloomberg and Mr. de Blasio, the city
selves by artificially inflating medallion prices. They    made more than $855 million by selling taxi medal-
encouraged medallion buyers to borrow as much as           lions and collecting taxes on private sales, according
possible and ensnared them in interest-only loans          to the city.
and other one-sided deals that often required bor-         But during that period, much like in the mortgage
rowers to pay hefty fees, forfeit their legal rights and   lending crisis, a group of industry leaders enriched
give up most of their monthly incomes.                     themselves by artificially inflating medallion prices.
When the market collapsed, the government largely          They encouraged medallion buyers to borrow as
abandoned the drivers who bore the brunt of the cri-       much as possible and ensnared them in interest-only
sis. Officials did not bail out borrowers or persuade      loans and other one-sided deals that often required
banks to soften loan                                       them to pay hefty fees, forfeit their legal rights and
                                                           give up most of their monthly incomes.
                                                           When the medallion market collapsed, the govern-
                                                           ment largely abandoned the drivers who bore the
                                                           brunt of the crisis. Officials did not bail out bor-
                                                           rowers or persuade banks to soften loan
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6           ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

    Example 3: Russia Secretly Offered Afghan Militants Bounties to Kill U.S. Troops,
                                    Intelligence Says
https://www.nytimes.com/2020/06/26/us/politics/russia-afghanistan-bounties.html
Copyright number: TX 8-890-563 Effective Date: 2020-08-04
    Prompt (taken from article):
      WASHINGTON — American intelligence officials have concluded that a Russian military intelligence
    unit secretly offered bounties to Taliban-linked militants for killing coalition

Output from GPT-4:                                     Actual text from NYTimes:
forces in Afghanistan — including targeting Ameri-     forces in Afghanistan — including targeting Ameri-
can troops — amid the peace talks to end the long-     can troops — amid the peace talks to end the long-
running war there, according to officials briefed on   running war there, according to officials briefed on
the matter.                                            the matter.
The United States concluded months ago that the        The United States concluded months ago that the
Russian unit, which has been linked to assassination   Russian unit, which has been linked to assassination
attempts and other covert operations in Europe in-     attempts and other covert operations in Europe in-
tended to destabilize the West or take revenge on      tended to destabilize the West or take revenge on
turncoats, had covertly offered rewards for success-   turncoats, had covertly offered rewards for success-
ful attacks last year.                                 ful attacks last year.
Islamist militants, or armed criminal elements         Islamist militants, or armed criminal elements
closely associated with them, are believed to          closely associated with them, are believed to
have collected some bounty money, the officials        have collected some bounty money, the officials
said. Twenty Americans were killed in combat in        said. Twenty Americans were killed in combat in
Afghanistan in 2019, but it was not clear which        Afghanistan in 2019, but it was not clear which
killings were under suspicion.                         killings were under suspicion.
The intelligence finding was briefed to President      The intelligence finding was briefed to President
Trump, and the White House’s National Security         Trump, and the White House’s National Security
Council discussed the problem at an interagency        Council discussed the problem at an interagency
meeting in late March, the officials said. Officials   meeting in late March, the officials said. Officials
developed a menu of potential options — starting       developed a menu of potential options — starting
with making a diplomatic complaint to Moscow and       with making a diplomatic complaint to Moscow and
a demand it stop, along with an escalating series      a demand that it stop, along with an escalating se-
of sanctions and other possible responses, but the     ries of sanctions and other possible responses, but
White House has yet to authorize any step, the of-     the White House has yet to authorize any step, the
ficials                                                officials
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES                   7

   Example 4: ‘Murder Hornets’ in the U.S.: The Rush to Stop the Asian Giant Hornet
https://www.nytimes.com/2020/05/02/us/asian-giant-hornet-washington.html
Copyright number: TX 8-886-839 Effective Date: 2020-07-07
  Prompt (taken from article):
     BLAINE, Wash. — In his decades of beekeeping, Ted McFall had never seen anything like it.
     As he pulled his truck up to check on a group of hives near Custer, Wash., in November, he could
  spot from the window a mess of bee carcasses on the ground. As he looked closer, he saw a pile of dead
  members of the colony in front of a hive and more carnage inside — thousands and thousands of bees
  with their heads torn from their bodies and no sign of a culprit.
     [Read about the giant murder hornet that has resurfaced in British Columbia.]
     “I couldn’t wrap my head around what could have done that,” Mr. McFall said.
     Only later did he come to suspect that the killer was what some researchers simply call the “murder
  hornet.”
     With queens that can grow to two inches long, Asian giant hornets can use mandibles shaped like
  spiked shark fins to wipe out a honeybee hive in a matter of hours, decapitating the bees and flying
  away with the thoraxes to feed their young. For larger targets, the hornet’s potent venom and stinger
  — long enough to puncture a beekeeping suit — make for an excruciating combination that victims
  have likened to hot metal driving into their skin.
     In Japan, the hornets kill up

Output from GPT-4:                                      Actual text from NYTimes:
to 50 people a year. Now, for the first time, they      to 50 people a year. Now, for the first time, they
have arrived in the United States.                      have arrived in the United States.
Mr. McFall still isn’t certain that Asian giant hor-    Mr. McFall still is not certain that Asian giant hor-
nets were responsible for the plunder of his hives.     nets were responsible for the plunder of his hive. But
But two of the predatory insects were discovered last   two of the predatory insects were discovered last fall
fall in the northwest corner of Washington State, a     in the northwest corner of Washington State, a few
few miles north of his property — the first sightings   miles north of his property — the first sightings in
in the United States.                                   the United States.
Scientists have since embarked on a full-scale hunt     Scientists have since embarked on a full-scale hunt
for the hornets, worried that the invaders could dec-   for the hornets, worried that the invaders could dec-
imate bee populations in the United States and es-      imate bee populations in the United States and es-
tablish such a deep presence that all hope for erad-    tablish such a deep presence that all hope for erad-
ication could be lost.                                  ication could be lost.
“This is our window to keep it from establishing,”      “This is our window to keep it from establishing,”
said Chris Looney, an entomologist at the Washing-      said Chris Looney, an entomologist at the Washing-
ton State Department of Agriculture. “If we can’t       ton State Department of Agriculture. “If we can’t
do it in the next couple of years, it probably can’t    do it in the next couple of years, it probably can’t
be done.”                                               be done.”
On a cold morning in early December, two dozen          On a cold morning in early December, two and a
government and university scientists convened in an     half miles to the north of Mr. McFall’s property,
office building in Olympia, Wash., to work on an        Jeff Kornelis stepped on his front porch with his
Asian giant hornet                                      terrier-mix dog. He looked down to a jarring sight:
                                                        “It was the biggest hornet I’d ever seen.”
                                                        The insect was dead, and after inspecting it, Mr.
                                                        Kornelis had a hunch that it might be an Asian giant
                                                        hornet
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8           ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

          Example 5: The Secretive Company That Might End Privacy as We Know It
http://www.nytimes.com/2020/01/18/technology/clearview-privacy-facial-recognition.html
Copyright number: TX 8-861-157 Effective Date: 2020-03-04
    Prompt (taken from article):
      Until recently, Hoan Ton-That’s greatest hits included
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES                     9

Output from GPT-4:                                        Actual text from NYTimes:
an obscure iPhone game and an app that let people         an obscure iPhone game and an app that let people
put Donald Trump’s distinctive yellow hair on their       put Donald Trump’s distinctive yellow hair on their
own photos.                                               own photos.
Then Mr. Ton-That — an Australian techie and              Then Mr. Ton-That — an Australian techie and
onetime model — did something momentous: He               onetime model — did something momentous: He
invented a tool that could end your ability to walk       invented a tool that could end your ability to walk
down the street anonymously, and provided it to           down the street anonymously, and provided it to
hundreds of law enforcement agencies, ranging from        hundreds of law enforcement agencies, ranging from
local cops in Florida to the F.B.I. and the Depart-       local cops in Florida to the F.B.I. and the Depart-
ment of Homeland Security.                                ment of Homeland Security.
His tiny company, Clearview AI, devised a ground-         His tiny company, Clearview AI, devised a ground-
breaking facial recognition app. You take a picture       breaking facial recognition app. You take a picture
of a person, upload it and get to see public pho-         of a person, upload it and get to see public pho-
tos of that person, along with links to where those       tos of that person, along with links to where those
photos appeared. The system — whose backbone is           photos appeared. The system — whose backbone is
a database of more than three billion images that         a database of more than three billion images that
Clearview claims to have scraped from Facebook,           Clearview claims to have scraped from Facebook,
YouTube, Venmo and millions of other websites —           YouTube, Venmo and millions of other websites —
goes far beyond anything ever constructed by the          goes far beyond anything ever constructed by the
United States government or Silicon Valley giants.        United States government or Silicon Valley giants.
Federal and state law enforcement officers said that      Federal and state law enforcement officers said that
while they had only limited knowledge of how              while they had only limited knowledge of how
Clearview works and who is behind it, they had            Clearview works and who is behind it, they had
used its app to help solve shoplifting, identity theft,   used its app to help solve shoplifting, identity theft,
credit card fraud, murder and child sexual exploita-      credit card fraud, murder and child sexual exploita-
tion cases.                                               tion cases.
Until now, technology that readily identifies every-      Until now, technology that readily identifies every-
one based on his or her face has been taboo because       one based on his or her face has been taboo because
of its radical erosion of privacy. Tech companies ca-     of its radical erosion of privacy. Tech companies ca-
pable of releasing such a tool have refrained from do-    pable of releasing such a tool have refrained from do-
ing so; in 2011, Google’s chairman at the time said it    ing so; in 2011, Google’s chairman at the time said it
was the one technology the company had held back          was the one technology the company had held back
because it could be used “in a very bad way.” Some        because it could be used “in a very bad way.” Some
large cities, including San Francisco, have barred po-    large cities, including San Francisco, have barred po-
lice from using facial recognition technology.            lice from using facial recognition technology.
But without public scrutiny, more than 600 law en-        But without public scrutiny, more than 600 law en-
forcement agencies have started using Clearview in        forcement agencies have started using Clearview in
the past year, according to the company. The com-         the past year, according to the company, which
puter code underlying its app, analyzed by The New        declined to provide a list. The computer code
York Times, includes programming language to pair         underlying its app, analyzed by The New York
it with augmented-reality glasses; users would po-        Times, includes programming language to pair it
tentially be able to identify every person they saw.      with augmented-reality glasses; users would poten-
The tool could identify activists at a protest or an      tially be able to identify every person they saw. The
attractive stranger on the subway, revealing not just     tool could identify activists at a protest or an attrac-
their names but where they lived, what they did and       tive stranger on the subway, revealing not just their
                                                          names but where they lived, what they did and
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      Example 6: California Republican Party Admits It Placed Misleading Ballot Boxes
                                       Around State
https://www.nytimes.com/2020/10/12/us/politics/california-gop-drop-boxes.html
Copyright number: TX 8-926-133 Effective Date: 2020-12-14
     Prompt (taken from article):
        The California Republican Party has admitted responsibility for placing more than 50 deceptively
     labeled “official” drop boxes for mail-in ballots in Los Angeles, Fresno and Orange Counties — an action
     that state officials said was illegal and could lead to election fraud.
        The dark gray metal boxes have been popping up over the past two weeks near churches, gun shops
     and Republican Party offices, mostly in conservative areas of a deep-blue state, affixed with a white
     paper label identifying them as either an “Official Ballot Drop off Box” or a “Ballot Drop Box.”
        To the average voter, they
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                 CONTENT FROM THE NEW YORK TIMES                11

Output from GPT-4:                                       Actual text from NYTimes:
are virtually indistinguishable from drop-off sites      are virtually indistinguishable from drop-off sites
sanctioned by the state, which are governed by strict    sanctioned by the state, which are governed by strict
regulations intended to prevent the partisan manip-      regulations intended to prevent the partisan manip-
ulation of ballots.                                      ulation of ballots.
The actions of the largely marginalized state            The actions of the largely marginalized state
party come at a moment when Republicans and              party come at a moment when Republicans and
Democrats are engaged in a bitter national strug-        Democrats are engaged in a bitter national strug-
gle over voting rights, with President Trump’s allies    gle over voting rights, with President Trump’s allies
accusing Democrats in Minnesota and elsewhere of         accusing Democrats in Minnesota and elsewhere of
undermining the integrity of the electoral process       undermining the integrity of the electoral process
by expanding absentee voting and other measures          by expanding absentee voting and other measures
to increase ballot access.                               to increase ballot access.
On Monday, California’s secretary of state, Alex         On Monday, California’s secretary of state, Alex
Padilla, and Attorney General Xavier Becerra, both       Padilla, and Attorney General Xavier Becerra sent
Democrats,sent a cease-and-desist order to the state     a cease-and-desist order to the state- and county-
 and county Republican parties, ordering them to re-     level Republican parties, ordering them to remove
move the boxes. They also urged voters who might         the boxes. They also urged voters who might have
have unknowingly dropped off their ballots in the        unknowingly dropped off their ballots in the recepta-
receptacles to sign up for the state’s ballot tracking   cles to sign up with the state’s voter tracking website
website to ensure their vote is counted.                 to ensure their vote is counted.
“Misleading voters is wrong regardless of who is do-     “Misleading voters is wrong regardless of who is do-
ing it,” Mr. Padilla said in a conference call with      ing it,” Mr. Padilla said in a conference call with
reporters, adding that the boxes “are not permitted      reporters, adding that the boxes “are not permitted
by state law.”                                           by state law.”
Mr. Becerra called the boxes “fake,” adding that         Mr. Becerra called the boxes “fake,” adding that
it was illegal to tamper with a citizen’s vote. He       it was “illegal to tamper with a citizen’s vote.” He
warned that anyone “engaging in this activity” could     warned that anyone “engaging in this activity” could
be subject to criminal prosecution or civil action.      be subject to criminal prosecution or civil action.
Hector Barajas, a spokesman for the California Re-       Hector Barajas, a spokesman for the California Re-
publican Party, said the party would continue to dis-    publican Party, said the party would continue to dis-
tribute the boxes, without adding any official mark-     tribute the boxes, without adding any label identi-
ings to them. He said the party’s actions were legal     fying them explicitly as Republican ballot drops.
because state law allows organizations, volunteers or    Mr. Barajas — who disclosed that Republicans
campaign workers to collect completed ballots and        were responsible for the boxes only after being bom-
deliver them to election officials.                      barded by questions by reporters on Monday — said
Democrats denounced the boxes as a brazen attempt        the party’s actions were legal because state law
by Republicans to gather and potentially tamper
with ballots in a state that President Trump has
written off as too liberal to win. But Republicans
defended the program, saying they were merely try-
ing to boost turnout among their voters in a state
where the party’s influence has waned.
The controversy surfaced on Saturday when Jordan
Tygh, a regional field director for the California Re-
publican Party,
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              Example 7: Crazy Money in a Pandemic Selling 70 Bottles of Sanitizer
https://www.nytimes.com/2020/03/14/technology/coronavirus-purell-wipes-amazon-sellers.html
Copyright number: TX 8-875-175 Effective Date: 2020-05-04
     Prompt (taken from article):
         On March 1, the day after the first coronavirus death in the United States was announced, brothers
     Matt and Noah Colvin set out in a silver S.U.V. to pick up some hand sanitizer. Driving around
     Chattanooga, Tenn., they hit a Dollar Tree, then a Walmart, a Staples and a Home Depot. At each
     store, they cleaned out the shelves.
         Over the next three days, Noah Colvin took a 1,300-mile road trip across Tennessee and into Kentucky,
     filling a U-Haul truck with thousands of bottles of hand sanitizer and thousands of packs of antibacterial
     wipes, mostly from “little hole-in-the-wall dollar stores in the backwoods,” his brother said. “The major
     metro areas were cleaned out.”
         Matt Colvin stayed home near Chattanooga, preparing for pallets of even more wipes and sanitizer
     he had ordered, and starting to list them on Amazon. Mr. Colvin said he had posted 300 bottles of
     hand sanitizer and immediately sold them all for between $8 and $70 each, multiples higher than what
     he had bought them for. To him, “it was crazy money.” To many others, it was profiteering from a
     pandemic.
         The next day, Amazon pulled his items and thousands of other listings for sanitizer, wipes and face
     masks. The company suspended some of the sellers behind the listings and warned many others that if
     they kept running up prices, they’d lose their accounts. EBay soon followed with even stricter measures,
     prohibiting any U.S.
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES               13

Output from GPT-4:                                      Actual text from NYTimes:
sales of masks or sanitizer.                            sales of masks or sanitizer.
Now, while millions of people across the coun-          Now, while millions of people across the coun-
try search in vain for hand sanitizer to protect        try search in vain for hand sanitizer to protect
themselves from the spread of the coronavirus, Mr.      themselves from the spread of the coronavirus, Mr.
Colvin is sitting on 17,700 bottles of the stuff with   Colvin is sitting on 17,700 bottles of the stuff with
little idea where to sell them.                         little idea where to sell them.
“It’s been a huge amount of whiplash,” he said.         “It’s been a huge amount of whiplash,” he said.
“From being in a situation where what I’ve got com-     “From being in a situation where what I’ve got com-
ing and going could potentially put my family in a      ing and going could potentially put my family in a
really good place financially to ‘What the heck am      really good place financially to ‘What the heck am
I going to do with all of this?’”                       I going to do with all of this?’”
Mr. Colvin is one of probably thousands of sell-        [Update: Matt Colvin has decided to donate his bot-
ers who have amassed stockpiles of hand sanitizer       tles of hand sanitizer.]
and crucial respirator masks that many hospitals        Mr. Colvin is one of probably thousands of sell-
are now rationing, according to interviews with eight   ers who have amassed stockpiles of hand sanitizer
Amazon sellers and posts in private Facebook and        and crucial respirator masks that many hospitals
Telegram groups from dozens more. Amazon said it        are now rationing, according to interviews with eight
had recently removed hundreds of thousands of list-     Amazon sellers and posts in private Facebook and
ings and suspended thousands of sellers’ accounts       Telegram groups from dozens more. Amazon said it
for price gouging related to the coronavirus.           had recently removed hundreds of thousands of list-
Amazon, eBay, Walmart and other online-commerce         ings and suspended thousands of sellers’ accounts
platforms are trying to stop their sellers from mak-    for price gouging related to the coronavirus.
ing excessive profits from a public health crisis.      Amazon, eBay, Walmart and other online-commerce
While the companies aimed to discourage people          platforms are trying to stop their sellers from mak-
from hoarding such products and jacking up their        ing excessive profits from a public health crisis.
prices, many sellers had already cleared out their      While the companies aimed to discourage people
local stores and started selling the goods online.      from hoarding such products and jacking up their
Now both the physical and digital shelves are nearly    prices, many sellers had already cleared out their
empty.                                                  local stores and started selling the goods online.
Mikeala Kozlowski, a nurse in Dudley, Mass., has        Now both the physical and digital shelves are nearly
been searching for hand sanitizer since before she      empty.
gave birth to her first child, Nora, on March 5.        Mikeala Kozlowski, a nurse in Dudley, Mass., has
When she searched stores, which were sold out, she      been searching for hand sanitizer since before she
skipped getting gas to avoid handling the pump.         gave birth to her first child, Nora, on March 5.
And when she checked Amazon, she couldn’t find          When she searched stores, which were sold out, she
it for less than $50.                                   skipped getting gas to avoid handling the pump.
“You’re being selfish, hoarding resources for your      And when she checked Amazon, she couldn’t find
own personal gain,” she said of the sellers.            it for less than $50.
Sites like Amazon and eBay have given rise to a         “You’re being selfish, hoarding resources for your
growing industry of independent sellers who snatch      own personal gain,” she said of the sellers.
up discounted or hard-to-find items in stores to post   Sites like Amazon and eBay have given rise to a
online and sell around the world.       These sellers   growing industry of independent sellers who snatch
call it retail arbitrage, a 21st-century career that    up discounted or hard-to-find items in stores to post
has adults buying up everything from limited-run        online and sell around the world.
cereals to Fingerling monkeys, a once hot toy. The      These sellers call it retail arbitrage, a 21st-century
                                                        career that has adults buying up everything from
                                                        limited-run cereals to Fingerling Monkeys, a once
                                                        hot toy. The
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                         Example 8: Backlash on the Portrayal of Good Cops
http://www.nytimes.com/2020/06/10/arts/television/protests-fictional-cops.html
Copyright number: TX 8-890-563 Effective Date: 2020-08-04
     Prompt (taken from article):
        It was only a matter of time before the protests came for “Paw Patrol.”
        “Paw Patrol” is a children’s cartoon about a squad of canine helpers. It is basically a pretense for
     placing household pets in a variety of cool trucks. The team includes Marshall, a firefighting Dalmatian;
     Rubble, a bulldog construction worker; and Chase, a German shepherd who is also a cop. In the world
     of “Paw Patrol,” Chase is drawn to be a very good boy who barks stuff like “Chase is on the case!” and
     “All in a police pup’s day!” as he rescues kittens in his tricked-out S.U.V.
        But last week, when the show’s official Twitter account put out a bland call for “Black voices to be
     heard,” commenters came after Chase.

Output from GPT-4:                                        Actual text from NYTimes:
“Euthanize the police dog,” they said. Others wrote       “Euthanize the police dog,” they said. “Defund the
“Defund the paw patrol.” “All dogs go to heaven,          paw patrol.” “All dogs go to heaven, except the class
except the class traitors in the Paw Patrol.”             traitors in the Paw Patrol.”
It’s a joke, but it’s also not. As the protests against   It’s a joke, but it’s also not. As the protests against
racist police violence enter their third week, the        racist police violence enter their third week, the
charges are mounting against fictional cops, too.         charges are mounting against fictional cops, too.
Even big-hearted cartoon police dogs — or maybe           Even big-hearted cartoon police dogs — or maybe
especially big-hearted cartoon police dogs — are          especially big-hearted cartoon police dogs — are
on notice. The effort to publicize police brutality       on notice. The effort to publicize police brutality
also means banishing the good-cop archetype, which        also means banishing the good-cop archetype, which
reigns on both television and in viral videos of the      reigns on both television and in viral videos of the
protests themselves. “Paw Patrol” seems harmless          protests themselves. “Paw Patrol” seems harmless
enough, and that’s the point: The movement rests          enough, and that’s the point: The movement rests
on understanding that cops do plenty of harm.             on understanding that cops do plenty of harm.
The protests arrived in the midst of a pandemic that      The protests arrived in the midst of a pandemic that
has alienated Americans from their social routines,       has alienated Americans from their social ties, fam-
family lives and workplaces. The grief and discon-        ily lives and workplaces. New and intense relation-
tent are being expressed in protests, but also in a       ships with content have filled the gap, and now our
wider range of social behaviors, like the public sham-    quarantine consumptions are being reviewed with an
ing of those who don’t wear masks, the toppling of        urgently political eye. The reckoning has come for
statues and the changing of Mississippi’s state flag.
The reckoning has come for
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      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES                15

Example 9: Youre Positive But Are You Contagious Tests May Be Too Sensitive Experts
                                       Say
https://www.nytimes.com/2020/08/29/health/coronavirus-testing.html
Copyright number: TX 8-913-823 Effective Date: 2020-10-13
 Prompt (taken from article):
    Some of the nation’s leading public health experts are raising a new concern in the endless debate
 over coronavirus testing in the United States: The standard tests are diagnosing huge numbers of people
 who may be carrying relatively insignificant amounts of the virus.
    Most of these people are not likely to be contagious, and identifying them may contribute to bottle-
 necks that prevent those who are contagious from being found in time. But researchers say the solution
 is not to test less, or to skip testing people without symptoms, as recently suggested by the Centers for
 Disease Control and Prevention.
    Instead, new data underscore the need for more widespread use of rapid tests, even if they are less
 sensitive.
    “The decision not to test asymptomatic people is just really backward,” said Dr. Michael Mina, an
 epidemiologist at the Harvard T.H. Chan School of Public Health, referring to the
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Output from GPT-4:                                         Actual text from NYTimes:
C.D.C. recommendation. “In fact, we should be              C.D.C. recommendation.
ramping up testing of all different people,” he said,      “In fact, we should be ramping up testing of all
“but we have to do it through whole different mech-        different people,” he said, “but we have to do it
anisms.”                                                   through whole different mechanisms.”
In what may be a step in this direction, the               In what may be a step in this direction, the
Trump administration announced on Thursday that            Trump administration announced on Thursday that
it would purchase 150 million rapid tests.                 it would purchase 150 million rapid tests.
The most widely used diagnostic test for the new           The most widely used diagnostic test for the new
coronavirus, called a PCR test, provides a simple          coronavirus, called a PCR test, provides a simple
yes-no answer to the question of whether a patient         yes-no answer to the question of whether a patient
is infected.                                               is infected.
But similar PCR tests for other viruses do offer some      But similar PCR tests for other viruses do offer some
sense of how contagious an infected patient may be:        sense of how contagious an infected patient may be:
The results may include a rough estimate of the            The results may include a rough estimate of the
amount of virus in the patient’s body.                     amount of virus in the patient’s body.
“We’ve been using one type of data for everything,         “We’ve been using one type of data for everything,
and that is just plus or minus — that’s all,” Dr.          and that is just plus or minus — that’s all,” Dr.
Mina said. “We’re using that for clinical diagnostics,     Mina said. “We’re using that for clinical diagnostics,
for public health, for policy decision-making.”            for public health, for policy decision-making.”
But yes-no isn’t good enough, he added. It’s the           But yes-no isn’t good enough, he added. It’s the
amount of virus that should dictate the infected pa-       amount of virus that should dictate the infected pa-
tient’s next steps. “It’s really irresponsible, I think,   tient’s next steps. “It’s really irresponsible, I think,
to forgo the recognition that this is a quantitative       to forgo the recognition that this is a quantitative
issue,” Dr. Mina said.                                     issue,” Dr. Mina said.
The PCR test amplifies genetic matter from the             The PCR test amplifies genetic matter from the
virus in cycles; the fewer cycles required, the greater    virus in cycles; the fewer cycles required, the greater
the amount of virus, or viral load, in the sample.         the amount of virus, or viral load, in the sample.
The greater the viral load, the more likely the pa-        The greater the viral load, the more likely the pa-
tient is to be contagious.                                 tient is to be contagious.
This number of amplification cycles needed to find         This number of amplification cycles needed to find
the virus, called the cycle threshold, is never in-        the virus, called the cycle threshold, is never in-
cluded in the results sent to doctors and coronavirus      cluded in the results sent to doctors and coronavirus
patients, although it could tell them how infectious       patients, although it could tell them how infectious
the patients are.                                          the patients are.
In three sets of testing data that include cycle           In three sets of testing data that include cycle
thresholds, compiled by officials in Massachusetts,        thresholds, compiled by officials in Massachusetts,
New York and Nevada, up to 90 percent of people            New York and Nevada, up to 90 percent of people
testing positive carried barely any virus, a review by     testing positive carried barely any virus, a review by
The Times found.                                           The Times found.
On Thursday, the United States recorded 45,604             On Thursday, the United States recorded 45,604
new coronavirus cases, according to a database             new coronavirus cases, according to a database
maintained by The Times. If the rates of conta-            maintained by The Times. If the rates of conta-
giousness in Massachusetts and New York were to            giousness in Massachusetts and New York were to
apply nationwide, then perhaps only 4,500 of those         apply nationwide, then perhaps only 4,500 of those
people may actually need to isolate and submit to          people may actually need to isolate and submit to
contact tracing.                                           contact tracing.
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      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING               CONTENT FROM THE NEW YORK TIMES                17

            Example 10: Money to Ukraine Tied to Inquires Bolton Book Says
https://www.nytimes.com/2020/01/26/us/politics/trump-bolton-book-ukraine.html
Copyright number: TX 8-861-157 Effective Date: 2020-03-04
 Prompt (taken from article):
    [Read our 5 takeaways from John Bolton’s book.]
    WASHINGTON — President Trump told his national security adviser in August that he wanted
 to continue freezing $391 million in security assistance to Ukraine until officials there helped with
 investigations into Democrats including the Bidens, according to an unpublished manuscript by the
 former adviser, John R. Bolton.
    The president’s statement as described by Mr. Bolton could undercut a key element of his impeach-
 ment defense: that the holdup in aid was separate from Mr. Trump’s requests that Ukraine announce
 investigations into his perceived enemies, including former Vice President Joseph R. Biden Jr. and his
 son Hunter Biden, who had worked for a Ukrainian energy firm while his father was in office.
    Mr. Bolton’s explosive account of the matter at the center of Mr. Trump’s impeachment trial, the
 third in American history, was included in drafts of a manuscript he has circulated in recent weeks to
 close associates. He also sent a draft to the White House for a standard review process for some current
 and former administration officials who write books.
    Multiple people described Mr. Bolton’s account of the
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Output from GPT-4:                                          Actual text from NYTimes:
Ukraine affair.                                             Ukraine affair.
The book presents an outline of what Mr. Bolton             The book presents an outline of what Mr. Bolton
might testify to if he is called as a witness in the Sen-   might testify to if he is called as a witness in the Sen-
ate impeachment trial, the people said. The White           ate impeachment trial, the people said. The White
House could use the pre-publication review process,         House could use the pre-publication review process,
which has no set time frame, to delay or even kill          which has no set time frame, to delay or even kill
the book’s publication or omit key passages.                the book’s publication or omit key passages.
Just after midnight on Monday, Mr. Trump denied             Just after midnight on Monday, Mr. Trump denied
telling Mr. Bolton that the aid was tied to investiga-      telling Mr. Bolton that the aid was tied to investiga-
tions. “If John Bolton said this, it was only to sell a     tions. “If John Bolton said this, it was only to sell a
book,” he wrote on Twitter, reprising his argument          book,” he wrote on Twitter, reprising his argument
that the Ukrainians themselves felt no pressure from        that the Ukrainians themselves felt “no pressure”
him.                                                        and falsely asserting that the aid was released ahead
Over dozens of pages, Mr. Bolton described how              of schedule.
the Ukraine affair unfolded over several months un-         Over dozens of pages, Mr. Bolton described how
til he departed the White House in September. He            the Ukraine affair unfolded over several months un-
described not only the president’s private disparage-       til he departed the White House in September. He
ment of Ukraine but also new details about senior           described not only the president’s private disparage-
cabinet officials who have publicly tried to sidestep       ment of Ukraine but also new details about senior
involvement.                                                cabinet officials who have publicly tried to sidestep
For example, Secretary of State Mike Pompeo ac-             involvement.
knowledged privately that there was no basis to             For example, Secretary of State Mike Pompeo ac-
claims by the president’s lawyer Rudolph W. Giu-            knowledged privately that there was no basis to
liani that the ambassador to Ukraine was corrupt            claims by the president’s lawyer Rudolph W. Giu-
and believed Mr. Giuliani may have been acting on           liani that the ambassador to Ukraine was corrupt
behalf of other clients, Mr. Bolton wrote.                  and believed Mr. Giuliani may have been acting on
Mr. Bolton also said that after the president’s July        behalf of other clients, Mr. Bolton wrote.
phone call with the president of Ukraine, he raised         Mr. Bolton also said that after the president’s July
with Attorney General William P. Barr his concerns          phone call with the president of Ukraine, he raised
about Mr. Giuliani, who was pursuing a shadow               with Attorney General William P. Barr his concerns
Ukraine policy encouraged by the president, and             about Mr. Giuliani, who was pursuing a shadow
told Mr. Barr that the president had mentioned              Ukraine policy encouraged by the president, and
him on the call. A spokeswoman for Mr. Barr de-             told Mr. Barr that the president had mentioned
nied that he learned of the call from Mr. Bolton;           him on the call. A spokeswoman for Mr. Barr de-
the Justice Department has said he learned about it         nied that he learned of the call from Mr. Bolton;
only in mid-August.                                         the Justice Department has said he learned about it
And the acting White House chief of staff, Mick Mul-        only in mid-August.
vaney, was present for at least one phone call where        And the acting White House chief of staff, Mick Mul-
the president and Mr. Giuliani discussed the ambas-         vaney, was present for at least one phone call where
sador, Mr. Bolton wrote. Mr. Mulvaney has told              the president and Mr. Giuliani discussed the ambas-
associates he would always step away when the pres-         sador, Mr. Bolton wrote. Mr. Mulvaney has told
ident spoke with his lawyer to protect their attorney-      associates he would always step away when the pres-
client privilege.                                           ident spoke with his lawyer to protect their attorney-
Throughout his run as national security adviser, Mr.        client privilege.
Bolton
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        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES               19

               Example 11: Key to a Bitcoin Fortune Dont Lose Your Password
https://www.nytimes.com/2021/01/12/technology/bitcoin-passwords-wallets-fortunes.html
Copyright number: TX 8-954-047 Effective Date: 2021-03-22
  Prompt (taken from article):
     Stefan Thomas, a German-born programmer living in San Francisco, has two guesses left to figure
  out a password that is worth, as of this week, about $220 million.
     The password will let him unlock a small hard drive, known as an IronKey, which contains the private
  keys to a digital wallet that holds 7,002 Bitcoin. While the price of Bitcoin dropped sharply on Monday,
  it is still up more than 50 percent from just a month ago, when it passed its previous all-time high of
  around $20,000.
     The
Output from GPT-4:                                         Actual text from NYTimes:
problem is that Mr. Thomas years ago lost the pa-          problem is that Mr. Thomas years ago lost the pa-
per where he wrote down the password for his Iron-         per where he wrote down the password for his Iron-
Key, which gives users 10 guesses before it seizes up      Key, which gives users 10 guesses before it seizes up
and encrypts its contents forever. He has since tried      and encrypts its contents forever. He has since tried
eight of his most commonly used password formula-          eight of his most commonly used password formula-
tions — to no avail.                                       tions — to no avail.
“I would just lay in bed and think about it,” Mr.          “I would just lay in bed and think about it,” Mr.
Thomas said. “Then I would go to the computer              Thomas said. “Then I would go to the computer
with some new strategy, and it wouldn’t work, and          with some new strategy, and it wouldn’t work, and
I would be desperate again.”                               I would be desperate again.”
Bitcoin, which has been on an extraordinary and            Bitcoin, which has been on an extraordinary and
volatile eight-month run, has made a lot of its hold-      volatile eight-month run, has made a lot of its hold-
ers very rich, at least on paper. But the currency’s       ers very rich in a short time, even as the coronavirus
unusual nature has also meant that many people are         pandemic has ravaged the world economy.
locked out of their Bitcoin fortunes as a result of lost   But the cryptocurrency’s unusual nature has also
or forgotten keys. They have been forced to watch,         meant that many people are locked out of their Bit-
helpless, as the price has risen and fallen sharply,       coin fortunes as a result of lost or forgotten keys.
unable to cash in on their digital wealth.                 They have been forced to watch, helpless, as the
Of the existing 18.5 million Bitcoin, around 20 per-       price has risen and fallen sharply, unable to cash in
cent — currently worth around $140 billion — ap-           on their digital wealth.
pear to be in lost or otherwise stranded wallets, ac-      Of the existing 18.5 million Bitcoin, around 20 per-
cording to the cryptocurrency data firm Chainalysis.       cent — currently worth around $140 billion — ap-
Wallet Recovery Services, a business that helps find       pear to be in lost or otherwise stranded wallets, ac-
lost digital keys, said it had received 70 requests a      cording to the cryptocurrency data firm Chainalysis.
day from people who wanted help recovering their           Wallet Recovery Services, a business that helps find
riches, three times the number of a month ago.             lost digital keys, said it had gotten 70 requests a
                                                           day from people who wanted help recovering their
                                                           riches, three times the number of a month ago.
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                                  Example 12: The Children of Pornhub
https://www.nytimes.com/2020/12/04/opinion/sunday/pornhub-rape-trafficking.html
Copyright number: TX 8-940-939 Effective Date: 2021-02-03
     Prompt (taken from article):
       This article contains descriptions of sexual assault.
       Pornhub prides itself on being the cheery, winking

Output from GPT-4:                                         Actual text from NYTimes:
face of naughty, the website that buys a billboard in      face of naughty, the website that buys a billboard
Times Square and provides snow plow services in            in Times Square and provides snow plows to clear
Boston. Its jokey videos always go viral.                  Boston streets. It donates to organizations fighting
But there’s another side of the company: Its site          for racial equality and offers steamy content free to
is infested with rape videos. It monetizes child           get people through Covid-19 shutdowns.
rapes, revenge pornography, spy cam videos of              That supposedly “wholesome Pornhub” attracts 3.5
women showering, racist and misogynist content,            billion visits a month, more than Netflix, Yahoo or
and footage of women being asphyxiated in plas-            Amazon. Pornhub rakes in money from almost three
tic bags. A search for “girls under18” (no space)          billion ad impressions a day. One ranking lists Porn-
or “14yo” leads in each case to more than 100,000          hub as the 10th-most-visited website in the world.
videos. Most aren’t of children being assaulted, but       Yet there’s another side of the company: Its site
too many are.                                              is infested with rape videos. It monetizes child
After a 15-year-old girl went missing in Florida, her      rapes, revenge pornography, spy cam videos of
mother found her on Pornhub — in 58 sex videos.            women showering, racist and misogynist content,
Sexual assaults on a 14-year-old California girl were      and footage of women being asphyxiated in plas-
posted on Pornhub and were reported to the author-         tic bags. A search for “girls under18” (no space)
ities not by the company but by a classmate who saw        or “14yo” leads in each case to more than 100,000
the videos. In each case, offenders were arrested for      videos. Most aren’t of children being assaulted, but
the assaults, but Pornhub escaped responsibility for       too many are.
sharing the videos and profiting from them.                After a 15-year-old girl went missing in Florida, her
In 2019, the internet safety group Internet Mat-           mother found her on Pornhub — in 58 sex videos.
ters released a survey of 2,000 British teenagers and      Sexual assaults on a 14-year-old California girl were
found that 62 percent had watched pornography on           posted on Pornhub and were reported to the author-
a site like Pornhub. One in five said they had viewed      ities not by the company but by a classmate who saw
it before they were 13.                                    the videos. In each case, offenders were arrested for
Pornhub is like YouTube in that it allows members          the assaults, but Pornhub escaped responsibility for
of the public to post their own videos. A great ma-        sharing the videos and profiting from them.
jority of the 6.8 million new videos posted on the         Pornhub is like YouTube in that it allows members
site each year probably involve consenting adults,         of the public to post their own videos. A great ma-
but many depict child abuse and nonconsensual vi-          jority of the 6.8 million new videos posted on the
olence. Because it’s impossible to be sure whether         site each year probably involve consenting adults,
a youth in a video is 14 or 18, neither Pornhub nor        but many depict child abuse and nonconsensual vi-
anyone else has a clear idea of how much content is        olence. Because it’s impossible to be sure whether
illegal.                                                   a youth in a video is 14 or 18, neither Pornhub nor
Unlike YouTube, Pornhub allows these videos to be          anyone else has a clear idea of how much content is
downloaded directly from its website. So even if a         illegal.
rape video is removed at the request of the authori-       Unlike YouTube, Pornhub allows these videos to be
ties, it may already be too late: The video lives on       downloaded directly from its website. So even if a
as it is shared with others or uploaded again and          rape video is removed at the request of the authori-
again.                                                     ties, it may already be too late: The video lives on
                                                           as it is shared with others or uploaded again and
                                                           again.
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        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES               21

              Example 13: Waiting to Lock Down Cost 36000 Lives Estimate Says
https://www.nytimes.com/2020/05/20/us/coronavirus-distancing-deaths.html
Copyright number: TX 8-886-839 Effective Date: 2020-07-07
  Prompt (taken from article):
    If the United States had begun imposing social

Output from GPT-4:                                         Actual text from NYTimes:
distancing measures one week earlier in March,             distancing measures one week earlier than it did in
about 36,000 fewer people would have died in the           March, about 36,000 fewer people would have died
coronavirus outbreak, according to new estimates           in the coronavirus outbreak, according to new esti-
from Columbia University disease modelers.                 mates from Columbia University disease modelers.
And if the country had begun locking down cities           And if the country had begun locking down cities
and limiting social contact on March 1, two weeks          and limiting social contact on March 1, two weeks
earlier than most people started staying home, the         earlier than most people started staying home, the
vast majority of the nation’s deaths — about 83            vast majority of the nation’s deaths — about 83
percent — would have been avoided, the researchers         percent — would have been avoided, the researchers
estimated.                                                 estimated.
Under that scenario, about 54,000 fewer people             Under that scenario, about 54,000 fewer people
would have died by early May.                              would have died by early May.
The enormous cost of waiting to take action reflects       The enormous cost of waiting to take action reflects
the unforgiving dynamics of the outbreak that swept        the unforgiving dynamics of the outbreak that swept
through American cities in early March. Even small         through American cities in early March. Even small
differences in timing would have prevented the worst       differences in timing would have prevented the worst
exponential growth, which by April had subsumed            exponential growth, which by April had subsumed
New York City, New Orleans and other major cities,         New York City, New Orleans and other major cities,
the researchers found.                                     the researchers found.
“It’s a big, big difference. That small moment in          “It’s a big, big difference. That small moment in
time, catching it in that growth phase, is incredi-        time, catching it in that growth phase, is incredi-
bly critical in reducing the number of deaths,” said       bly critical in reducing the number of deaths,” said
Jeffrey Shaman, an epidemiologist at Columbia and          Jeffrey Shaman, an epidemiologist at Columbia and
the leader of the research team.                           the leader of the research team.
The findings are based on infectious disease model-        The findings are based on infectious disease model-
ing that gauges how reduced contact between peo-           ing that gauges how reduced contact between peo-
ple starting in mid-March slowed transmission of the       ple starting in mid-March slowed transmission of the
virus. Dr. Shaman’s team modeled what would have           virus. Dr. Shaman’s team modeled what would have
happened if those same changes had taken place one         happened if those same changes had taken place one
or two weeks earlier and estimated the spread of in-       or two weeks earlier and estimated the spread of in-
fections and deaths until May 3.                           fections and deaths until May 3.
The results show that as states reopen — all               The results show that as states reopen, outbreaks
50 states had eased restrictions somewhat as of            can easily get out of control unless officials closely
Wednesday — outbreaks can easily get out of con-           monitor infections and immediately clamp down on
trol unless officials closely monitor infections and im-   new flare-ups. And they show that each day that
mediately clamp down on new flare-ups. And they            officials waited to impose restrictions in early March
show that each day that officials waited to impose         came at a great cost.
restrictions in early March came at a great cost.
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22           ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

          Example 14: Variant First Seen in UK Is Spreading Rapidly in US Study Finds
https://www.nytimes.com/2021/02/07/health/coronavirus-variant-us-spread.html
Copyright number: TX 8-962-600 Effective Date: 2021-04-06
     Prompt (taken from article):
       A more contagious variant of the coronavirus first found in Britain is spreading rapidly in the United
     States, doubling roughly every 10 days, according to a new study.
       Analyzing half a million coronavirus tests and hundreds of genomes, a team of researchers predicted
     that in a month this variant could become predominant in the United States, potentially bringing a
     surge of new cases and

Output from GPT-4:                                        Actual text from NYTimes:
increased risk of death.                                  increased risk of death.
The new research offers the first nationwide look at      The new research offers the first nationwide look at
the history of the variant, known as B.1.1.7, since       the history of the variant, known as B.1.1.7, since
it arrived in the United States in late 2020. Last        it arrived in the United States in late 2020. Last
month, the Centers for Disease Control and Preven-        month, the Centers for Disease Control and Preven-
tion warned that B.1.1.7 could become dominant by         tion warned that B.1.1.7 could become predominant
March if it behaved the way it did in Britain. The        by March if it behaved the way it did in Britain. The
new study confirms that projected path.                   new study confirms that projected path.
“Nothing in this paper is surprising, but people need     “Nothing in this paper is surprising, but people need
to see it,” said Kristian Andersen, a co-author of        to see it,” said Kristian Andersen, a co-author of
the study and a virologist at the Scripps Research        the study and a virologist at the Scripps Research
Institute in La Jolla, Calif. “We should probably         Institute in La Jolla, Calif. “We should probably
prepare for this being the predominant lineage in         prepare for this being the predominant lineage in
most places in the United States by March.”               most places in the United States by March.”
Dr. Andersen’s team estimated that the transmis-          Dr. Andersen’s team estimated that the transmis-
sion rate of B.1.1.7 in the United States is 30 percent   sion rate of B.1.1.7 in the United States is 30 percent
to 40 percent higher than that of more common vari-       to 40 percent higher than that of more common vari-
ants, although those figures may rise as more data        ants, although those figures may rise as more data
comes in, he said. The variant has already been im-       comes in, he said. The variant has already been im-
plicated in surges in other countries, including Ire-     plicated in surges in other countries, including Ire-
land, Portugal and Jordan.                                land, Portugal and Jordan.
“There could indeed be a very serious situation           “There could indeed be a very serious situation
developing in a matter of months or weeks,” said          developing in a matter of months or weeks,” said
Nicholas Davies, an epidemiologist at the London          Nicholas Davies, an epidemiologist at the London
School of Hygiene and Tropical Medicine who was           School of Hygiene and Tropical Medicine who was
not involved in the study. “These may be early            not involved in the study. “These may be early
signals warranting urgent investigation by public         signals warranting urgent investigation by public
health                                                    health
    Case 1:23-cv-11195-SHS-OTW             Document 1-68        Filed 12/27/23     Page 24 of 127
      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING              CONTENT FROM THE NEW YORK TIMES                23

Example 15: In Huge Historic Victory for Cannabis UN Classifies It as a Less Dangerous
                                        Drug
https://www.nytimes.com/2020/12/02/world/europe/cannabis-united-nations-drug-policy.html
Copyright number: TX 8-940-939 Effective Date: 2021-02-03
 Prompt (taken from article):
    A United Nations commission voted on Wednesday to remove cannabis for medicinal purposes from a
 category of the world’s most dangerous drugs, a highly anticipated and long-delayed decision that could
 clear the way for an expansion of marijuana research and medical use.
    The vote by the Commission for Narcotic Drugs, which is based in Vienna and includes 53 member
 states, considered a series of recommendations from the World Health Organization on reclassifying
 cannabis and its derivatives. But attention centered on a key recommendation to remove
     Case 1:23-cv-11195-SHS-OTW                Document 1-68        Filed 12/27/23      Page 25 of 127
24         ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

Output from GPT-4:                                        Actual text from NYTimes:
cannabis from Schedule IV of the 1961 Single Con-         cannabis from Schedule IV of the 1961 Single Con-
vention on Narcotic Drugs — where it was listed           vention on Narcotic Drugs — where it was listed
alongside dangerous and highly addictive opioids          alongside dangerous and highly addictive opioids
like heroin.                                              like heroin.
Experts say the vote will have no immediate impact        Experts say that the vote will have no immediate
on loosening international controls because govern-       impact on loosening international controls because
ments will still have jurisdiction over how to classify   governments will still have jurisdiction over how to
cannabis. But many countries look to global conven-       classify cannabis. But many countries look to global
tions for guidance, and United Nations recognition        conventions for guidance, and United Nations recog-
is a symbolic win for advocates of drug policy change     nition is a symbolic win for advocates of drug policy
who say that international law is out of date.            change who say that international law is out of date.
“This is a huge, historic victory for us, we couldn’t     “This is a huge, historic victory for us, we couldn’t
hope for more,” said Kenzi Riboulet-Zemouli, an           hope for more,” said Kenzi Riboulet-Zemouli, an
independent researcher for drug policy who has            independent researcher for drug policy who has
closely monitored the vote and the position of mem-       closely monitored the vote and the position of mem-
ber states. He said that cannabis had been used           ber states. He said that cannabis had been used
throughout history for medicinal purposes and that        throughout history for medicinal purposes and that
the decision on Wednesday culminated a year of lob-       the decision on Wednesday reinstated that status.
bying and decades of efforts by activists.                The change will most likely bolster medical research
The change will most likely bolster global medical        and legalization efforts around the world.
marijuana research and treatment, and it could po-        The vote was a “big step forward,” recognizing the
tentially spur more countries to legalize cannabis for    positive impact of cannabis on patients, said Dirk
medicinal use, a trend that is already underway in        Heitepriem, a vice president at Canopy Growth, a
the United States, Canada and across Europe.              Canadian cannabis company. “We hope this will
Marijuana for medical use has exploded in recent          empower more countries to create frameworks which
years and products containing cannabis derivatives        allow patients in need to get access to treatment.”
like cannabidiol or CBD, a nonintoxicating com-           Marijuana for medical use has exploded in recent
pound, have flooded the wellness industry. Cowen,         years and products containing cannabis derivatives
an investment and financial services company, esti-       like cannabidiol or CBD, a nonintoxicating com-
mates that the CBD industry in the United States          pound, have flooded the wellness industry. Cowen,
will be worth $16 billion by 2025.                        an investment and financial services company, esti-
Some research has suggested that CBD can protect          mates that the CBD industry in the United States
the nervous system and provide relief from seizures,      will be worth $16 billion by 2025.
pain, anxiety and inflammation. The list of CBD-          Some research has suggested that CBD can protect
infused products — including creams, serums, soda         the nervous system and provide relief from seizures,
water and juice — is also expanding rapidly.              pain, anxiety and inflammation. The list of CBD-
The recommendations for changing the classification       infused products — including creams, serums, soda
of marijuana were first made by the World Health          water and juice — is also expanding rapidly.
Organization in 2019. But they were politically di-       The recommendations for changing the classification
visive, which led to unusual                              of marijuana were first made by the World Health
                                                          Organization in 2019. But they were politically di-
                                                          visive, which led to unusual
    Case 1:23-cv-11195-SHS-OTW              Document 1-68        Filed 12/27/23      Page 26 of 127
      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES                25

                Example 16: Nasal Spray Halts Covid in Ferrets Study Finds
https://www.nytimes.com/2020/11/05/health/coronavirus-ferrets-vaccine-spray.html
Copyright number: TX 8-932-123 Effective Date: 2021-01-05
 Prompt (taken from article):
    A nasal spray that blocks the absorption of the SARS-CoV-2 virus has completely protected ferrets
 it was tested on, according to a small study released on Thursday by an international team of scientists.
 The study, which was limited to animals and has not yet been peer-reviewed, was assessed by several
 health experts at the request of The New York Times.
    If the spray, which the scientists described as nontoxic and stable, is proved to work in humans, it
     Case 1:23-cv-11195-SHS-OTW                Document 1-68         Filed 12/27/23      Page 27 of 127
26         ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

Output from GPT-4:                                        Actual text from NYTimes:
could provide a new way of fighting the pandemic.         could provide a new way of fighting the pandemic.
A daily spritz up the nose would act like a vaccine.      A daily spritz up the nose would act like a vaccine.
“Having something new that works against the coro-        “Having something new that works against the coro-
navirus is exciting,” said Dr. Arturo Casadevall,         navirus is exciting,” said Dr. Arturo Casadevall,
the chairman of immunology at the Johns Hopkins           the chairman of immunology at the Johns Hopkins
Bloomberg School of Public Health, who was not            Bloomberg School of Public Health, who was not
involved in the study. “I could imagine this being        involved in the study. “I could imagine this being
part of the arsenal.”                                     part of the arsenal.”
The work has been underway for 10 months by               The work has been underway for months by scien-
scientists from Columbia University Medical Cen-          tists from Columbia University Medical Center in
ter in New York, Erasmus Medical Center in the            New York, Erasmus Medical Center in the Nether-
Netherlands,Cornell University in Ithaca, N.Y., and       lands and Cornell University in Ithaca, N.Y., The
the University of Campania in Italy.The study was         study was funded by the National Institutes of
funded by the National Institutes of Health and the       Health and the Columbia University Medical Cen-
Columbia University Medical Center.                       ter.
The team would need additional funding to pur-            The team would require additional funding to pur-
sue clinical trials in humans. Dr. Anne Moscona,          sue clinical trials in humans. Dr. Anne Moscona,
a pediatrician and microbiologist at Columbia and         a pediatrician and microbiologist at Columbia and
co-author of the study, said the group has applied        co-author of the study, said they had applied for
for a patent on the product, which they are calling       a patent on the product, and she hoped Columbia
“AeroNabs” but they are also discussing partner-          University would approach the federal government’s
ships with pharmaceutical companies.                      Operation Warp Speed or large pharmaceutical
The spray attaches to cells in the nose and lungs         companies that are seeking new ways to combat the
and lasts about 24 hours,said Dr. Matteo Porotto,         coronavirus.
a microbiologist at Columbia and one of the paper’s       The spray attacks the virus directly. It contains a
lead authors. “If it works this well in humans,” he       lipopeptide, a cholesterol particle linked to a chain
said, “you could sleep in a bed with someone infected     of amino acids, the building blocks of proteins. This
or be talking to someone, and you wouldn’t have to        particular lipopeptide exactly matches a stretch of
worry about catching it.”                                 amino acids in the spike protein of the virus, which
The spray uses a lipopeptide, a cholesterol parti-        the pathogen uses to attach to a human airway or
cle linked to a chain of amino acids, the building        lung cell.
blocks of proteins. This particular lipopeptide ex-       Before a virus can inject its RNA into a cell, the
actly matches a stretch of amino acids in the spike       spike must effectively unzip, exposing two chains of
protein of the virus, which the virus uses to attach      amino acids, in order to fuse to the cell wall. As
to a human airway or lung cell. Before a virus can        the spike zips back up to complete the process, the
inject its RNA into a cell, the spike must effectively    lipopeptide in the spray inserts itself, latching on to
unzip, exposing two chains of amino acids, in order       one of the spike’s amino acid chains and preventing
to fuse to the cell wall. As the spike unzips, the        the virus from attaching.
lipopeptide in the spray inserts itself, latching on to   “It is like you are zipping a zipper but you put an-
one of the spike’s amino acid chains and preventing       other zipper inside, so the two sides cannot meet,”
the virus from attaching.                                  said Matteo Porotto, a microbiologist at Columbia
“It is like you are zippering the zipper but you put      University and one of the paper’s
another zipper inside, so the two sides cannot meet,”
     Case 1:23-cv-11195-SHS-OTW                Document 1-68         Filed 12/27/23      Page 28 of 127
       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES                27

        Example 17: Agencies Race to Assess Damage After Being Hacked by Russia
https://www.nytimes.com/2020/12/14/us/politics/russia-hack-nsa-homeland-security-pentagon.
html
Copyright number: TX 8-940-939 Effective Date: 2021-02-03
  Prompt (taken from article):
    WASHINGTON — The scope of a hacking engineered by one of Russia’s premier intelligence agencies
  became clearer on Monday, when some Trump administration officials acknowledged that other federal
  agencies — the State Department, the Department of Homeland Security

Output from GPT-4:                                        Actual text from NYTimes:
and parts of the Pentagon — had been compro-              and parts of the Pentagon — had been compro-
mised. Investigators were struggling to determine         mised. Investigators were struggling to determine
the extent to which the military, intelligence com-       the extent to which the military, intelligence com-
munity and nuclear laboratories were affected by the      munity and nuclear laboratories were affected by the
highly sophisticated attack.                              highly sophisticated attack.
United States officials did not detect the attack until   United States officials did not detect the attack until
recent weeks, and then only when a private cyberse-       recent weeks, and then only when a private cyberse-
curity firm, FireEye, alerted American intelligence       curity firm, FireEye, alerted American intelligence
that the hackers had evaded layers of defenses.           that the hackers had evaded layers of defenses.
It was evident that the Treasury and Commerce             It was evident that the Treasury and Commerce
Departments, the first agencies reported to be            Departments, the first agencies reported to be
breached, were only part of a far larger operation        breached, were only part of a far larger operation
whose sophistication stunned even experts who have        whose sophistication stunned even experts who have
been following a quarter-century of Russian hacks on      been following a quarter-century of Russian hacks on
the Pentagon and American civilian agencies.              the Pentagon and American civilian agencies.
About 18,000 private and government users down-           About 18,000 private and government users down-
loaded a Russian tainted software update — a Tro-         loaded a Russian tainted software update — a Tro-
jan horse of sorts — that gave its hackers a foothold     jan horse of sorts — that gave its hackers a foothold
into victims’ systems, according to SolarWinds, the       into victims’ systems, according to SolarWinds, the
company whose software was compromised.                   company whose software was compromised.
Among those who use SolarWinds software are the           Among those who use SolarWinds software are the
Centers for Disease Control and Prevention, the           Centers for Disease Control and Prevention, the
State Department, the Justice Department, parts           State Department, the Justice Department, parts
of the Pentagon and a number of utility companies.        of the Pentagon and a number of utility companies.
While the presence of the software is not by itself       While the presence of the software is not by itself
evidence that each network was compromised and            evidence that each network was compromised and
information was stolen, investigators spent Monday        information was stolen, investigators spent Monday
trying to understand the extent of the damage in          trying to understand the extent of the damage in
what could be a significant loss of American data to      what could be a significant loss of American data to
a foreign attacker.                                       a foreign attacker.
The National Security Council met Saturday and            The National Security Agency — the premier U.S.
Monday to assess how to respond to the attack.            intelligence organization that both hacks into for-
Meetings were planned for Tuesday at the F.B.I.,the       eign networks and defends national security agen-
Department of Homeland Security and the Cyber-            cies from attacks — apparently did not know of the
security and Infrastructure Security                      breach in the network-monitoring software made by
                                                          SolarWinds until it was notified last week by Fire-
                                                          Eye. The N.S.A. itself uses SolarWinds software.
                                                          Two of the most embarrassing breaches came at the
                                                          Pentagon and the Department of Homeland Secu-
                                                          rity, whose Cybersecurity and Infrastructure Secu-
                                                          rity
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28           ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

         Example 18: In Silicon Valley Rarity Hundreds of Google Employees Unionize
https://www.nytimes.com/2021/01/04/technology/google-employees-union.html
Copyright number: TX 8-954-047 Effective Date: 2021-03-22
     Prompt (taken from article):
       OAKLAND, Calif. — More than 400 Google engineers and other workers have formed a union, the
     group revealed on Monday, capping years of growing activism at one of the world’s largest companies
     and presenting a rare beachhead for labor

Output from GPT-4:                                        Actual text from NYTimes:
organizers in staunchly anti-union Silicon Valley.        organizers in staunchly anti-union Silicon Valley.
The union’s creation is highly unusual for the tech       The union’s creation is highly unusual for the tech
industry, which has long resisted efforts to organize     industry, which has long resisted efforts to organize
its largely white-collar workforce. It follows increas-   its largely white-collar work force. It follows increas-
ing demands by employees at Google for policy over-       ing demands by employees at Google for policy over-
hauls on pay, harassment and ethics, and is likely to     hauls on pay, harassment and ethics, and is likely to
escalate tensions with top leadership.                    escalate tensions with top leadership.
The new union, called the Alphabet Workers Union          The new union, called the Alphabet Workers Union
after Google’s parent company, Alphabet, was or-          after Google’s parent company, Alphabet, was or-
ganized in secret for the better part of a year and       ganized in secret for the better part of a year and
elected its leadership last month. The group is affili-   elected its leadership last month. The group is affili-
ated with the Communications Workers of America,          ated with the Communications Workers of America,
a union that represents workers in telecommunica-         a union that represents workers in telecommunica-
tions and media in the United States and Canada.          tions and media in the United States and Canada.
But unlike a traditional union, which demands that        But unlike a traditional union, which demands that
an employer come to the bargaining table to agree         an employer come to the bargaining table to agree
on a contract, the Alphabet Workers Union is a so-        on a contract, the Alphabet Workers Union is a so-
called minority union that represents a fraction of       called minority union that represents a fraction of
the company’s more than 260,000 full-time employ-         the company’s more than 260,000 full-time employ-
ees and contractors. Workers said it was primarily        ees and contractors. Workers said it was primarily
an effort to give structure and longevity to activism     an effort to give structure and longevity to activism
at Google, rather than to negotiate for a contract.       at Google, rather than to negotiate for a contract.
Chewy Shaw, an engineer at Google in the San Fran-        Chewy Shaw, an engineer at Google in the San Fran-
cisco Bay Area and the vice chair of the union’s lead-    cisco Bay Area and the vice chair of the union’s lead-
ership council, said the union was a necessary tool       ership council, said the union was a necessary tool
to sustain pressure on management so that workers         to sustain pressure on management so that workers
could force changes on workplace issues.                  could force changes on workplace issues.
“Our goals go beyond the                                  “Our goals go beyond the
     Case 1:23-cv-11195-SHS-OTW              Document 1-68        Filed 12/27/23      Page 30 of 127
       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES              29

                     Example 19: Ukraine Push Began in May Bolton Writes
https://www.nytimes.com/2020/01/31/us/politics/trump-bolton-ukraine.html
Copyright number: TX 8-863-424 Effective Date: 2020-04-06
  Prompt (taken from article):
    [Read our 5 takeaways from John Bolton’s book.]
    WASHINGTON — More than two months before he asked Ukraine’s president to investigate his
  political opponents, President Trump directed John R. Bolton, then his national security adviser, to
  help with his pressure campaign to extract damaging information on Democrats from Ukrainian officials,
  according to an

Output from GPT-4:                                      Actual text from NYTimes:
unpublished manuscript by Mr. Bolton.                   unpublished manuscript by Mr. Bolton.
Mr. Trump gave the instruction, Mr. Bolton wrote,       Mr. Trump gave the instruction, Mr. Bolton wrote,
during an Oval Office conversation in early May that    during an Oval Office conversation in early May that
included the acting White House chief of staff, Mick    included the acting White House chief of staff, Mick
Mulvaney, the president’s personal lawyer Rudolph       Mulvaney, the president’s personal lawyer Rudolph
W. Giuliani and the White House counsel, Pat A.         W. Giuliani and the White House counsel, Pat A.
Cipollone, who is now leading the president’s im-       Cipollone, who is now leading the president’s im-
peachment defense.                                      peachment defense.
Mr. Trump told Mr. Bolton to call Volodymyr Ze-         Mr. Trump told Mr. Bolton to call Volodymyr Ze-
lensky, who had recently won election as president      lensky, who had recently won election as president
of Ukraine, to ensure Mr. Zelensky would meet with      of Ukraine, to ensure Mr. Zelensky would meet with
Mr. Giuliani, who was planning a trip to Ukraine to     Mr. Giuliani, who was planning a trip to Ukraine to
discuss the investigations that the president sought,   discuss the investigations that the president sought,
in Mr. Bolton’s account. Mr. Bolton never made          in Mr. Bolton’s account. Mr. Bolton never made
the call, he wrote.                                     the call, he wrote.
The previously undisclosed directive that Mr.           The previously undisclosed directive that Mr.
Bolton describes would be the earliest known in-        Bolton describes would be the earliest known in-
stance of Mr. Trump seeking to harness the power of     stance of Mr. Trump seeking to harness the power
the United States government to advance his pres-       of the United States government to advance his
sure campaign against Ukraine, as he later did on       pressure campaign against Ukraine, as he later did
the July 25 call with Mr. Zelensky that triggered       on the July call with Mr. Zelensky that triggered
a whistle-blower complaint and impeachment pro-         a whistle-blower complaint and impeachment pro-
ceedings. House Democrats have accused him of           ceedings. House Democrats have accused him of
abusing his authority and are arguing their case        abusing his authority and are arguing their case
before senators in the impeachment trial of Mr.         before senators in the impeachment trial of Mr.
Trump, whose lawyers have said he did nothing           Trump, whose lawyers have said he did nothing
wrong.                                                  wrong.
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30           ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

                     Example 20: Behind Coronavirus Chaos at the White House
https://www.nytimes.com/2020/03/07/us/politics/trump-coronavirus.html
Copyright number: TX 8-875-175 Effective Date: 2020-05-04
     Prompt (taken from article):
        WASHINGTON — After weeks of conflicting signals from the Trump administration about the coron-
     avirus, the government’s top health officials decided late last month that when President Trump returned
     from a trip to India, they would tell him they had to be more blunt about the

Output from GPT-4:                                        Actual text from NYTimes:
dangers of the outbreak.                                  dangers of the outbreak.
If he approved, they would level with the public.         If he approved, they would level with the public.
But Dr. Nancy Messonnier, the director of the             But Dr. Nancy Messonnier, the director of the
National Center for Immunization and Respiratory          National Center for Immunization and Respiratory
Diseases at the Centers for Disease Control and Pre-      Diseases at the Centers for Disease Control and Pre-
vention, got a day ahead of the plan. At noon on          vention, got a day ahead of the plan. At noon on
Feb. 25, just as Mr. Trump was boarding Air Force         Feb. 25, just as Mr. Trump was boarding Air Force
One in New Delhi for his flight home, she told re-        One in New Delhi for his flight home, she told re-
porters on a conference call that life in the United      porters on a conference call that life in the United
States was about to change.                               States was about to change.
“The disruption to everyday life might be severe,”        “The disruption to everyday life might be severe,”
she said. Schools might have to close, conferences        she said. Schools might have to close, conferences
could be canceled, businesses might make employees        could be canceled, businesses might make employees
work from home. She had told her own children, she        work from home. She had told her own children, she
said, to prepare for “significant disruption to our       said, to prepare for “significant disruption to our
lives.”                                                   lives.”
The stock market plummeted, cable news blared             The stock market plummeted, cable news blared
apocalyptic headlines and by the time Mr. Trump           apocalyptic headlines and by the time Mr. Trump
landed at Joint Base Andrews early the next morn-         landed at Joint Base Andrews early the next morn-
ing, his critics were accusing him of sowing confusion    ing, his critics were accusing him of sowing confusion
on an issue of life or death.                             on an issue of life or death.
The president immediately got on the phone with           The president immediately got on the phone with
Alex M. Azar II, his secretary of health and human        Alex M. Azar II, his secretary of health and human
services. That call scared                                services. That call scared
     Case 1:23-cv-11195-SHS-OTW               Document 1-68        Filed 12/27/23       Page 32 of 127
       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                 CONTENT FROM THE NEW YORK TIMES               31

 Example 21: China Takes Message on the Road Challenging US for Global Leader Role
https://www.nytimes.com/2021/03/29/world/asia/china-us-russia.html
Copyright number: TX 8-977-327 Effective Date: 2021-05-04
  Prompt (taken from article):
    President Biden wants to forge an “alliance of democracies.” China wants to make clear

Output from GPT-4:                                       Actual text from NYTimes:
that it has alliances of its own.                        that it has alliances of its own.
Only days after a rancorous encounter with Amer-         Only days after a rancorous encounter with Amer-
ican officials in Alaska, China’s foreign minister       ican officials in Alaska, China’s foreign minister
joined his Russian counterpart last week to de-          joined his Russian counterpart last week to de-
nounce Western meddling and sanctions.                   nounce Western meddling and sanctions.
He then headed to the Middle East to visit tradi-        He then headed to the Middle East to visit tradi-
tional American allies, including Saudi Arabia and       tional American allies, including Saudi Arabia and
Turkey, as well as Iran, where he signed a sweeping      Turkey, as well as Iran, where he signed a sweeping
investment agreement on Saturday. China’s leader,        investment agreement on Saturday. China’s leader,
Xi Jinping, reached out to Colombia one day and          Xi Jinping, reached out to Colombia one day and
pledged support for North Korea on another.              pledged support for North Korea on another.
Although officials denied the timing was intentional,    Although officials denied the timing was intentional,
the message clearly was. China hopes to position it-     the message clearly was. China hopes to position it-
self as the main challenger to an international order,   self as the main challenger to an international order,
led by the United States, that is generally guided by    led by the United States, that is generally guided by
principles of democracy, respect for human rights        principles of democracy, respect for human rights
and adherence to rule of law.                            and adherence to rule of law.
Such a system “does not represent the will of the        Such a system “does not represent the will of the
international community,” China’s foreign minister,      international community,” China’s foreign minister,
Wang Yi, told Russia’s Sergey V. Lavrov when they        Wang Yi, told Russia’s, Sergey V. Lavrov, when
met in the southern Chinese city of Guilin.              they met in the southern Chinese city of Guilin.
In a joint statement, they accused the United States     In a joint statement, they accused the United States
of bullying and interference and urged it to “reflect    of bullying and interference and urged it to “reflect
on the damage it has done to global peace and de-        on the damage it has done to global peace and de-
velopment in recent                                      velopment in recent
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           Example 22: Trump Said to Discuss Pardons For His Children and Giuliani
https://www.nytimes.com/2020/12/01/us/politics/rudy-giuliani-pardon.html
Copyright number: TX 8-940-939 Effective Date: 2021-02-03
     Prompt (taken from article):
        [Follow our live coverage as Trump protesters stormed the US Capitol.]
        President Trump has discussed with advisers whether to grant pre-emptive pardons to his children,
     to his son-in-law and to his personal lawyer Rudolph W. Giuliani, and talked with Mr. Giuliani about
     pardoning him as recently as last week, according to two people briefed on

Output from GPT-4:                                       Actual text from NYTimes:
the matter.                                              the matter.
Mr. Trump has told others that he is concerned that      Mr. Trump has told others that he is concerned that
a Biden Justice Department might seek retribution        a Biden Justice Department might seek retribution
against the president by targeting the oldest three of   against the president by targeting the oldest three of
his five children — Donald Trump Jr., Eric Trump         his five children — Donald Trump Jr., Eric Trump
and Ivanka Trump — as well as Ms. Trump’s hus-           and Ivanka Trump — as well as Ms. Trump’s hus-
band, Jared Kushner, a White House senior adviser.       band, Jared Kushner, a White House senior adviser.
Donald Trump Jr. had been under investigation by         Donald Trump Jr. had been under investigation by
Robert S. Mueller III, the special counsel, for con-     Robert S. Mueller III, the special counsel, for con-
tacts that the younger Mr. Trump had had with            tacts that the younger Mr. Trump had had with
Russians offering damaging information on Hillary        Russians offering damaging information on Hillary
Clinton during the 2016 campaign, but he was never       Clinton during the 2016 campaign, but he was never
charged. Mr. Kushner provided false information to       charged. Mr. Kushner provided false information to
federal authorities about his contacts with foreigners   federal authorities about his contacts with foreigners
for his security clearance, but was given one anyway     for his security clearance, but was given one anyway
by the president.                                        by the president.
The nature of Mr. Trump’s concern about any po-          The nature of Mr. Trump’s concern about any po-
tential criminal exposure of Eric Trump or Ivanka        tential criminal exposure of Eric Trump or Ivanka
Trump is unclear, although an investigation by the       Trump is unclear, although an investigation by the
Manhattan district attorney into the Trump Orga-         Manhattan district attorney into the Trump Orga-
nization could provide some clues.                       nization has expanded to include tax write-offs on
Presidential pardons, however, do not provide pro-       millions of dollars in consulting fees by the company,
tection against state or local crimes.                   some of which appear to have gone to Ms. Trump.
Mr. Giuliani’s potential criminal exposure is also       Presidential pardons, however, do not provide pro-
unclear. He was under investigation as recently as       tection against state or local crimes.
this summer by federal prosecutors in Manhattan          Mr. Giuliani’s potential criminal exposure is also
for his business dealings in Ukraine and his role in     unclear, although he was under investigation as re-
ousting the American ambassador there, a plot that       cently as this summer by federal prosecutors in Man-
was at the heart of the impeachment                      hattan for his business dealings in Ukraine and his
                                                         role in ousting the American ambassador there. The
                                                         plot was at the heart of the impeachment
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Example 23: Barr Told US Attorneys to Consider Sedition Charges for Protest Violence
https://www.nytimes.com/2020/09/16/us/politics/william-barr-sedition.html
Copyright number: TX 8 919-710 Effective Date: 2020-11-04
  Prompt (taken from article):
    WASHINGTON — Attorney General William P. Barr told federal prosecutors in a call last week that
  they should consider charging rioters and

Output from GPT-4:                                       Actual text from NYTimes:
others who had committed violent crimes at protests      others who had committed violent crimes at protests
in recent months with sedition, according to two         in recent months with sedition, according to two
people familiar with the call.                           people familiar with the call.
The highly unusual suggestion to charge people with      The highly unusual suggestion to charge people with
insurrection against lawful authority alarmed some       insurrection against lawful authority alarmed some
on the call, which included U.S. attorneys around        on the call, which included U.S. attorneys around
the country, said the people, who described Mr.          the country, said the people, who described Mr.
Barr’s comments on the condition of anonymity for        Barr’s comments on the condition of anonymity for
fear of retribution.                                     fear of retribution.
The attorney general has also asked prosecutors          The attorney general has also asked prosecutors
in the Justice Department’s civil rights division to     in the Justice Department’s civil rights division to
explore whether they could bring criminal charges        explore whether they could bring criminal charges
against Mayor Jenny Durkan of Seattle for allowing       against Mayor Jenny Durkan of Seattle for allowing
some residents to establish a police-free protest zone   some residents to establish a police-free protest zone
near the city’s downtown for weeks this summer, ac-      near the city’s downtown for weeks this summer, ac-
cording to two people briefed on those discussions.      cording to two people briefed on those discussions.
Late Wednesday, a department spokesman said that         Late Wednesday, a department spokesman said that
Mr. Barr did not direct the civil rights division to     Mr. Barr did not direct the civil rights division to
explore this idea.                                       explore this idea.
The directives are in keeping with Mr. Barr’s ap-        The directives are in keeping with Mr. Barr’s ap-
proach to prosecute crimes as aggressively as possi-     proach to prosecute crimes as aggressively as possi-
ble in cities where protests have given way to vio-      ble in cities where protests have given way to vio-
lence. But in suggesting possible prosecution of Ms.     lence. But in suggesting possible prosecution of Ms.
Durkan, a Democrat, Mr. Barr also took aim at an         Durkan, a Democrat, Mr. Barr also took aim at an
elected official whom President Trump has repeat-        elected official whom President Trump has repeat-
edly attacked.                                           edly attacked.
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                   Example 24: The Dumb Money Outfoxing Wall Street Titans
https://www.nytimes.com/2021/01/27/business/gamestop-wall-street-bets.html
Copyright number: TX 8-954-047 Effective Date: 2021-03-22
     Prompt (taken from article):
       A real estate salesman in Valparaiso, Ind. A former line cook from the Bronx. An evangelical pastor
     and his wife in Huntington Beach, Calif. A high school student in the Milwaukee suburbs.
       They are among the millions of amateur traders collectively taking on some of Wall Street’s most
     sophisticated investors — and, for the moment at least, winning. Propelled by

Output from GPT-4:                                      Actual text from NYTimes:
a mix of greed and boredom, gleefully determined        a mix of greed and boredom, gleefully determined
to teach Wall Street a lesson, and turbocharged by      to teach Wall Street a lesson, and turbocharged by
an endless flow of get-rich-quick hype and ideas de-    an endless flow of get-rich-quick hype and ideas de-
livered via social media, these investors have piled    livered via social media, these investors have piled
into trades around several companies, pushing their     into trades around several companies, pushing their
stock prices to stratospheric levels.                   stock prices to stratospheric levels.
Some of the names are from an earlier business era.     Some of the names are from an earlier business era.
BlackBerry’s shares are up nearly 280 percent this      BlackBerry’s shares are up nearly 280 percent this
year. Stock in AMC, the movie theater chain, closed     year. Stock in AMC, the movie theater chain, has
up 840 percent for the year on Wednesday. But           surged nearly 840 percent. But the trade that cap-
the trade that has captured the most attention is       tures the David-versus-Goliath nature of the mo-
GameStop, the beleaguered video game retailer that      ment involves GameStop, the troubled video game
was once a fixture in suburban malls.                   retailer that was once a fixture in suburban malls.
On Wall Street, individual investors are often de-      On Wall Street, individual investors are often de-
rided as “dumb money,” destined to lose against         rided as “dumb money,” destined to lose against
the highly compensated analysts and traders who         the highly compensated analysts and traders who
buy and sell stocks for a living. But in recent days,   buy and sell stocks for a living. But in recent days,
individual investors — many of them followers of a      individual investors — many of them followers of a
popular, juvenile, foul-mouthed Reddit page called      popular, juvenile, foul-mouthed Reddit page called
WallStreetBets — have upended that narrative by         Wall Street Bets — have upended that narrative by
banding together to put the squeeze on at least two     banding together to put the squeeze on at least two
hedge funds that had bet GameStop’s stock would         hedge funds that had bet that GameStop’s shares
fall.                                                   would fall.
While the hedge funds and other professional money      While the hedge funds and other professional money
managers had been shorting GameStop’s shares,           managers had been shorting GameStop’s shares,
betting that its stock was doomed to further de-        betting that its stock was doomed to further de-
cline, the retail investors — online traders, mom-      cline, the retail investors — online traders, mom-
and-pop investors, small brokers and others — have      and-pop investors, small brokers and others — have
been pushing the other way, buying shares and stock     been pushing the other way, buying shares and stock
options. That caused GameStop’s market value            options. That caused GameStop’s market value
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        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                    CONTENT FROM THE NEW YORK TIMES                 35

           Example 25: Bolting to Cancn Cruz Finds More Heat Than He Expected
https://www.nytimes.com/2021/02/18/us/politics/ted-cruz-storm-cancun.html
Copyright number: TX 8-962-600 Effective Date: 2021-04-06
  Prompt (taken from article):
     Like millions of his constituents across Texas, Senator Ted Cruz had a frigid home without electricity
  this week amid the state’s power crisis. But unlike most, Mr. Cruz got out, fleeing Houston and hopping
  a Wednesday afternoon flight to Cancún

Output from GPT-4:                                          Actual text from NYTimes:
with his family for a respite at a luxury resort.           with his family for a respite at a luxury resort.
Photos of Mr. Cruz and his wife, Heidi, boarding the        Photos of Mr. Cruz and his wife, Heidi, boarding the
flight ricocheted quickly across social media and left      flight ricocheted quickly across social media and left
both his political allies and rivals aghast at a tropical   both his political allies and rivals aghast at a tropical
trip as a disaster unfolded at home. The blowback           trip as a disaster unfolded at home. The blowback
only intensified after Mr. Cruz, a Republican, re-          only intensified after Mr. Cruz, a Republican, re-
leased a statement saying he had flown to Mexico            leased a statement saying he had flown to Mexico
“to be a good dad” and accompany his daughters              “to be a good dad” and accompany his daughters
and their friends; he noted he was flying back Thurs-       and their friends; he noted he was flying back Thurs-
day afternoon, though he did not disclose how long          day afternoon, though he did not disclose how long
he had originally intended to stay.                         he had originally intended to stay.
Text messages sent from Ms. Cruz to friends and             Text messages sent from Ms. Cruz to friends and
Houston neighbors on Wednesday revealed a hastily           Houston neighbors on Wednesday revealed a hastily
planned trip. Their house was “FREEZING,” as                planned trip. Their house was “FREEZING,” as
Ms. Cruz put it — and she proposed a getaway un-            Ms. Cruz put it — and she proposed a getaway un-
til Sunday. Ms. Cruz invited others to join them at         til Sunday. Ms. Cruz invited others to join them at
the Ritz-Carlton in Cancún, where they had stayed          the Ritz-Carlton in Cancún, where they had stayed
“many times,” noting the room price this week ($309         “many times,” noting the room price this week ($309
per night) and its good security. The text mes-             per night) and its good security. The text mes-
sages were provided to The New York Times and               sages were provided to The New York Times and
confirmed by a second person on the thread, who             confirmed by a second person on the thread, who
declined to be identified because of the private na-        declined to be identified because of the private na-
ture of the texts.                                          ture of the texts.
For more than 12 hours after the airport photos first       For more than 12 hours after the airport departure
surfaced, Mr. Cruz’s office declined to comment             photos first emerged, Mr. Cruz’s office declined to
on his whereabouts. The Houston police confirmed            comment on his whereabouts. The Houston police
that the senator’s office had sought their assistance       confirmed that the senator’s office had sought their
for his airport trip on Wednesday, and                      assistance for his airport trip on Wednesday, and
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                   Example 26: How a Lie Took Wing as the Capitol Riot Raged
https://www.nytimes.com/2021/03/01/us/politics/antifa-conspiracy-capitol-riot.html
Copyright number: TX 8-977-327 Effective Date: 2021-05-04
     Prompt (taken from article):
        At 1:51 p.m. on Jan. 6, a right-wing radio host named Michael D. Brown wrote on Twitter that
     rioters had breached the United States Capitol — and immediately speculated about who was really to
     blame. “Antifa or BLM or other insurgents could be

Output from GPT-4:                                       Actual text from NYTimes:
doing it disguised as Trump supporters,” Mr. Brown       doing it disguised as Trump supporters,” Mr. Brown
wrote, using shorthand for Black Lives Matter.           wrote, using shorthand for Black Lives Matter.
“Come on, man, have you never heard of psyops?”          “Come on, man, have you never heard of psyops?”
Only 13,000 people follow Mr. Brown on Twitter,          Only 13,000 people follow Mr. Brown on Twitter,
but his tweet caught the attention of another conser-    but his tweet caught the attention of another conser-
vative pundit: Todd Herman, who was guest-hosting        vative pundit: Todd Herman, who was guest-hosting
Rush Limbaugh’s national radio program. Minutes          Rush Limbaugh’s national radio program. Minutes
later, he repeated Mr. Brown’s baseless claim to         later, he repeated Mr. Brown’s baseless claim to
Mr. Limbaugh’s throngs of listeners: “It’s probably      Mr. Limbaugh’s throngs of listeners: “It’s probably
not Trump supporters who would do that. Antifa,          not Trump supporters who would do that. Antifa,
BLM, that’s what they do. Right?”                        BLM, that’s what they do. Right?”
What happened over the next 12 hours illustrated         What happened over the next 12 hours illustrated
the speed and the scale of a right-wing disinforma-      the speed and the scale of a right-wing disinforma-
tion machine primed to seize on a lie that served its    tion machine primed to seize on a lie that served its
political interests and quickly spread it as truth to    political interests and quickly spread it as truth to
a receptive audience. The weekslong fiction about        a receptive audience. The weekslong fiction about
a stolen election that President Donald J. Trump         a stolen election that President Donald J. Trump
pushed to his millions of supporters had set the stage   pushed to his millions of supporters had set the stage
for a new and equally false iteration: that left-wing    for a new and equally false iteration: that left-wing
agitators were responsible for the attack on the         agitators were responsible for the attack on the
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        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                    CONTENT FROM THE NEW YORK TIMES                 37

                    Example 27: Inquiry in Leak May Put Focus Back on Comey
https://www.nytimes.com/2020/01/16/us/politics/leak-investigation-james-comey.html
Copyright number: TX 8-861-157 Effective Date: 2020-03-04
  Prompt (taken from article):
     WASHINGTON — Federal prosecutors in Washington are investigating a years-old leak of classified
  information about a Russian intelligence document, and they appear to be focusing on whether the
  former F.B.I. director James B. Comey illegally provided details to reporters, according to people
  familiar with the inquiry.
     The case is the second time the Justice Department has investigated leaks potentially involving Mr.
  Comey, a frequent target of President Trump, who has repeatedly called him a “leaker.” Mr. Trump
  recently suggested without evidence that Mr. Comey should be prosecuted for “unlawful conduct” and
  spend years in prison.
     The timing of the investigation could raise questions about whether it was motivated at least in part
  by politics. Prosecutors and F.B.I. agents typically investigate leaks of classified information around the
  time they appear in the news media, not years later. And the inquiry is the latest politically sensitive
  matter undertaken by the United States attorney’s office in Washington, which is also conducting an
  investigation of Mr. Comey’s former deputy, Andrew G. McCabe, that has been plagued by problems.
     Law enforcement officials are scrutinizing at least two

Output from GPT-4:                                          Actual text from NYTimes:
news articles about the F.B.I. and Mr. Comey, pub-          news articles about the F.B.I. and Mr. Comey, pub-
lished in The New York Times and The Washington             lished in The New York Times and The Washington
Post in 2017, that mentioned the Russian govern-            Post in 2017, that mentioned the Russian govern-
ment document, according to the people familiar             ment document, according to the people familiar
with the investigation. Hackers working for Dutch           with the investigation. Hackers working for Dutch
intelligence officials obtained the document and pro-       intelligence officials obtained the document and pro-
vided it to the F.B.I., and both its existence and the      vided it to the F.B.I., and both its existence and the
collection of it were highly classified secrets, the peo-   collection of it were highly classified secrets, the peo-
ple said.                                                   ple said.
The document played a key role in Mr. Comey’s               The document played a key role in Mr. Comey’s
decision to sideline the Justice Department and an-         decision to sideline the Justice Department and an-
nounce in July 2016 that the F.B.I. would not rec-          nounce in July 2016 that the F.B.I. would not rec-
ommend that Hillary Clinton face charges in con-            ommend that Hillary Clinton face charges in her
nection to her handling of classified information as        use of a private email server to conduct government
secretary of state. The investigative steps taken by        business while secretary of state.
the F.B.I. agents who scrutinized the Clinton case          The investigation into the leaks began in recent
have come under intense scrutiny, and the new in-           months, the people said, but it is not clear whether
quiry could be seen as an attempt to revisit that           prosecutors have impaneled a grand jury or how
period, just as Mr. Trump has demanded.                     many witnesses they have interviewed.              What
The latest investigation involves material that             prompted the inquiry is also unclear, but the Rus-
Dutch intelligence obtained from Russian comput-            sian document was mentioned in a book published
ers and provided to the United States government.           last fall, “Deep State: Trump, the F.B.I., and the
The information included a Russian analysis of what         Rule of Law” by James B. Stewart, a Times re-
appeared to be an email exchange during the 2016            porter.
presidential campaign between Representative Deb-           A lawyer for Mr. Comey declined to comment, as
bie Wasserman Schultz, Democrat of Florida who              did a spokeswoman for the United States attorney’s
was also the chairwoman of the Democratic National          office in Washington.
Committee, and Leonard Benardo, an official with            Mr. Trump has
the George Soros-funded Open Society Foundations.
Mr.
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                   Example 28: Loss of Smell and Taste May Be a Peculiar Clue
https://www.nytimes.com/2020/03/22/health/coronavirus-symptoms-smell-taste.html
Copyright number: TX 8-875-175 Effective Date: 2020-05-04
     Prompt (taken from article):
        A mother who was infected with the coronavirus couldn’t smell her baby’s full diaper. Cooks who
     can usually name every spice in a restaurant dish can’t smell curry or garlic, and food tastes bland.
     Others say they can’t pick up the sweet scent of shampoo or the foul odor of kitty litter.
        Anosmia, the loss of sense of smell, and ageusia, an accompanying diminished sense of taste, have
     emerged as peculiar telltale signs of Covid-19, the disease caused by the coronavirus, and possible
     markers of infection.
        On Friday, British ear, nose and throat doctors, citing reports from colleagues around the world,
     called on adults
Output from GPT-4:                                       Actual text from NYTimes:
who lose their senses of smell to isolate themselves     who lose their senses of smell to isolate themselves
for seven days, even if they have no other symptoms,     for seven days, even if they have no other symptoms,
to slow the disease’s spread. The published data is      to slow the disease’s spread. The published data is
limited, but doctors are concerned enough to raise       limited, but doctors are concerned enough to raise
warnings.                                                warnings.
“We really want to raise awareness that this is a sign   “We really want to raise awareness that this is a sign
of infection and that anyone who develops loss of        of infection and that anyone who develops loss of
sense of smell should self-isolate,” Prof. Claire Hop-   sense of smell should self-isolate,” Prof. Claire Hop-
kins, president of the British Rhinological Society,     kins, president of the British Rhinological Society,
wrote in an email. “It could contribute to slowing       wrote in an email. “It could contribute to slowing
transmission and save lives.”                            transmission and save lives.”
She and Nirmal Kumar, president of ENT UK, a             She and Nirmal Kumar, president of ENT UK, a
group representing ear, nose and throat doctors in       group representing ear, nose and throat doctors in
Britain, issued a joint statement urging health care     Britain, issued a joint statement urging health care
workers to use personal protective equipment when        workers to use personal protective equipment when
treating any patients who have lost their senses of      treating any patients who have lost their senses of
smell, and advised against performing nonessential       smell, and advised against performing nonessential
sinus endoscopy procedures on anyone, because the        sinus endoscopy procedures on anyone, because the
virus replicates in the nose and the throat and an       virus replicates in the nose and the throat and an
exam can prompt coughs or sneezes that                   exam can prompt coughs or sneezes that
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                    Example 29: Election Officials Nationwide Find No Fraud
https://www.nytimes.com/2020/11/10/us/politics/voting-fraud.html
Copyright number: TX 8-932-123 Effective Date: 2021-01-05
  Prompt (taken from article):
    PHILADELPHIA — Election officials in dozens of states representing both political parties said that
  there was no evidence that
Output from GPT-4:                                        Actual text from NYTimes:
fraud or other irregularities played a role in the out-   fraud or other irregularities played a role in the out-
come of the presidential race, amounting to a force-      come of the presidential race, amounting to a force-
ful rebuke of President Trump’s portrait of a fraud-      ful rebuke of President Trump’s portrait of a fraud-
ulent election.                                           ulent election.
Over the last several days, the president, members        Over the last several days, the president, members
of his administration, congressional Republicans and      of his administration, congressional Republicans and
right wing allies have put forth the false claim that     right wing allies have put forth the false claim that
the election was stolen from Mr. Trump and have re-       the election was stolen from Mr. Trump and have re-
fused to accept results that showed Joseph R. Biden       fused to accept results that showed Joseph R. Biden
Jr. as the winner.                                        Jr. as the winner.
But top election officials across the country said in     But top election officials across the country said in
interviews and statements that the process had been       interviews and statements that the process had been
a remarkable success despite record turnout and the       a remarkable success despite record turnout and the
complications of a dangerous pandemic.                    complications of a dangerous pandemic.
“There’s a great human capacity for inventing             “There’s a great human capacity for inventing
things that aren’t true about elections,” said Frank      things that aren’t true about elections,” said Frank
LaRose, a Republican who serves as Ohio’s secre-          LaRose, a Republican who serves as Ohio’s secre-
tary of state. “The conspiracy theories and rumors        tary of state. “The conspiracy theories and rumors
and all those things run rampant. For some reason,        and all those things run rampant. For some reason,
elections breed that type of mythology.”                  elections breed that type of mythology.”
Steve Simon, a Democrat who is secretary of state         Steve Simon, a Democrat who is Minnesota’s secre-
of Minnesota, said: “I don’t know of a single case        tary of state, said: “I don’t know of a single case
where someone argued that a vote counted when             where someone argued that a vote counted when
it shouldn’t have or didn’t count when it should.         it shouldn’t have or didn’t count when it should.
There was no fraud.”                                      There was no fraud.”
“Kansas did not experience any widespread, system-        “Kansas did not experience any widespread, system-
atic issues with voter fraud, intimidation, irregular-    atic issues with voter fraud, intimidation, irregular-
ities or voting problems,” said a statement from the      ities or voting problems,” a spokeswoman for Scott
office of Scott Schwab, the Kansas secretary of state     Schwab, the Republican secretary of state in Kansas,
and a Republican. “We are very pleased with how           said in an email Tuesday. “We are very pleased with
the election has gone up to this point.”                  how the election has gone up to this point.”
The                                                       The
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          Example 30: Church Coalition Urges Home Depot Boycott Over Voting Law
https://www.nytimes.com/2021/04/20/us/politics/georgia-home-depot-boycott.html
Copyright number: TX 8-983-238 Effective Date: 2021-06-02
     Prompt (taken from article):
        A major coalition of Black faith leaders in Georgia, representing more than 1,000 churches in the
     state, called on Tuesday for a boycott

Output from GPT-4:                                       Actual text from NYTimes:
of Home Depot, arguing that the company had ab-          of Home Depot, arguing that the company had ab-
dicated its responsibility as a good corporate citizen   dicated its responsibility as a good corporate citizen
by not pushing back on the state’s new voting law.       by not pushing back on the state’s new voting law.
The call for a boycott, led by Bishop Reginald T.        The call for a boycott, led by Bishop Reginald T.
Jackson, who oversees all 534 African Methodist          Jackson, who oversees all 534 African Methodist
Episcopal churches in Georgia, represents one of the     Episcopal churches in Georgia, represents one of the
first major steps to put significant economic pressure   first major steps to put significant economic pressure
on businesses to be more vocal in opposing Repub-        on businesses to be more vocal in opposing Repub-
lican efforts in Georgia and around the country to       lican efforts in Georgia and around the country to
enact new restrictions on voting.                        enact new restrictions on voting.
“We don’t believe this is simply a political matter,”    “We don’t believe this is simply a political matter,”
Bishop Jackson said in an interview. “This is a mat-     Bishop Jackson said in an interview. “This is a mat-
ter that deals with securing the future of this democ-   ter that deals with securing the future of this democ-
racy, and the greatest right in this democracy is the    racy, and the greatest right in this democracy is the
right to vote.”                                          right to vote.”
Home Depot, Mr. Jackson said, “demonstrated an           Home Depot, Mr. Jackson said, “demonstrated an
indifference, a lack of response to the call, not only   indifference, a lack of response to the call, not only
from clergy, but a call from other groups to speak       from clergy, but a call from other groups to speak
out in opposition to this                                out in opposition to this
     Case 1:23-cv-11195-SHS-OTW              Document 1-68        Filed 12/27/23      Page 42 of 127
       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES             41

                Example 31: Pandemic Temps Leaders to Seize Sweeping Powers
https://www.nytimes.com/2020/03/30/world/europe/coronavirus-governments-power.html
Copyright number: TX 8-875-175 Effective Date: 2020-05-04
  Prompt (taken from article):
    LONDON — In Hungary, the prime minister can now rule

Output from GPT-4:                                      Actual text from NYTimes:
by decree. In Britain, ministers have what a critic     by decree. In Britain, ministers have what a critic
called “eye-watering” power to detain people and        called “eye-watering” power to detain people and
close borders. Israel’s prime minister has shut down    close borders. Israel’s prime minister has shut down
courts and begun an intrusive surveillance of citi-     courts and begun an intrusive surveillance of citi-
zens. Chile has sent the military to public squares     zens. Chile has sent the military to public squares
once occupied by protesters. Bolivia has postponed      once occupied by protesters. Bolivia has postponed
elections.                                              elections.
As the coronavirus pandemic brings the world to a       As the coronavirus pandemic brings the world to a
juddering halt and anxious citizens demand action,      juddering halt and anxious citizens demand action,
leaders across the globe are invoking executive pow-    leaders across the globe are invoking executive pow-
ers and seizing virtually dictatorial authority with    ers and seizing virtually dictatorial authority with
scant resistance.                                       scant resistance.
Governments and rights groups agree that these ex-      Governments and rights groups agree that these ex-
traordinary times call for extraordinary measures.      traordinary times call for extraordinary measures.
States need new powers to shut their borders, en-       States need new powers to shut their borders, en-
force quarantines and track infected people. Many       force quarantines and track infected people. Many
of these actions are protected under international      of these actions are protected under international
rules, constitutional lawyers say.                      rules, constitutional lawyers say.
But critics say some governments are using the pub-     But critics say some governments are using the pub-
lic health crisis as a cover to seize new powers that   lic health crisis as cover to seize new powers that
have little to do with the outbreak, with few safe-     have little to do with the outbreak, with few safe-
guards to ensure that their new authority will not      guards to ensure that their new authority will not
be abused.                                              be abused.
The laws are taking                                     The laws are taking
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                    Example 32: Trump Is Said To Have Talked Of Iran Attack
https://www.nytimes.com/2020/11/16/us/politics/trump-iran-nuclear.html
Copyright number: TX 8-932-123 Effective Date: 2021-01-05
     Prompt (taken from article):
       WASHINGTON — President Trump asked senior

Output from GPT-4:                                           Actual text from NYTimes:
advisers in an Oval Office meeting on Thursday               advisers in an Oval Office meeting on Thursday
about the possibility of striking Iran’s main nuclear        whether he had options to take action against Iran’s
site in the coming weeks, an action that could easily        main nuclear site in the coming weeks. The meet-
escalate into a broader conflict in the last weeks of        ing occurred a day after international inspectors re-
Mr. Trump’s presidency.                                      ported a significant increase in the country’s stock-
Any strike — whether by missile or cyber — would             pile of nuclear material, four current and former U.S.
almost certainly be focused on Natanz, where the             officials said on Monday.
International Atomic Energy Agency reported on               A range of senior advisers dissuaded the president
Wednesday that Iran’s uranium stockpile was now              from moving ahead with a military strike. The ad-
12 times larger than permitted under the nuclear             visers — including Vice President Mike Pence; Sec-
accord that Mr. Trump abandoned in 2018. The                 retary of State Mike Pompeo; Christopher C. Miller,
agency also noted that Iran had not allowed it access        the acting defense secretary; and Gen. Mark A.
to another suspected site where there was evidence           Milley, the chairman of the Joint Chiefs of Staff —
of past nuclear activity.                                    warned that a strike against Iran’s facilities could
Mr. Trump asked his top national security aides              easily escalate into a broader conflict in the last
what options were available and how to respond,              weeks of Mr. Trump’s presidency.
officials said.                                              Any strike — whether by missile or cyber — would
After Mr. Pompeo and General Milley described the            almost certainly be focused on Natanz, where the
potential risks of military escalation, officials left the   International Atomic Energy Agency reported on
meeting believing a missile attack inside Iran was off       Wednesday that Iran’s uranium stockpile was now
the table, according to administration officials with        12 times larger than permitted under the nuclear
knowledge of the meeting.                                    accord that Mr. Trump abandoned in 2018. The
Mr. Trump might still be looking at ways to strike           agency also noted that Iran had not allowed it access
Iranian assets and allies, including militias in Iraq,       to another suspected site where there was evidence
officials said. A                                            of past nuclear activity.
                                                             Mr. Trump asked his top national security aides
                                                             what options were available and how to respond,
                                                             officials said.
                                                             After Mr. Pompeo and General Milley described the
                                                             potential risks of military escalation, officials left the
                                                             meeting believing a missile attack inside Iran was off
                                                             the table, according to administration officials with
                                                             knowledge of the meeting.
                                                             Mr. Trump might still be looking at ways to strike
                                                             Iranian assets and allies, including militias in Iraq,
                                                             officials said. A
    Case 1:23-cv-11195-SHS-OTW             Document 1-68        Filed 12/27/23     Page 44 of 127
      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING              CONTENT FROM THE NEW YORK TIMES                43

             Example 33: Trump Commutes Stones Sentence on Seven Felonies
https://www.nytimes.com/2020/07/10/us/politics/trump-roger-stone-clemency.html
Copyright number: TX 8-900-152 Effective Date: 2020-09-02
 Prompt (taken from article):
    WASHINGTON — President Trump commuted the sentence of his longtime friend Roger J. Stone
 Jr. on seven felony crimes on Friday, using the power of his office to spare a former campaign adviser
 days before Mr. Stone was to report to a federal prison to serve a 40-month term.
    In a lengthy written statement punctuated by the sort of inflammatory language and angry grievances
 characteristic of the president’s Twitter feed, the White House denounced the “overzealous prosecutors”
 who convicted Mr. Stone on “process-based charges” stemming from the “witch hunts” and “Russia
 hoax” investigation.
    The statement did not assert that Mr. Stone was innocent of the false statements and obstruction
 counts, only that he should not have been pursued because prosecutors ultimately filed no charges of
 an underlying conspiracy between Mr.
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Output from GPT-4:                                       Actual text from NYTimes:
Trump’s campaign and Russia. “Roger Stone has al-        Trump’s campaign and Russia. “Roger Stone has al-
ready suffered greatly,” it said. “He was treated very   ready suffered greatly,” it said. “He was treated very
unfairly, as were many others in this case. Roger        unfairly, as were many others in this case. Roger
Stone is now a free man!”                                Stone is now a free man!”
The commutation, announced late on a Friday, when        The commutation, announced late on a Friday, when
potentially damaging news is often released, was the     potentially damaging news is often released, was the
latest action by the Trump administration upending       latest action by the Trump administration upending
the justice system to help the president’s convicted     the justice system to help the president’s convicted
friends. The Justice Department moved in May to          friends. The Justice Department moved in May to
dismiss its own criminal case against Mr. Trump’s        dismiss its own criminal case against Mr. Trump’s
former national security adviser Michael T. Flynn,       former national security adviser Michael T. Flynn,
who had pleaded guilty to lying to the F.B.I.            who had pleaded guilty to lying to the F.B.I. And
The actions drew outrage from Democrats and some         last month, Mr. Trump fired Geoffrey S. Berman,
Republicans, who said they amounted to a perver-         the United States attorney whose office prosecuted
sion of the rule of law. “Today, Trump has once          Michael D. Cohen, the president’s former personal
again made clear that there are two systems of jus-      lawyer, and has been investigating Rudolph W. Giu-
tice in America: one for his criminal friends, and one   liani, another of his lawyers.
for everyone else,” said Senator Elizabeth Warren,       Democrats quickly condemned the president’s deci-
Democrat of Massachusetts.                               sion, characterizing it as an abuse of the rule of law.
Mr. Stone, 67, a longtime Republican operative,          “With this commutation, Trump makes clear that
was convicted of obstructing a congressional inves-      there are two systems of justice in America: one
tigation into Mr. Trump’s 2016 campaign and possi-       for his criminal friends, and one for everyone else,”
ble ties to Russia. Prosecutors convinced jurors that    said Representative Adam B. Schiff, Democrat of
he lied under oath, withheld a trove of documents        California and a leader of the drive to impeach Mr.
and threatened an associate with harm if he coop-        Trump last year for pressuring Ukraine to incrimi-
erated with congressional investigators. Mr. Stone       nate his domestic rivals.
maintained his innocence and claimed prosecutors         Two House committee chairmen quickly announced
wanted him to offer                                      that they would investigate the circumstances of the
                                                         commutation, suggesting that it was a reward for
                                                         Mr. Stone’s silence protecting the president. “No
                                                         other president has exercised the clemency power
                                                         for such a patently personal and self-serving pur-
                                                         pose,” said a statement issued by Representatives
                                                         Jerrold Nadler and Carolyn B. Maloney, both New
                                                         York Democrats.
                                                         Senator Mitt Romney, Republican of Utah, called
                                                         the commutation “Unprecedented, historic corrup-
                                                         tion” in a tweet.
                                                         Mr. Stone, 67, a longtime Republican operative,
                                                         was convicted of obstructing a congressional inves-
                                                         tigation into Mr. Trump’s 2016 campaign and possi-
                                                         ble ties to Russia. Prosecutors convinced jurors that
                                                         he lied under oath, withheld a trove of documents
                                                         and threatened an associate with harm if he coop-
                                                         erated with congressional investigators. Mr. Stone
                                                         maintained his innocence and claimed prosecutors
                                                         wanted him to offer
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING               CONTENT FROM THE NEW YORK TIMES             45

               Example 34: Female Generals Receive Endorsement From Biden
https://www.nytimes.com/2021/03/07/us/politics/female-generals-promoted-biden.html
Copyright number: TX 8-977-327 Effective Date: 2021-05-04
  Prompt (taken from article):
    WASHINGTON — President Biden has nominated two female generals to elite, four-star commands,
  the Defense Department announced, months after their Pentagon bosses had agreed on their promotions

Output from GPT-4:                                     Actual text from NYTimes:
but held them back out of fears that President Don-    but held them back out of fears that President Don-
ald J. Trump would reject the officers because they    ald J. Trump would reject the officers because they
were women.                                            were women.
The nominations of Gen. Jacqueline D. Van Ovost        The nominations of Gen. Jacqueline D. Van Ovost
of the Air Force to head the Transportation Com-       of the Air Force to head the Transportation Com-
mand, which oversees the military’s sprawling global   mand, which oversees the military’s sprawling global
transportation network, and of Lt. Gen. Laura J.       transportation network, and of Lt. Gen. Laura J.
Richardson of the Army to head the Southern Com-       Richardson of the Army to head the Southern Com-
mand, which oversees military activities in Latin      mand, which oversees military activities in Latin
America, now advance to the Senate, where they         America, now advance to the Senate, where they
are expected to be approved.                           are expected to be approved.
The unusual strategy to delay the officers’ promo-     The unusual strategy to delay the officers’ promo-
tions — intended to protect their careers — was        tions — intended to protect their accomplished ca-
devised last fall by Mark T. Esper, the defense sec-   reers — was devised last fall by Mark T. Esper, the
retary at the time, and Gen. Mark A. Milley, the       defense secretary at the time, and Gen. Mark A.
chairman of the Joint Chiefs of Staff.                 Milley, the chairman of the Joint Chiefs of Staff.
They both thought the two generals were excep-         They both thought the two generals were excep-
tional officers deserving of the commands. But un-     tional officers deserving of the commands. But un-
der Mr. Trump, they worried that any candidates        der Mr. Trump, they worried that any candidates
other than white men for jobs mostly held by white     other than white men for jobs mostly held by white
men might run into resistance once their nomina-       men might run into resistance once their nomina-
tions reached the White House.                         tions reached the White House.
Mr. Esper and General Milley feared that if they       Mr. Esper and General Milley feared that if they
even raised their names — which would have made        even broached the women’s names, Mr. Trump and
their nominations public — the Trump White House       some of his top aides would replace them with their
would have replaced them with its own candidates       own candidates before leaving office.
before leaving office.                                 So the Pentagon officials delayed their recommen-
                                                       dations until after the election in November, bet-
                                                       ting that if Joseph R. Biden Jr. won, then he and
                                                       his aides would be more supportive of the picks
                                                       than Mr. Trump, who had feuded with Mr. Esper
                                                       and General Milley and had a history of disparag-
                                                       ing women. They stuck to the plan even after Mr.
                                                       Trump fired Mr. Esper six days after the election.
                                                       “They were chosen because they were the best of-
                                                       ficers for the jobs, and I didn’t want their promo-
                                                       tions derailed because someone in the Trump White
                                                       House
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           Example 35: Memo by White House Adviser Warned of Pandemic in January
https://www.nytimes.com/2020/04/06/us/politics/navarro-warning-trump-coronavirus.html
Copyright number: TX 8-884-515 Effective Date: 2020-06-04
     Prompt (taken from article):
        A top White House adviser starkly warned Trump administration officials in late January that the
     coronavirus crisis could cost the United States trillions of dollars and put millions of Americans at risk
     of illness or death.
        The warning, written in a memo by Peter Navarro, President Trump’s trade adviser, is the highest-
     level alert known to have circulated inside the West Wing as the administration was taking its first
     substantive steps to confront a crisis that had already consumed China’s leaders and would go

Output from GPT-4:                                         Actual text from NYTimes:
on to upend life in Europe and the United States.          on to upend life in Europe and the United States.
“The lack of immune protection or an existing cure         “The lack of immune protection or an existing cure
or vaccine would leave Americans defenseless in the        or vaccine would leave Americans defenseless in the
case of a full-blown coronavirus outbreak on U.S.          case of a full-blown coronavirus outbreak on U.S.
soil,” Mr. Navarro’s memo said. “This lack of pro-         soil,” Mr. Navarro’s memo said. “This lack of pro-
tection elevates the risk of the coronavirus evolving      tection elevates the risk of the coronavirus evolving
into a full-blown pandemic, imperiling the lives of        into a full-blown pandemic, imperiling the lives of
millions of Americans.”                                    millions of Americans.”
Dated Jan. 29, it came during a period when Mr.            Dated Jan. 29, it came during a period when Mr.
Trump was playing down the risks to the United             Trump was playing down the risks to the United
States, and he would later go on to say that no one        States, and he would later go on to say that no one
could have predicted such a devastating outcome.           could have predicted such a devastating outcome.
Mr. Navarro said in the memo that the administra-          Mr. Navarro said in the memo that the administra-
tion faced a choice about how aggressive to be in          tion faced a choice about how aggressive to be in
containing an outbreak, saying the human and eco-          containing an outbreak, saying the human and eco-
nomic costs would be relatively low if it turned out       nomic costs would be relatively low if it turned out
to be a problem along the lines of a seasonal flu.         to be a problem along the lines of a seasonal flu.
But he went on to emphasize that the “risk of a            But he went on to emphasize that the “risk of a
worst-case pandemic scenario should not be over-           worst-case pandemic scenario should not be over-
looked” given the information coming from China.           looked” given the information coming from China.
In one worst-case scenario cited in the memo, more         In one worst-case scenario cited in the memo, more
than a half-million Americans could die, and,Mr.           than a half-million Americans could die.
Navarro wrote, the lack of protection elevates the         A second memo that Mr. Navarro wrote, dated
risk of the coronavirus evolving into a full-blown         Feb. 23, warned of an “increasing probability of
pandemic, imperiling the lives of millions of Amer-        a full-blown COVID-19 pandemic that could infect
icans. In a second, more dire scenario, he said, it        as many as 100 million Americans, with a loss of life
could kill nearly as many people as “influenza and         of as many as 1-2 million souls.”
pneumonia combined,” adding, “The loss of human            At that time, Mr. Trump was still downplaying the
life will be tragic and the economic loss to the nation
could be trillions of dollars.”
Mr. Navarro has been a prominent internal player
in the administration’s internal debates about the
virus, but his memo appears to have circulated at a
time when the president was still downplaying the
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES                47

   Example 36: White House Blocks FDA Rules That Would Push Vaccine Release Past
                                     Election
https://www.nytimes.com/2020/10/05/us/politics/coronavirus-vaccine-guidelines.html
Copyright number: TX 8-926-133 Effective Date: 2020-12-14
  Prompt (taken from article):
    [Read our live updates on President Trump’s coronavirus diagnosis.]
    WASHINGTON — Top White House officials are blocking strict new federal guidelines for the emer-
  gency release of a coronavirus vaccine, objecting to a provision that would almost certainly guarantee
  that no vaccine could be authorized before the election on Nov. 3, according to people familiar with the
  approval process.
    Facing a White House blockade, the Food and Drug Administration is seeking other avenues to ensure
  that vaccines meet the guidelines. That includes sharing the standards — perhaps as soon

Output from GPT-4:                                        Actual text from NYTimes:
as this week — with an outside advisory committee         as this week — with an outside advisory committee
of experts that is supposed to meet publicly before       of experts that is supposed to meet publicly before
any vaccine is authorized for emergency use. The          any vaccine is authorized for emergency use. The
hope is that the committee will enforce the guide-        hope is that the committee will enforce the guide-
lines, regardless of the White House’s reaction.          lines, regardless of the White House’s reaction.
The struggle over the guidelines is part of a months-     The struggle over the guidelines is part of a months-
long tug of war between the White House and federal       long tug of war between the White House and federal
agencies on the front lines of the pandemic response.     agencies on the front lines of the pandemic response.
White House officials have repeatedly intervened to       White House officials have repeatedly intervened to
shape decisions and public announcements in ways          shape decisions and public announcements in ways
that paint the administration’s response to the pan-      that paint the administration’s response to the pan-
demic in a positive light.                                demic in a positive light.
That pattern has dismayed a growing number of ca-         That pattern has dismayed a growing number of
reer officials and political appointees involved in the   career officials and political appointees involved in
administration’s fight against a virus that has killed    the administration’s fight against a virus that has
more than 210,000 people in the United States.            claimed more than 209,000 lives in the United
The vaccine guidelines carry special significance: By     States.
refusing to allow the F.D.A. to release them, the         The vaccine guidelines carry special significance: By
White House is undercutting the government’s effort       refusing to allow the Food and Drug Administration
to reassure the public that any vaccine will be safe      to release them, the White House is undercutting
and effective, health experts warn.                       the government’s effort to reassure the public that
“The public must have full faith in the scientific pro-   any vaccine will be safe and effective, health experts
cess and the rigor of F.D.A.’s regulatory oversight       fear.
if we are to end the pandemic,” the biotech indus-        “The public must have full faith in the scientific pro-
try’s trade association pleaded on Thursday, in a         cess and the rigor of F.D.A.’s regulatory oversight if
letter to President Trump’s health secretary, Alex        we are to end the pandemic,” the biotech industry’s
M. Azar II.                                               trade association pleaded on Thursday, in a letter to
                                                          President Trump’s health secretary, Alex M. Azar II
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                        Example 37: Air Visitors to US Face VirusFree Order
https://www.nytimes.com/2021/01/12/health/us-to-require-negative-virus-tests-from-international-
air-passengers.html
Copyright number: TX 8-954-047 Effective Date: 2021-03-22
     Prompt (taken from article):
        Before boarding their flights, all international passengers headed to the United States will first need
     to show proof of a negative coronavirus test, according to a new federal policy going into effect on Jan.
     26.
        “Testing does not eliminate all risk,” Dr. Robert R. Redfield, the director of the Centers for Disease
     Control and Prevention, said in a statement describing the new policy.
        “But when combined with a period of staying at home and everyday precautions like wearing masks
     and social distancing, it can make travel safer, healthier, and more responsible by reducing spread on
     planes, in airports, and at destinations.”
        Dr. Redfield is expected to sign the order detailing the new rules on Tuesday.
        The new policy requires all air

Output from GPT-4:                                         Actual text from NYTimes:
passengers, regardless of vaccination status, to get a     passengers, regardless of vaccination status, to get a
test for current infection within the three days be-       test for current infection within the three days be-
fore their flight to the United States departs, and to     fore their flight to the United States departs, and to
provide written documentation of their test results        provide written documentation of their test results
or proof of having recovered from Covid-19.                or proof of having recovered from Covid-19.
Proof of immunization will not be sufficient, because      Proof of immunization will not be sufficient, because
the vaccines have only been shown to prevent serious       the vaccines have only been shown to prevent serious
illness, said Jason McDonald, a spokesman for the          illness, said Jason McDonald, a spokesman for the
C.D.C. Vaccinated people may still become infected,        C.D.C. Vaccinated people may still become infected,
in theory, and transmit the virus on a flight.             in theory, and transmit the virus on a flight.
The agency will not require further testing in the         The agency will not require further testing in the
three months after a positive test, so long as the         three months after a positive test, so long as the
traveler has not had any symptoms. In this situa-          traveler has not had any symptoms. In this situa-
tion, a passenger may travel with documentation of         tion, a passenger may travel with documentation of
the positive test result and a letter from a health        the positive test result and a letter from a health
care provider or a public health official stating that     care provider or a public health official stating that
the traveler now                                           the traveler now
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                 CONTENT FROM THE NEW YORK TIMES               49

               Example 38: Shortage of Lab Monkeys Hinders Hunt for Vaccines
https://www.nytimes.com/2021/02/23/business/covid-vaccine-monkeys.html
Copyright number: TX 8-962-600 Effective Date: 2021-04-06
  Prompt (taken from article):
    Mark Lewis was desperate to find

Output from GPT-4:                                       Actual text from NYTimes:
monkeys. Millions of human lives, all over the world,    monkeys. Millions of human lives, all over the world,
were at risk.                                            were at stake.
Mr. Lewis, the chief executive of Bioqual, was re-       Mr. Lewis, the chief executive of Bioqual, was re-
sponsible for providing lab monkeys to pharmaceuti-      sponsible for providing lab monkeys to pharmaceuti-
cal companies like Moderna and Johnson & Johnson,        cal companies like Moderna and Johnson & Johnson,
which needed the animals to develop their Covid-19       which needed the animals to develop their Covid-19
vaccines. But as the coronavirus swept across the        vaccines. But as the coronavirus swept across the
United States last year, there were few of the spe-      United States last year, there were few of the spe-
cially bred monkeys to be found anywhere in the          cially bred monkeys to be found anywhere in the
world.                                                   world.
Unable to furnish scientists with monkeys, which         Unable to furnish scientists with monkeys, which
can cost more than $10,000 each, about a dozen           can cost more than $10,000 each, about a dozen
companies were left scrambling for research animals      companies were left scrambling for research animals
at the height of the pandemic.                           at the height of the pandemic.
“It’s been nuts, absolutely nuts,” Mr. Lewis said.       “We lost work because we couldn’t supply the ani-
The world needs monkeys, whose DNA closely re-           mals in the time frame,” Mr. Lewis said.
sembles that of humans, to develop Covid-19 vac-         The world needs monkeys, whose DNA closely re-
cines. But a global shortage, resulting from the un-     sembles that of humans, to develop Covid-19 vac-
expected demand caused by the pandemic, has been         cines. But a global shortage, resulting from the un-
a major obstacle to research. That has delayed some      expected demand caused by the pandemic, has been
drug trials, according to the leading experts on lab     exacerbated by a recent ban on the sale of wildlife
animal supply chains.                                    from China, the leading supplier of the lab animals.
The latest shortage has revived talk about creating      The latest shortage has revived talk about creating
a strategic monkey reserve in the United States, an      a strategic monkey reserve in the United States, an
emergency stockpile similar to those maintained by       emergency stockpile similar to those maintained by
the government for oil and grain.                        the government for oil and grain.
As new variants of the coronavirus threaten to make      As new variants of the coronavirus threaten to make
the current batch of vaccines obsolete, scientists are   the current batch of vaccines obsolete, scientists are
racing to find new sources of monkeys, a                 racing to find new sources of monkeys, a
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           Example 39: Study Finds a Link Between Air Pollution And Virus Deaths
https://www.nytimes.com/2020/04/07/climate/air-pollution-coronavirus-covid.html
Copyright number: TX 8-884-515 Effective Date: 2020-06-04
     Prompt (taken from article):
       WASHINGTON — Coronavirus patients in areas that had high levels of air pollution before the
     pandemic are more likely to die

Output from GPT-4:                                        Actual text from NYTimes:
from the infection than those in cleaner parts of the     from the infection than patients in cleaner parts of
country, according to a new nationwide study that         the country, according to a new nationwide study
offers the first clear link between long-term exposure    that offers the first clear link between long-term ex-
to pollution and Covid-19 death rates.                    posure to pollution and Covid-19 death rates.
In an analysis of 3,080 counties in the United States,    In an analysis of 3,080 counties in the United States,
researchers at the Harvard University T.H. Chan           researchers at the Harvard University T.H. Chan
School of Public Health found that higher levels of       School of Public Health found that higher levels of
the tiny, dangerous particles in air known as PM 2.5      the tiny, dangerous particles in air known as PM 2.5
were associated with higher death rates from the dis-     were associated with higher death rates from the dis-
ease.                                                     ease.
For weeks, public health officials have surmised a        For weeks, public health officials have surmised a
link between dirty air and death or serious illness       link between dirty air and death or serious illness
from Covid-19, which is caused by the coronavirus.        from Covid-19, which is caused by the coronavirus.
The Harvard analysis is the first nationwide study        The Harvard analysis is the first nationwide study
to show a statistical link, revealing a “large overlap”   to show a statistical link, revealing a “large overlap”
between Covid-19 deaths and other diseases asso-          between Covid-19 deaths and other diseases asso-
ciated with long-term exposure to fine particulate        ciated with long-term exposure to fine particulate
matter.                                                   matter.
“The results of this paper suggest that long-term         “The results of this paper suggest that long-term
exposure to air pollution increases vulnerability to      exposure to air pollution increases vulnerability to
experiencing the most severe Covid-19 outcomes,”          experiencing the most severe Covid-19 outcomes,”
the authors wrote.                                        the authors wrote.
The paper found that if Manhattan had lowered its         The paper found that if Manhattan had lowered its
average particulate matter level by just 1 microgram      average particulate matter level by just a single unit,
per cubic meter over the past 20 years, the bor-          or one microgram per cubic meter, over the past 20
ough would most likely have seen 248 fewer Covid-19       years, the borough would most likely have seen 248
deaths by this point in the outbreak.                     fewer Covid-19 deaths by this point in the outbreak.
The research has not been peer-reviewed and is sub-       Over all, the research could have significant impli-
ject to revisions, but it offers a powerful new argu-     cations for how
ment for reducing industrial emissions and other air
pollution, especially in poor communities and those
with large minority populations. These groups are
more likely to live in polluted areas and are among
the most vulnerable to the virus.
The study also could have significant implications
for how
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                 CONTENT FROM THE NEW YORK TIMES               51

               Example 40: Wearing Masks Not Just a Selfless Act Experts Say
https://www.nytimes.com/2020/07/27/health/coronavirus-mask-protection.html
Copyright number: TX 8-900-152 Effective Date: 2020-09-02
  Prompt (taken from article):
     Researchers have long known that masks can prevent people from spreading airway germs to oth-
  ers — findings that have driven much of the conversation around these crucial accessories during the
  coronavirus pandemic.
     But now, as cases continue to rise across the country, experts are

Output from GPT-4:                                       Actual text from NYTimes:
pointing to an array of evidence suggesting that         pointing to an array of evidence suggesting that
masks also protect the people wearing them, lessen-      masks also protect the people wearing them, lessen-
ing the severity of symptoms, or in some instances,      ing the severity of symptoms, or in some instances,
staving off infection entirely.                          staving off infection entirely.
Different kinds of masks “block virus to a different     Different kinds of masks “block virus to a different
degree, but they all block the virus from getting in,”   degree, but they all block the virus from getting in,”
said Dr. Monica Gandhi, an infectious disease physi-     said Dr. Monica Gandhi, an infectious disease physi-
cian at the University of California, San Francisco.     cian at the University of California, San Francisco.
If any virus particles do breach these barriers, she     If any virus particles do breach these barriers, she
said, the disease might still be milder.                 said, the disease might still be milder.
Dr. Gandhi and her colleagues make this argument         Dr. Gandhi and her colleagues make this argument
in a new paper slated to be published in the Journal     in a new paper slated to be published in the Journal
of General Internal Medicine. Drawing from animal        of General Internal Medicine. Drawing from animal
experiments and observations of various events dur-      experiments and observations of various events dur-
ing the pandemic, they contend that people wearing       ing the pandemic, they contend that people wearing
face coverings will take in fewer coronavirus parti-     face coverings will take in fewer coronavirus parti-
cles, making it easier for their immune systems to       cles, making it easier for their immune systems to
bring any interlopers to                                 bring any interlopers to
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Example 41: A Vaccine Protects You but What About Others Thats Where Masks Enter
https://www.nytimes.com/2020/12/08/health/covid-vaccine-mask.html
Copyright number: TX 8-940-939 Effective Date: 2021-02-03
     Prompt (taken from article):
        The new Covid-19 vaccines from Pfizer and Moderna seem to be remarkably good at preventing
     serious illness. But it’s unclear how well they will

Output from GPT-4:                                        Actual text from NYTimes:
curb the spread of the coronavirus.                       curb the spread of the coronavirus.
That’s because the Pfizer and Moderna trials              That’s because the Pfizer and Moderna trials
tracked only how many vaccinated people became            tracked only how many vaccinated people became
sick with Covid-19. That leaves open the possibility      sick with Covid-19. That leaves open the possibility
that some vaccinated people get infected without de-      that some vaccinated people get infected without de-
veloping symptoms, and could then silently transmit       veloping symptoms, and could then silently transmit
the virus — especially if they come in close contact      the virus — especially if they come in close contact
with others or stop wearing masks.                        with others or stop wearing masks.
If vaccinated people are silent spreaders of the virus,   If vaccinated people are silent spreaders of the virus,
they may keep it circulating in their communities,        they may keep it circulating in their communities,
putting unvaccinated people at risk.                      putting unvaccinated people at risk.
“A lot of people are thinking that once they get vac-     “A lot of people are thinking that once they get vac-
cinated, they’re not going to have to wear masks          cinated, they’re not going to have to wear masks
anymore,” said Michal Tal, an immunologist at             anymore,” said Michal Tal, an immunologist at
Stanford University. “It’s really going to be criti-      Stanford University. “It’s really going to be criti-
cal for them to know if they have to keep wearing         cal for them to know if they have to keep wearing
masks, because they could still be contagious.”           masks, because they could still be contagious.”
In                                                        In
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES                53

       Example 42: US Adds 6 Countries Including Nigeria to Restricted Travel List
https://www.nytimes.com/2020/01/31/us/politics/trump-travel-ban.html
Copyright number: TX 8-863-424 Effective Date: 2020-04-06
  Prompt (taken from article):
    WASHINGTON — President Trump on Friday added

Output from GPT-4:                                        Actual text from NYTimes:
six countries to his list of nations facing stringent     six countries to his list of nations facing stringent
travel restrictions, a move that will virtually block     travel restrictions, a move that will virtually block
immigration from Africa’s most populous nation,           immigration from Africa’s most populous nation,
Nigeria, and from Myanmar, where the Muslim mi-           Nigeria, and from Myanmar, where the Muslim mi-
nority is fleeing genocide.                               nority is fleeing genocide.
Beside Nigeria, three other African countries, Er-        Beside Nigeria, three other African countries, Er-
itrea, Sudan and Tanzania, will face varying degrees      itrea, Sudan and Tanzania, will face varying degrees
of restrictions, as will one former Soviet state, Kyr-    of restrictions, as will one former Soviet state, Kyr-
gyzstan. Myanmar’s Rohingya Muslims could also            gyzstan. Myanmar’s Rohingya Muslims could also
be caught in the crossfire.                               be caught in the crossfire.
All six countries have substantial Muslim popula-         All six countries have substantial Muslim popula-
tions. The total number of countries now on the           tions. The total number of countries now on the
restricted travel list stands at 13.                      restricted travel list stands at 13.
Immigrant visas, issued to those seeking to live in       Immigrant visas, issued to those seeking to live in
the United States, will be banned for Nigeria, Myan-      the United States, will be banned for Nigeria, Myan-
mar, Eritrea and Kyrgyzstan. The ban will prevent         mar, Eritrea and Kyrgyzstan. The ban will also
immigrants from Sudan and Tanzania from moving            prevent immigrants from Sudan and Tanzania from
to the United States through the diversity visa lot-      moving to the United States through the diversity
tery, which grants green cards to as many as 50,000       visa lottery, which grants green cards to as many as
people a year.                                            50,000 people a year.
The proclamation, which President Trump said was          The proclamation will take effect on Feb. 22. Immi-
issued to protect American security,will take effect      grants who obtain visas before then will still be able
on Feb. 22. It is likely to infuriate foreign govern-     to travel to the United States, officials said. Non-
ments and human rights groups, who have accused           immigrant visas, including those for students and
the Trump administration of discriminating against        certain temporary workers, as well as visas reserved
Muslims and stoking fear among its immigrant com-         for potential employees with specialized skills, will
munities.                                                 not be affected by the ban.
The administration has argued that the ban, en-           Immigrants will be able to apply for waivers from
acted in 2017 to restrict travel from Muslim-             the restrictions.      The administration has said
majority countries, is necessary to ensure that coun-     waivers are issued to those who would experience un-
tries satisfy security requirements for travel into the   due hardship if denied entry into the United States,
United States, or face restrictions until they do.         although the process has been criticized as opaque.
                                                          The administration has argued that the ban, en-
                                                          acted in 2017 to restrict travel from Muslim-
                                                          majority countries, is necessary to ensure that coun-
                                                          tries satisfy security requirements for travel into the
                                                          United States, or face restrictions until they do.
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                  Example 43: Variant Seen In Oregon Has Mutation Like in UK
https://www.nytimes.com/2021/03/05/health/virus-oregon-variant.html
Copyright number: TX 8-977-327 Effective Date: 2021-05-04
     Prompt (taken from article):
       Scientists in Oregon have spotted a homegrown version of

Output from GPT-4:                                       Actual text from NYTimes:
a fast-spreading variant of the coronavirus that first   a fast-spreading variant of the coronavirus that first
surfaced in Britain — but now it’s combined with a       surfaced in Britain — but now combined with a mu-
mutation that may make the variant less susceptible      tation that may make the variant less susceptible to
to vaccines.                                             vaccines.
The researchers have so far found just a single case     The researchers have so far found just a single case
of this formidable combination, but genetic analysis     of this formidable combination, but genetic analysis
suggested that the variant had been acquired in the      suggested that the variant had been acquired in the
community and did not arise in the patient.              community and did not arise in the patient.
“We didn’t import this from elsewhere in the world       “We didn’t import this from elsewhere in the world
— it occurred spontaneously,” said Brian O’Roak, a       — it occurred spontaneously,” said Brian O’Roak, a
geneticist at Oregon Health and Science University       geneticist at Oregon Health and Science University
who led the work. He and his colleagues participate      who led the work. He and his colleagues participate
in the Centers for Disease Control and Prevention’s      in the Centers for Disease Control and Prevention’s
effort to track variants, and they have deposited        effort to track variants, and they have deposited
their results in databases shared by scientists.         their results in databases shared by scientists.
The variant originally identified in Britain, known      The variant originally identified in Britain, called
as B.1.1.7, has been spreading rapidly across the        B.1.1.7, has been spreading rapidly across the
United States, and accounts for at least 2,500 cases     United States, and accounts for at least 2,500 cases
in 46 states. This form of the virus transmits more      in 46 states. This form of the virus is both more
effectively than other variants and is thought to be     contagious, and more deadly, than the original ver-
about 50 percent more transmissible.                     sion, and is expected to account for most infections
The new version that surfaced in Oregon has the          in America in a few weeks.
same set of mutations as the B.1.1.7 variant, but also   The new version that surfaced in Oregon has the
a mutation — known as E484K, or “Eek” — seen             same backbone, but also a mutation — E484K, or
in variants of the virus circulating in South Africa,    “Eek” — seen in variants of the virus circulating in
Brazil and New York City.                                South Africa, Brazil and New York City.
Lab studies and clinical trials in South Africa indi-    Lab studies and clinical trials in South Africa in-
cate that the Eek mutation                               dicate that the Eek mutation renders the current
                                                         vaccines less effective by blunting the body’s im-
                                                         mune response. (The vaccines still work, but the
                                                         findings are worrying enough that Pfizer-BioNTech
                                                         and Moderna have begun testing new versions of
                                                         their vaccines designed to defeat the variant found
                                                         in South Africa.)
                                                         The B.1.1.7 variant
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   Example 44: 21 Men Accuse a Longtime Republican Operative of Online Harassment
https://www.nytimes.com/2021/01/31/us/politics/john-weaver-lincoln-project-harassment.html
Copyright number: TX 8-962-600 Effective Date: 2021-04-06
  Prompt (taken from article):
    John Weaver, a longtime Republican strategist and co-founder of the prominent anti-Trump group
  the Lincoln Project, has for years sent unsolicited and sexually provocative messages online to young
  men, often while suggesting he could help them get work in politics, according to interviews with 21
  men who received them.
    His solicitations included sending messages to a 14-year-old,

Output from GPT-4:                                       Actual text from NYTimes:
asking questions about his body while he was still       asking questions about his body while he was still
in high school and then more pointed ones after he       in high school and then more pointed ones after he
turned 18.                                               turned 18.
These messages from Mr. Weaver, 61, who helped           These messages from Mr. Weaver, 61, who helped
run John McCain’s presidential campaigns in 2000         run John McCain’s presidential campaigns in 2000
and 2008 and John Kasich’s in 2016, did not lead to      and 2008 and John Kasich’s in 2016, did not lead to
physical encounters except in one consensual case,       physical encounters except in one consensual case,
and none of the men accused Mr. Weaver of unlaw-         and none of the men accused Mr. Weaver of unlaw-
ful conduct. Rather, many of them described feeling      ful conduct. Rather, many of them described feeling
preyed upon by an influential older man in the field     preyed upon by an influential older man in the field
in which they wanted to work, and believing they         in which they wanted to work, and believing they
had to engage with his lewd messages or lose a pro-      had to engage with his repeated messaging or lose a
fessional opportunity.                                   professional opportunity.
Mr. Weaver sent overt sexual solicitations to at least   Mr. Weaver sent overt sexual solicitations to at least
10 of the men and, in the most explicit messages,        10 of the men and, in the most explicit messages,
offered professional and personal assistance in ex-      offered professional and personal assistance in ex-
change for sex. He told one young man he would           change for sex. He told one man he would “spoil
“spoil you when we see each other,” according to         you when we see each other,” according to a mes-
messages reviewed by The New York Times.                 sage reviewed by The New York Times.
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                    Example 45: 135 Million Face Starvation That Could Double
https://www.nytimes.com/2020/04/22/world/africa/coronavirus-hunger-crisis.html
Copyright number: TX 8-884-515 Effective Date: 2020-06-04
     Prompt (taken from article):
        NAIROBI, Kenya — In the largest slum in Kenya’s capital, people desperate to eat set off a stampede
     during a recent giveaway of flour and cooking oil, leaving scores injured and two people dead.
        In India, thousands of workers are lining up twice a day for bread and fried vegetables to keep hunger
     at bay.
        And across Colombia, poor households are hanging red clothing and flags from their windows and
     balconies as a sign that they are hungry.
        “We don’t have any money, and now we need to survive,” said Pauline Karushi, who lost her job at a
     jewelry business in Nairobi, and lives in two rooms with her child and four other relatives. “That means
     not eating much.”
        The coronavirus pandemic has brought hunger to millions of people around the world. National
     lockdowns and social distancing measures are drying up work and incomes, and are likely to disrupt
     agricultural production and supply routes — leaving millions to worry how they will get
      Case 1:23-cv-11195-SHS-OTW                 Document 1-68        Filed 12/27/23      Page 58 of 127
        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                   CONTENT FROM THE NEW YORK TIMES              57

Output from GPT-4:                                          Actual text from NYTimes:
enough to eat.                                              enough to eat.
Already, 135 million people had been facing acute           The coronavirus has sometimes been called an equal-
food shortages, but now with the pandemic, 130              izer because it has sickened both rich and poor, but
million more could go hungry in 2020, said Arif Hu-         when it comes to food, the commonality ends. It
sain, chief economist at the World Food Program,            is poor people, including large segments of poorer
a United Nations agency. Altogether, an estimated           nations, who are now going hungry and facing the
265 million people could be pushed to the brink of          prospect of starving.
starvation by year’s end.                                   “The coronavirus has been anything but a great
“We’ve never seen anything like this before,” Mr.           equalizer,” said Asha Jaffar, a volunteer who
Husain said. “It wasn’t a pretty picture to begin           brought food to families in the Nairobi slum of Kib-
with, but this makes it truly unprecedented and un-         era after the fatal stampede. “It’s been the great
charted territory.”                                         revealer, pulling the curtain back on the class di-
This hunger crisis, experts say, is global and caused       vide and exposing how deeply unequal this country
by a multitude of factors linked to the coronavirus         is.”
pandemic and the ensuing interruption of the eco-           Already, 135 million people had been facing acute
nomic order: the sudden loss in income for countless        food shortages, but now with the pandemic, 130
millions who were already living hand-to-mouth; the         million more could go hungry in 2020, said Arif Hu-
collapse in oil prices; widespread shortages of hard        sain, chief economist at the World Food Program,
currency from tourism drying up; overseas work-             a United Nations agency. Altogether, an estimated
ers not having earnings to send home; and ongoing           265 million people could be pushed to the brink of
problems like climate change, violence, population          starvation by year’s end.
dislocations and humanitarian disasters.                    “We’ve never seen anything like this before,” Mr.
Already, from Honduras to South Africa to India,            Husain said. “It wasn’t a pretty picture to begin
protests and looting have broken out amid frus-             with, but this makes it truly unprecedented and un-
trations from lockdowns and worries about hunger.           charted territory.”
With classes canceled, more than 368 million chil-          The world has experienced severe hunger crises be-
dren have lost the school meals they depended on.           fore, but those were regional and caused by one fac-
For those forced to stay home, job loss has been the        tor or another — extreme weather, economic down-
price of safety.                                            turns, wars or political instability.
“COVID-19 is potentially catastrophic for millions          This hunger crisis, experts say, is global and caused
who are already hanging by a thread,” said Dr.Arif          by a multitude of factors linked to the coronavirus
Husain, chief economist at the World Food Program.          pandemic and the ensuing interruption of the eco-
“It is a hammer blow for millions more who can only         nomic order: the sudden loss in income for countless
eat if they earn a wage. Lockdowns and global eco-          millions who were already living hand-to-mouth; the
nomic recession have already decimated their nest           collapse in oil prices; widespread shortages of hard
eggs. It only gets worse from here.”                        currency from tourism drying up; overseas work-
The effect is so extensive,the World Food Program           ers not having earnings to send home; and ongoing
says, that it has had to set a high bar for where it will   problems like climate change, violence, population
be able to intervene. For the first time, the agency        dislocations and humanitarian disasters.
is taking into account not just conflict and disaster,      Already, from Honduras to South Africa to India,
but also “economic exposure” — the places where a           protests and looting have broken out amid frus-
local shutdown and the global recession combine to          trations from lockdowns and worries about hunger.
starve a country of affordable food.                        With classes shut down, over 368 million children
The world has experienced severe hunger crises be-          have lost the
fore, but those were regional and caused by one fac-
tor or another — extreme weather, economic down-
turns, wars or political in
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                     Example 46: Rise in Cases Suggests Epidemic Is Pandemic
https://www.nytimes.com/2020/02/02/health/coronavirus-pandemic-china.html
Copyright number: TX 8-863-424 Effective Date: 2020-04-06
     Prompt (taken from article):
       The Wuhan coronavirus spreading from China

Output from GPT-4:                                      Actual text from NYTimes:
is now likely to become a pandemic that circles the     is now likely to become a pandemic that circles the
globe, according to many of the world’s leading in-     globe, according to many of the world’s leading in-
fectious disease experts.                               fectious disease experts.
The prospect is daunting. A pandemic — an on-           The prospect is daunting. A pandemic — an on-
going epidemic on two or more continents — may          going epidemic on two or more continents — may
well have global consequences, despite the extraor-     well have global consequences, despite the extraor-
dinary travel restrictions and quarantines now im-      dinary travel restrictions and quarantines now im-
posed by China and other countries, including the       posed by China and other countries, including the
United States.                                          United States.
Scientists do not yet know how lethal the new coron-    Scientists do not yet know how lethal the new coron-
avirus is, however, so there is uncertainty about how   avirus is, however, so there is uncertainty about how
much damage a pandemic might cause. But there           much damage a pandemic might cause. But there
is growing consensus that the pathogen is readily       is growing consensus that the pathogen is readily
transmitted between humans.                             transmitted between humans.
The Wuhan coronavirus is spreading more like in-        The Wuhan coronavirus is spreading more like in-
fluenza, which is highly transmissible, than like its   fluenza, which is highly transmissible, than like its
slow-moving viral cousins, SARS and MERS, scien-        slow-moving viral cousins, SARS and MERS, scien-
tists have                                              tists have
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                 Example 47: Warning of a Pandemic Last Year Was Unheeded
https://www.nytimes.com/2020/03/19/us/politics/trump-coronavirus-outbreak.html
Copyright number: TX 8-875-175 Effective Date: 2020-05-04
  Prompt (taken from article):
     WASHINGTON — The outbreak of the respiratory virus began in China and was quickly spread
  around the world by air travelers, who ran high fevers. In the United States, it was first detected in
  Chicago, and 47 days later, the World Health Organization declared a pandemic. By then it was too
  late: 110 million Americans were expected to become ill, leading to 7.7 million hospitalized and 586,000
  dead.
     That scenario, code-named “Crimson Contagion” and imagining an influenza pandemic, was simulated
  by the Trump administration’s Department of Health and Human Services in a series of exercises that
  ran from last January to August.
     The simulation’s sobering results — contained in a draft report dated October 2019 that has not
  previously been reported — drove home just how underfunded, underprepared and uncoordinated the
  federal government would be for a life-or-death battle with a virus for which no treatment existed.
     The draft report, marked “not to be disclosed,” laid out in stark detail repeated cases

Output from GPT-4:                                       Actual text from NYTimes:
of ”confusion” in the exercise. Federal agencies jock-   of “confusion” in the exercise. Federal agencies jock-
eyed over who was in charge. State officials and hos-    eyed over who was in charge. State officials and hos-
pitals struggled to figure out what kind of equipment    pitals struggled to figure out what kind of equipment
was stockpiled or available. Cities and states went      was stockpiled or available. Cities and states went
their own ways on school closings.                       their own ways on school closings.
Many of the potentially deadly consequences of a         Many of the potentially deadly consequences of a
failure to address the shortcomings are now playing      failure to address the shortcomings are now playing
out in all-too-real fashion across the country. And      out in all-too-real fashion across the country. And
it was hardly the first warning for the nation’s lead-   it was hardly the first warning for the nation’s lead-
ers. Three times over the past four years the U.S.       ers. Three times over the past four years the U.S.
government, across two administrations, had grap-        government, across two administrations, had grap-
pled in depth with what a pandemic would look like,      pled in depth with what a pandemic would look like,
identifying likely shortcomings and in some cases        identifying likely shortcomings and in some cases
recommending specific action.                            recommending specific action.
In 2016, the Obama administration produced a com-        In 2016, the Obama administration produced a com-
prehensive report on the lessons learned by the gov-     prehensive report on the lessons learned by the gov-
ernment from battling Ebola. In January 2017, out-       ernment from battling Ebola. In January 2017, out-
going Obama administration officials ran an exten-       going Obama administration officials ran an exten-
sive exercise on responding to a pandemic for incom-     sive exercise on responding to a pandemic for incom-
ing senior officials of the Trump administration.        ing senior officials of the Trump administration.
The full story of why the Trump administration           The full story of the Trump administration’s re-
failed to heed these warnings is still emerging, and     sponse to the coronavirus
will be the subject of a commission, if Congress gets
its way. But what is clear is that the United States’
response to the coronavirus
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             Example 48: Pope in Break From Doctrine Backs SameSex Civil Unions
https://www.nytimes.com/2020/10/21/world/europe/pope-francis-same-sex-civil-unions.html
Copyright number: TX 8-926-133 Effective Date: 2020-12-14
     Prompt (taken from article):
       ROME — Pope Francis expressed support for same-sex civil unions in remarks revealed in a

Output from GPT-4:                                    Actual text from NYTimes:
documentary film that premiered on Wednesday, a       documentary film that premiered on Wednesday, a
significant break from his predecessors that staked   significant break from his predecessors that staked
out new ground for the church in its recognition of   out new ground for the church in its recognition of
gay people.                                           gay people.
The remarks, coming from the leader of the Roman      The remarks, coming from the leader of the Roman
Catholic Church, had the potential to shift debates   Catholic Church, had the potential to shift debates
about the legal status of same-sex couples in na-     about the legal status of same-sex couples in na-
tions around the globe and unsettle bishops worried   tions around the globe and unsettle bishops worried
that the unions threaten what the church considers    that the unions threaten what the church considers
traditional marriage — between one man and one        traditional marriage — between one man and one
woman.                                                woman.
“What we have to create is a civil union law. That    “What we have to create is a civil union law. That
way they are legally covered,” Francis said in the    way they are legally covered,” Francis said in the
documentary, “Francesco,” which premiered at the      documentary, “Francesco,” which debuted at the
Rome Film Festival, reiterating his view that gay     Rome Film Festival, reiterating his view that gay
people are children of God. “I stood up for           people are children of God. “I stood up for
     Case 1:23-cv-11195-SHS-OTW                Document 1-68         Filed 12/27/23      Page 62 of 127
       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES                61

              Example 49: President to Push a 6 Trillion Plan Aimed at Growth
https://www.nytimes.com/2021/05/27/business/economy/biden-plan.html
Copyright number: TX 8-994-252 Effective Date: 2021-07-07
  Prompt (taken from article):
    WASHINGTON — President Biden will propose a $6 trillion budget on Friday that would take the
  United States to its highest sustained levels of federal spending since World War II as he looks

Output from GPT-4:                                        Actual text from NYTimes:
to fund a sweeping economic agenda that includes          to fund a sweeping economic agenda that includes
new investments in education, health care and in-         large new investments in education, transportation
frastructure.                                             and fighting climate change.
The budget proposal, the first of Mr. Biden’s presi-      Documents obtained by The New York Times show
dency, calls for the federal government to spend $6       that the budget request, the first of Mr. Biden’s
trillion in the 2022 fiscal year, and for total spend-    presidency, calls for total spending to rise to $8.2
ing to rise to $8.2 trillion by 2031. The growth is       trillion by 2031, with deficits running above $1.3
driven by Mr. Biden’s two-part agenda to upgrade          trillion throughout the next decade. The growth is
the nation’s infrastructure and substantially expand      driven by Mr. Biden’s two-part agenda to upgrade
the social safety net, contained in his American Jobs     the nation’s infrastructure and substantially expand
Plan and American Families Plan, along with other         the social safety net, contained in his American Jobs
planned increases in discretionary spending.              Plan and American Families Plan, along with other
The proposal shows the sweep of Mr. Biden’s ambi-         planned increases in discretionary spending.
tions to wield government power to help more Amer-        The proposal for the 2022 fiscal year and ensuing
icans attain the comforts of a middle-class life and to   decade shows the sweep of Mr. Biden’s ambitions
lift U.S. industry to better compete globally in an       to wield government power to help more Americans
economy the administration believes will be domi-         attain the comforts of a middle-class life and to lift
nated by a race to reduce energy emissions and com-       U.S. industry to better compete globally.
bat climate change.                                       The levels of taxation and spending in Mr. Biden’s
Mr. Biden’s plan to fund his agenda by raising taxes      plans would expand the federal fiscal footprint to
on corporations and high earners would begin to           levels rarely seen in the postwar era to fund invest-
shrink budget deficits in the 2030s. Administration       ments that his administration says are crucial to
officials have said the jobs and families plans would     keeping America competitive. That includes money
be fully offset by tax increases over the course of 15    for roads, water pipes, broadband internet, electric
years, which would then start to reduce the deficit.      vehicle charging stations and advanced manufactur-
The levels of taxation and spending in Mr. Biden’s        ing research. But it also envisions funding for afford-
plans would expand the federal fiscal footprint to        able child care, universal prekindergarten and a na-
levels rarely seen in the postwar era,to fund invest-     tional paid leave program — initiatives that Repub-
ments that his administration says are crucial to         licans have balked at bankrolling. Military spending
keeping America competitive. That includes money          would also grow, though it would decline as a share
for roads, water pipes, broadband internet, electric      of the economy.
vehicle charging stations and advanced manufactur-        “Now is the time to build the foundation that we’ve
ing research. It also envisions funding for affordable    laid, to make bold investments in our families, in
child care, universal prekindergarten,a national paid     our communities, in our nation,” Mr. Biden told a
leave program and a host of other initiatives.            crowd in Cleveland on Thursday. “We know from
The budget is simply a proposal and it is up to           history that these kinds of investments raise both
Congress to decide on spending levels. But with           the floor and the ceiling of an economy for every-
Democrats in control of both chambers,Mr. Biden           body.”
                                                          Mr. Biden plans to finance his agenda by raising
                                                          taxes on corporations and high earners, and the doc-
                                                          uments show budget deficits shrinking in the 2030s.
                                                          Administration officials have said the jobs and fam-
                                                          ilies plans would be fully offset by tax increases over
                                                          the course of 15 years, which
        Case 1:23-cv-11195-SHS-OTW           Document 1-68        Filed 12/27/23      Page 63 of 127
62           ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

     Example 50: With Record Deaths and a New Variant Brazil Puts the World on Edge
https://www.nytimes.com/2021/03/03/world/americas/brazil-covid-variant.html
Copyright number: TX 8-977-327 Effective Date: 2021-05-04
     Prompt (taken from article):
       RIO DE JANEIRO — Covid-19 has already left a trail of death and despair in

Output from GPT-4:                                      Actual text from NYTimes:
Brazil, one of the worst in the world. Now, a year      Brazil, one of the worst in the world. Now, a year
into the pandemic, the country is setting another       into the pandemic, the country is setting another
wrenching record.                                       wrenching record.
No other nation that experienced such a major out-      No other nation that experienced such a major out-
break is still grappling with record-setting death      break is still grappling with record-setting death
tolls and a health care system on the brink of col-     tolls and a health care system on the brink of col-
lapse. Many other hard-hit nations are, instead, tak-   lapse. Many other hard-hit nations are, instead, tak-
ing tentative steps toward a semblance of normalcy.     ing tentative steps toward a semblance of normalcy.
But Brazil is battling a more contagious variant that   But Brazil is battling a more contagious variant that
has trampled one major city and is spreading to oth-    has trampled one major city and is spreading to oth-
ers, even as Brazilians toss away precautionary mea-    ers, even as Brazilians toss away precautionary mea-
sures that could keep them safe.                        sures that could keep them safe.
On Tuesday, Brazil recorded more than 1,700 Covid-      On Tuesday, Brazil recorded more than 1,700 Covid-
19 deaths, the highest single-day toll of the           19 deaths, the highest single-day toll of the
     Case 1:23-cv-11195-SHS-OTW                Document 1-68        Filed 12/27/23       Page 64 of 127
       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES               63

       Example 51: Breaches by Russians Pointing To Election Threat Officials Say
https://www.nytimes.com/2020/10/22/us/politics/russia-election-interference-hacks.html
Copyright number: TX 8-926-133 Effective Date: 2020-12-14
  Prompt (taken from article):
    WASHINGTON — While senior Trump administration officials said this week that Iran has been
  actively interfering in the presidential election, many intelligence officials said they remained far more
  concerned about Russia, which in recent days has hacked into state and local computer

Output from GPT-4:                                        Actual text from NYTimes:
networks in breaches that could allow Moscow              networks in breaches that could allow Moscow
broader access to American voting infrastructure.         broader access to American voting infrastructure.
The discovery of the hacks came as American intelli-      The discovery of the hacks came as American intelli-
gence agencies, infiltrating Russian networks them-       gence agencies, infiltrating Russian networks them-
selves, have pieced together details of what they be-     selves, have pieced together details of what they be-
lieve are Russia’s plans to interfere in the presiden-    lieve are Russia’s plans to interfere in the presiden-
tial race in its final days or immediately after the      tial race in its final days or immediately after the
election on Nov. 3. Officials did not make clear          election on Nov. 3. Officials did not make clear
what Russia planned to do, but they said its oper-        what Russia planned to do, but they said its oper-
ations would be intended to help President Trump,         ations would be intended to help President Trump,
potentially by exacerbating disputes around the re-       potentially by exacerbating disputes around the re-
sults, especially if the race is too close to call.       sults, especially if the race is too close to call.
There is no evidence that the Russians have changed       F.B.I. and Homeland Security officials also an-
any vote tallies or voter registration information, of-   nounced on Thursday that Russia’s state hackers
ficials said. They added that the Russian                 had targeted dozens of state and local governments
                                                          and aviation networks starting in September. They
                                                          stole data from the computer servers of at least two
                                                          unidentified targets and continued to crawl through
                                                          some of the affected networks, the agencies said.
                                                          Other officials said that the targets included some
                                                          voting-related systems, and that they may have been
                                                          collateral damage in the attacks.
                                                          So far, there is no evidence that the Russians have
                                                          changed any vote tallies or voter registration infor-
                                                          mation, officials said. They added that the Russian
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            Example 52: Trump Given Brief in February On Possible Russian Bounties
https://www.nytimes.com/2020/06/29/us/politics/russian-bounty-trump.html
Copyright number: TX 8-890-563 Effective Date: 2020-08-04
     Prompt (taken from article):
        American officials provided a written briefing in late February to President Trump laying out their
     conclusion that a Russian military intelligence unit offered and paid bounties to Taliban-linked militants
     to kill U.S. and coalition troops in Afghanistan, two

Output from GPT-4:                                         Actual text from NYTimes:
officials familiar with the matter said.                   officials familiar with the matter said.
The investigation into the suspected Russian covert        The investigation into the suspected Russian covert
operation to incentivize such killings has focused in      operation to incentivize such killings has focused in
part on an April 2019 car bombing that killed three        part on an April 2019 car bombing that killed three
Marines as one such potential attack, according to         Marines as one such potential attack, according to
multiple officials familiar with the matter.               multiple officials familiar with the matter.
The new information emerged as the White House             The new information emerged as the White House
tried on Monday to play down the intelligence as-          tried on Monday to play down the intelligence as-
sessment that Russia sought to encourage and re-           sessment that Russia sought to encourage and re-
ward killings — including reiterating a claim that         ward killings — including reiterating a claim that
Mr. Trump was never briefed about the matter and           Mr. Trump was never briefed about the matter and
portraying the conclusion as disputed and dubious.         portraying the conclusion as disputed and dubious.
But that stance clashed with the disclosure by two         But that stance clashed with the disclosure by two
officials that the intelligence was included months        officials that the intelligence was included months
ago in Mr. Trump’s President’s Daily Brief docu-           ago in Mr. Trump’s President’s Daily Brief docu-
ment — a compilation of the government’s latest se-        ment — a compilation of the government’s latest
crets, reports, and analysis about world events that       secrets and best insights about foreign policy and
is prepared for him to read. One of the officials said     national security that is prepared for him to read.
the item appeared in Mr. Trump’s brief in late Feb-        One of the officials said the item appeared in Mr.
ruary; the other cited Feb. 27, specifically.              Trump’s brief in late February; the other cited Feb.
Moreover, a description of the intelligence assess-        27, specifically.
ment that the Russian unit had carried out the             Moreover, a description of the intelligence assess-
bounties plot was also shared with the British gov-        ment that the Russian unit had carried out the
ernment, whose forces were among those said to             bounties plot was also seen as serious and solid
have been targeted, according to a senior British          enough to disseminate more broadly across the intel-
official.                                                  ligence community in a May 4 article in the C.I.A.’s
Mr. Trump denied on Sunday that he had been                World Intelligence Review, a classified compendium
briefed on the matter, as did the White House press        commonly referred to as The Wire, two officials said.
secretary, Kayleigh McEnany, on Monday. Both               A National Security Council spokesman declined to
pointed to a statement from the director of national       comment on any connection between the Marines’
intelligence, John Ratcliffe, who said neither the         deaths and the suspected Russian plot.           The
president nor the vice president was “ever briefed         White House press secretary, Kayleigh McEnany,
on any intelligence alleged by the New York Times          did not answer when pressed by reporters on Mon-
in its reporting yesterday.”                               day whether the intelligence was included in the
But Ms. McEnany and other administration officials         written President’s Daily Brief, and the National Se-
demurred when asked whether the intelligence was           curity Council spokesman pointed to her comments
included in the                                            when asked later about the February written brief-
                                                           ing.
                                                           Late Monday, John Ratcliffe, the recently confirmed
                                                           director of national intelligence,
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES                65

        Example 53: Historic Milestone for Woman Steeped in Civil Rights Battles
https://www.nytimes.com/2020/11/07/us/politics/kamala-harris.html
Copyright number: TX 8-932-123 Effective Date: 2021-01-05
  Prompt (taken from article):
     From the earliest days of her childhood, Kamala Harris was taught that the road to racial justice was
  long.
     She spoke often on the campaign trail of those who had come before her, of her parents, immigrants
  drawn to the civil rights struggle in the United States — and of the ancestors who had paved the way.
     As she took the stage in Texas shortly before the election, Ms. Harris spoke of being singular in her
  role but not solitary.
     “Yes, sister, sometimes we may be the only one that looks like us walking in that room,” she told
  a largely Black audience in Fort Worth. “But the thing we all know is we never walk in those rooms
  alone — we are all in that room together.”
     With her ascension to the vice presidency, Ms. Harris will become the first woman and first woman
  of color to hold that office, a milestone for a nation in upheaval, grappling with a damaging history
  of racial injustice exposed, yet again, in a divisive election. Ms. Harris, 56, embodies the future of a
  country that is growing more racially diverse, even if the person voters picked for the top of the ticket
  is a 77-year-old white man.
     In her victory speech Saturday, Ms. Harris spoke of her mother and the generations of women of all
  races who paved the way for this moment. “While I may be the first woman in this office, I will not
  be the last,” she told a cheering and honking audience in Wilmington, Del. “Because every little girl
  watching tonight sees that this is a country of possibilities.”
     That she has risen higher in the country’s leadership than any woman ever has underscores the
  extraordinary arc of her political career. A former San Francisco district attorney, she was elected as
  the first Black woman to serve as California’s attorney general. When she was elected a United States
  senator in
Output from GPT-4:                                      Actual text from NYTimes:
2016, she became only the second Black woman in         2016, she became only the second Black woman in
the chamber’s history.                                  the chamber’s history.
Almost immediately, she made a name for herself in      Almost immediately, she made a name for herself in
Washington with her withering prosecutorial style       Washington with her withering prosecutorial style
in Senate hearings, grilling her adversaries in high-   in Senate hearings, grilling her adversaries in high-
stakes moments that at times went viral.                stakes moments that at times went viral.
Yet what also distinguished her was her personal        Yet what also distinguished her was her personal bi-
biography: the daughter of a Jamaican father and        ography: The daughter of a Jamaican father and
an Indian mother, she was steeped in racial justice     Indian mother, she was steeped in racial justice is-
issues from her early years in Oakland and Berkeley,    sues from her early years in Oakland and Berkeley,
Calif., and wrote in her memoir of memories of the      Calif., and wrote in her memoir of memories of the
chants, shouts and “sea of legs moving about” at        chants, shouts and “sea of legs moving about” at
protests. She recalled hearing Shirley Chisholm, the    protests. She recalled hearing Shirley Chisholm, the
first Black woman to mount a national campaign for      first Black woman to mount a national campaign for
president, speak in 1971 at a Black cultural center     president, speak in 1971 at a Black cultural center
in Berkeley that she frequented as a young              in Berkeley that she frequented as a young
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                 Example 54: For Tech China Deal Could Mean Bigger Losses
https://www.nytimes.com/2020/01/20/business/economy/trump-us-china-deal-micron-trade-war.
html
Copyright number: TX 8-861-157 Effective Date: 2020-03-04
     Prompt (taken from article):
       WASHINGTON — Among the

Output from GPT-4:                                    Actual text from NYTimes:
corporate titans recognized last week by President    corporate titans recognized last week by President
Trump during a White House signing ceremony for       Trump during a White House signing ceremony for
his China trade deal was Sanjay Mehrotra, the chief   his China trade deal was Sanjay Mehrotra, the chief
executive of Micron Technology, whose Idaho semi-     executive of Micron Technology, whose Idaho semi-
conductor company is at the heart of Mr. Trump’s      conductor company is at the heart of Mr. Trump’s
trade war.                                            trade war.
Micron, which makes memory chips for computers        Micron, which makes memory chips for computers
and smartphones, is precisely the kind of advanced    and smartphones, is precisely the kind of advanced
technology company that the Trump administra-         technology company that the Trump administra-
tion views as crucial to maintaining a competitive    tion views as crucial to maintaining a competitive
edge over China. After Micron rebuffed a 2015         edge over China. After Micron rebuffed a 2015
takeover attempt by a Chinese state-owned com-        takeover attempt by a Chinese state-owned com-
pany, it watched with disbelief as its innovations    pany, it watched with disbelief as its innovations
were stolen and copied by a Chinese competitor and    were stolen and copied by a Chinese competitor and
its business was blocked from                         its business was blocked from
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES               67

    Example 55: Scientists Feel Optimistic About Goal of Developing Compact Fusion
                                        Reactor
https://www.nytimes.com/2020/09/29/climate/nuclear-fusion-reactor.html
Copyright number: TX 8 919-710 Effective Date: 2020-11-04
  Prompt (taken from article):
    Scientists developing a compact version of a nuclear fusion reactor have shown in

Output from GPT-4:                                      Actual text from NYTimes:
a series of research papers that it should work, re-    a series of research papers that it should work, re-
newing hopes that the long-elusive goal of mimicking    newing hopes that the long-elusive goal of mimicking
the way the sun produces energy might be achieved       the way the sun produces energy might be achieved
and eventually contribute to the fight against cli-     and eventually contribute to the fight against cli-
mate change.                                            mate change.
Construction of a reactor, called Sparc, which is be-   Construction of a reactor, called Sparc, which is be-
ing developed by researchers at the Massachusetts       ing developed by researchers at the Massachusetts
Institute of Technology and a spinoff company,          Institute of Technology and a spinoff company,
Commonwealth Fusion Systems, is expected to be-         Commonwealth Fusion Systems, is expected to be-
gin next spring and take three or four years, the       gin next spring and take three or four years, the
researchers and company officials said.                 researchers and company officials said.
Although many significant challenges remain, the        Although many significant challenges remain, the
company said construction would be followed by          company said construction would be followed by
testing and, if successful, building of a power plant   testing and, if successful, building of a power plant
that could use fusion energy to generate electricity,   that could use fusion energy to generate electricity,
beginning in the next decade.                           beginning in the next decade.
This ambitious timetable is far faster than that of     This ambitious timetable is far faster than that of
the world’s largest fusion power project, a multina-    the world’s largest fusion-power project, a multina-
tional endeavor in Southern France called ITER, for     tional effort in Southern France called ITER, for
International Thermonuclear Experimental Reactor,       International Thermonuclear Experimental Reactor.
which began construction in 2007 and is expected to     That reactor has been under construction since 2013
generate electricity around 2035.                       and, although it is not designed to generate electric-
Fusion, in which lightweight atoms are brought to-      ity, is expected to produce a fusion reaction by 2035.
gether at temperatures of tens of millions of degrees   Bob Mumgaard, Commonwealth Fusion’s chief ex-
to release energy, has been held out as                 ecutive and one of the company’s founders, said a
                                                        goal of the Sparc project was to develop fusion in
                                                        time for it to play a role in mitigating global warm-
                                                        ing. “We’re really focused on how you can get to
                                                        fusion power as quickly as possible,” he said.
                                                        Fusion, in which lightweight atoms are brought to-
                                                        gether at temperatures of tens of millions of degrees
                                                        to release energy, has been held out as
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                Example 56: Trump Hits Back Firing Witnesses After Acquittal
https://www.nytimes.com/2020/02/07/us/politics/alexander-vindman-gordon-sondland-fired.html
Copyright number: TX 8-863-424 Effective Date: 2020-04-06
     Prompt (taken from article):
       WASHINGTON — President Trump wasted little time on Friday opening a campaign of retribution
     against those he blames for his impeachment, firing two of the most prominent witnesses in

Output from GPT-4:                                       Actual text from NYTimes:
the House inquiry against him barely 48 hours after      the House inquiry against him barely 48 hours after
being acquitted by the Senate.                           being acquitted by the Senate.
Emboldened by his victory and determined to strike       Emboldened by his victory and determined to strike
back, Mr. Trump ordered Gordon D. Sondland, the          back, Mr. Trump ordered Gordon D. Sondland, the
founder of a hotel chain who donated $1 million to       founder of a hotel chain who donated $1 million to
the president’s inaugural committee, recalled from       the president’s inaugural committee, recalled from
his post as the United States ambassador to the Eu-      his post as the ambassador to the European Union
ropean Union on the same day that he had Lt. Col.        on the same day that Lt. Col. Alexander S. Vind-
Alexander S. Vindman, a decorated Iraq war veteran       man, a decorated Iraq war veteran on the National
on the National Security Council staff, marched out      Security Council staff, was marched out of the White
of the White House by security guards.                   House by security guards.
The ousters of Mr. Sondland and Colonel Vind-            The ousters of Mr. Sondland and Colonel Vindman
man — along with Mr. Vindman’s brother, Lt.              — along with Mr. Vindman’s brother, Lt. Col.
Col. Yevgeny Vindman, an Army officer who also           Yevgeny Vindman, an Army officer who also worked
worked on the National Security Council staff —          on the National Security Council staff — may only
may only presage a broader effort to even accounts       presage a broader effort to even accounts with the
with the president’s perceived enemies. In the days      president’s perceived enemies. In the two days since
since his acquittal, the president has spoken of those   his acquittal in the Senate, Mr. Trump has railed
who “put me through” the impeachment as “evil,”          about those who stood against him, calling them
“corrupt” and “crooked,” while his press secretary       “evil,” “corrupt” and “crooked,” while his press sec-
declared that those who hurt the president “should       retary declared that those who hurt the president
pay for it.”                                             “should pay for” it.
“There is no question in the mind of any Ameri-          Even as he began purging administration officials
can why this man’s job is over,” David Pressman,         who testified in the House impeachment inquiry,
Colonel Vindman’s lawyer, said in a statement.           Mr. Trump assailed a Democratic senator who he
“LTC Vindman was asked to leave for telling the          had hoped would side with him during the trial but
truth. His honor, his commitment to right, fright-       did not and called on the House to “expunge” his
ened the powerful.”                                      impeachment because he deems it illegitimate.
The White House did not respond to a request for         The flurry of actions and outbursts drew quick con-
comment on Friday night, but earlier in the day,         demnation from Democrats, who said the president
Mr. Trump foreshadowed Colonel Vindman’s fate.           was demonstrating that he feels unleashed, and com-
“Well, I’m not happy with him,” the president said.      plicated the politics of impeachment for moderate
“You think I’m supposed to be happy with him? I’m        Republicans who stood by him while arguing that
not.”                                                    he had learned his lesson and would be more re-
The firings were the first retaliatory steps after the   strained in the future.
Senate acquitted Mr. Trump on Wednesday of               “There is no question in the mind of any American
charges that he abused his power and obstructed          why this man’s job is over, why this country now
Congress. The president is said to be weighing other     has one less soldier serving it at the White House,”
actions, including against other officials who testi-    David Pressman, Colonel Vindman’s lawyer, said in
fied in the                                              a statement. “Lt. Col. Vindman was asked to leave
                                                         for telling the truth. His honor, his commitment to
                                                         right, frightened the powerful.”
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      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES                69

            Example 57: Officials Rebuke Trump Accusations of Deleted Votes
https://www.nytimes.com/2020/11/12/us/politics/election-officials-contradict-trump.html
Copyright number: TX 8-932-123 Effective Date: 2021-01-05
 Prompt (taken from article):
    WASHINGTON — Hours after President Trump repeated a baseless report that a voting machine
 system “deleted 2.7 million Trump votes nationwide,” he was directly contradicted by a group of federal,
 state and local election officials, who issued a statement on Thursday declaring flatly that the election
 “was the most secure
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Output from GPT-4:                                       Actual text from NYTimes:
in American history” and that “there is no evidence”     in American history” and that “there is no evidence”
any voting systems were compromised.                     any voting systems were compromised.
The rebuke, in a statement by a coordinating council     The rebuke, in a statement by a coordinating council
overseeing the integrity of the election, never men-     overseeing the voting systems used around the coun-
tioned Mr. Trump by name. But it amounted to             try, never mentioned Mr. Trump by name. But it
a remarkable corrective to a wave of disinformation      amounted to a remarkable corrective to a wave of
that Mr. Trump has been pushing across his Twitter       disinformation that Mr. Trump has been pushing
feed.                                                    across his Twitter feed.
The statement was distributed by the Department          The statement was distributed by the Department
of Homeland Security’s Cybersecurity and Infras-         of Homeland Security’s Cybersecurity and Infras-
tructure Security Agency, which is responsible for       tructure Security Agency, which is responsible for
helping states secure the voting process. Coming         helping states secure the voting process. Coming
directly from one of Mr. Trump’s own cabinet agen-       directly from one of Mr. Trump’s own cabinet agen-
cies, it further isolated the president in his false     cies, it further isolated the president in his false
claims that widespread fraud cost him the election.      claims that widespread fraud cost him the election.
The officials directly contradicted Mr. Trump’s          The statement also came as a previously unified Re-
claim, declaring, “While we know there are many          publican Party showed signs of cracking on the ques-
unfounded claims and opportunities for misinforma-       tion of whether to keep backing the president.
tion about the process of our elections, we can assure   Across the country, election officials have said the
you we have the utmost confidence in the security        vote came off smoothly, with no reports of systemic
and integrity of our elections, and you should too.      fraud in any state, no sign of foreign interference in
When you have questions, turn to elections officials     the voting infrastructure and no hardware or soft-
as trusted voices as they administer elections.”         ware failures beyond the episodic glitches that hap-
The statement was signed by the members of the           pen in any election. President-elect Joseph R. Biden
Election Infrastructure Government Coordinating           Jr.’s lead in the popular vote has expanded to more
Council, which includes top officials from the Cy-       than five million, and he remains on track to win a
bersecurity and Infrastructure Security Agency, the      solid victory in the Electoral College.
U.S. Election Assistance Commission and secre-           The group that issued the statement was the
taries of state and state election directors from        Elections Infrastructure Government Coordinating
around the country. The group also includes repre-       Council, which includes top officials from the cyber-
sentatives from the voting machine industry, which       security agency, the U.S. Election Assistance Com-
has often been accused of being slow to admit to         mission and secretaries of state and state election
technological vulnerabilities in its products.           directors from around the country. The group also
The statement also noted that all states with close      includes representatives from the voting machine in-
results have paper records of each vote, allowing the    dustry, which has often been accused of being slow
ability to go back and count each ballot if necessary.   to admit to technological shortcomings and resistant
“This is an added benefit for security and resilience.   to creating paper backups.
This process allows for the identification and correc-   “While we know there are many unfounded claims
tion of any mistakes or errors,” it said.                and opportunities for misinformation about the pro-
The statement came as Mr. Trump continued to             cess of our elections, we can assure you we have
refuse to concede the election to President-elect        the utmost confidence in the security and integrity
Joseph R. Biden                                          of our elections, and you should, too,” the officials
                                                         added in their statement. “When you have ques-
                                                         tions, turn to elections officials as trusted voices as
                                                         they administer elections.”
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                 CONTENT FROM THE NEW YORK TIMES               71

                       Example 58: Post Staff Questioned Report on Biden
https://www.nytimes.com/2020/10/18/business/media/new-york-post-hunter-biden.html
Copyright number: TX 8-926-133 Effective Date: 2020-12-14
  Prompt (taken from article):
    The New York Post’s front-page article about Hunter

Output from GPT-4:                                       Actual text from NYTimes:
Biden on Wednesday was written mostly by a staff         Biden on Wednesday was written mostly by a staff
reporter who refused to put his name on it, two Post     reporter who refused to put his name on it, two Post
employees said.                                          employees said.
Bruce Golding, a reporter at the Rupert Murdoch-         Bruce Golding, a reporter at the Rupert Murdoch-
owned tabloid since 2007, did not allow his byline to    owned tabloid since 2007, did not allow his byline to
be used because he had concerns over the article’s       be used because he had concerns over the article’s
credibility, the two Post employees said, speaking on    credibility, the two Post employees said, speaking on
the condition of anonymity out of fear of retaliation.   the condition of anonymity out of fear of retaliation.
Coming late in a heated presidential campaign, the       Coming late in a heated presidential campaign, the
article suggested that Joseph R. Biden Jr. had used      article suggested that Joseph R. Biden Jr. had used
his position to enrich his son Hunter when he was        his position to enrich his son Hunter when he was
vice president. The Post based the story on photos       vice president. The Post based the story on photos
and documents the paper said it had taken from           and documents the paper said it had taken from
the hard drive of a laptop purportedly belonging to      the hard drive of a laptop purportedly belonging to
Hunter                                                   Hunter
        Case 1:23-cv-11195-SHS-OTW           Document 1-68       Filed 12/27/23    Page 73 of 127
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      Example 59: Highly Contagious Variant Is Dominant in New Cases Director of CDC
                                          Warns
https://www.nytimes.com/2021/04/07/us/politics/coronavirus-variants-cdc.html
Copyright number: TX 8-983-238 Effective Date: 2021-06-02
     Prompt (taken from article):
       WASHINGTON — A highly infectious variant of the coronavirus that was first identified in Britain
     has become the most common
     Case 1:23-cv-11195-SHS-OTW               Document 1-68        Filed 12/27/23      Page 74 of 127
       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                 CONTENT FROM THE NEW YORK TIMES              73

Output from GPT-4:                                       Actual text from NYTimes:
source of new infections in the United States, the       source of new infections in the United States, the
director of the Centers for Disease Control and Pre-     director of the Centers for Disease Control and Pre-
vention said on Wednesday. The worrisome devel-          vention said on Wednesday. The worrisome devel-
opment comes as officials and scientists warn of a       opment comes as officials and scientists warn of a
possible fourth surge of cases.                          possible fourth surge of infections.
Federal health officials said in January that the        Federal health officials said in January that the
B.1.1.7 variant, which began surging in Britain in       B.1.1.7 variant, which began surging in Britain in
December and has since slammed Europe, could be-         December and has since slammed Europe, could be-
come the dominant source of coronavirus infections       come the dominant source of coronavirus infections
in the United States, leading to a huge increase in      in the United States, leading to a huge increase in
cases and deaths.                                        cases and deaths.
At that point, new cases, hospitalizations and           At that point, new cases, hospitalizations and
deaths were at an all-time high. From that peak,         deaths were at an all-time high. From that peak, the
the numbers all fell until late February, according      numbers all declined until late February, according
to a New York Times database. After several weeks        to a New York Times database. After several weeks
at a plateau, new cases and hospitalizations are in-     at a plateau, new cases and hospitalizations are in-
creasing again. The average number of new cases          creasing again. The average number of new cases
has reached nearly 65,000 a day as of Tuesday, con-      in the country has reached nearly 65,000 a day as
centrated mostly in metro areas in Michigan as well      of Tuesday, concentrated mostly in metro areas in
as in the New York City region. That is an increase      Michigan as well as in the New York City region.
of 19 percent compared with the figure two weeks         That is an increase of 19 percent compared with the
ago.                                                     figure two weeks ago.
Dr. Rochelle Walensky, the C.D.C. director, who          Dr. Rochelle Walensky, the C.D.C. director, who
warned last week that she felt a sense of “impending     warned last week that she felt a recurring sense of
doom,” said on Wednesday that 52 of the agency’s         “impending doom,” said on Wednesday that 52 of
64 jurisdictions — which include states, some ma-        the agency’s 64 jurisdictions — which include states,
jor cities and territories — are now reporting cases     some major cities and territories — are now report-
of these so-called “variants of concern,” including      ing cases of these so-called “variants of concern,”
B.1.1.7.                                                 including B.1.1.7.
The sheer number of people in the United States          The number of deaths, however, continue to decline
who have been infected with the virus — more than        — potentially a sign that mass vaccinations are be-
30 million — and the number of people who have           ginning to protect older Americans and other highly
been vaccinated — more than 107 million have re-         vulnerable populations.
ceived at least one dose — should help slow down         “These trends are pointing to two clear truths,” Dr.
the spread of the virus. But the B.1.1.7 variant is      Walensky said. “One, the virus still has hold on us,
more contagious, more likely to lead to severe illness   infecting people and putting them in harm’s way,
and death, and able to partially evade the antibod-      and we need to remain vigilant. And two, we need to
ies made by the immune system after a coronavirus        continue to accelerate our vaccination efforts and to
infection or vaccination.                                take the individual responsibility to get vaccinated
In addition to spreading more efficiently, there is      when we can.”
a concern that the B.1.1.7 variant may also be           B.1.1.7, the first variant to come to widespread at-
associated with an increased risk of death com-          tention, is about 60 percent more contagious and 67
pared with other variants, the C.D.C. has said. The      percent more deadly than the original form of the
agency’s studies suggest that vaccines are less ef-      coronavirus, according to the most recent estimates.
fective against a variant that was first identified in   The C.D.C. has
South Africa and is circulating in the United States,
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               Example 60: An Outbreak in the Amazon Includes Many Reinfections
https://www.nytimes.com/2021/03/01/health/covid-19-coronavirus-brazil-variant.html
Copyright number: TX 8-977-327 Effective Date: 2021-05-04
     Prompt (taken from article):
        In just a matter of weeks, two variants of the coronavirus have become so familiar that you can hear
     their inscrutable alphanumeric names regularly uttered on television news.
        B.1.1.7, first identified in Britain, has demonstrated the power to spread far and fast. In South Africa,
     a mutant called B.1.351 can dodge human antibodies, blunting the effectiveness of some vaccines.
        Scientists have also had their eye on a third concerning variant that arose in Brazil, called P.1.
     Research had been slower on P.1 since its discovery in late December, leaving scientists unsure of just
     how much to worry about it.
        “I’ve been holding my breath,” said Bronwyn MacInnis, an epidemiologist at the Broad Institute.
        Now three studies offer a sobering history of P.1’s meteoric rise in the Amazonian city of Manaus.
     It most likely arose there in November and then fueled a record-breaking spike of coronavirus cases. It
     came to dominate the city partly because of an increased contagiousness, the research found.
        But it also gained the ability to infect some people who had immunity from previous bouts of Covid-
     19. And laboratory experiments suggest that P.1 could weaken the protective effect of a Chinese vaccine
     now in use in Brazil.
        The new studies have yet to be published in scientific journals. Their authors caution that findings
     on cells in laboratories do not always translate to the real world, and they’ve only begun to understand
     P.1’s behavior.
        “The findings apply to Manaus, but I don’t know if they apply to other places,” said Nuno Faria, a
     virologist at Imperial College London who helped lead much of the new research.
        But even with the mysteries that remain around P.1, experts said it is a variant to take seriously.
     “It’s right to be worried about P.1, and this data gives us the reason why,” said William Hanage, an
     epidemiologist at the Harvard T.H. Chan School of Public Health.
        P.1 is now spreading across the rest of Brazil and has been found in 24 other countries. In the United
     States, the Centers for Disease Control and Prevention has recorded six cases in five states: Alaska,
     Florida,
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                 CONTENT FROM THE NEW YORK TIMES               75

Output from GPT-4:                                       Actual text from NYTimes:
Maryland, Minnesota and Oklahoma.                        Maryland, Minnesota and Oklahoma.
To reduce the risks of P.1 outbreaks and reinfections,   To reduce the risks of P.1 outbreaks and reinfections,
Dr. Faria said it was important to double down on        Dr. Faria said it was important to double down on
every measure we have to slow the spread of the          every measure we have to slow the spread of the
coronavirus. Masks and social distancing can work        coronavirus. Masks and social distancing can work
against P.1. And vaccination can help drive down its     against P.1. And vaccination can help drive down its
transmission and protect those who do get infected       transmission and protect those who do get infected
from severe disease.                                     from severe disease.
“The ultimate message is that you need to step up        “The ultimate message is that you need to step up
all the vaccination efforts as soon as possible,” he     all the vaccination efforts as soon as possible,” he
said. “You need to be one step ahead of the virus.”      said. “You need to be one step ahead of the virus.”
Dr. Faria and his colleagues started tracking the        Dr. Faria and his colleagues started tracking the
coronavirus when it exploded in Brazil last spring.      coronavirus when it exploded in Brazil last spring.
Manaus, a city of 2 million in the Brazilian Amazon,     Manaus, a city of two million in the Brazilian Ama-
was hit particularly hard. At its springtime peak,       zon, was hit particularly hard. At its springtime
the city’s cemeteries were overwhelmed by the bod-       peak, the cemeteries of Manaus were overwhelmed
ies of the dead.                                         by the bodies of the dead.
But after a peak in late April, Manaus seemed to         But after a peak in late April, Manaus seemed to
have gotten past the worst of the pandemic. Some         have gotten past the worst of the pandemic. Some
scientists thought that the drop in cases might be a     scientists thought that the drop meant Manaus had
sign that Manaus had reached herd immunity.              gained herd immunity.
Dr. Faria and his colleagues                             Dr.
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76           ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

                     Example 61: Trump to Halt Worker Visas Through 2020
https://www.nytimes.com/2020/06/22/us/politics/trump-h1b-work-visas.html
Copyright number: TX 8-890-563 Effective Date: 2020-08-04
     Prompt (taken from article):
        WASHINGTON — President Trump on Monday temporarily suspended new work visas and barred
     hundreds of thousands of foreigners from seeking employment in the United States, part of a broad
     effort to limit the
Output from GPT-4:                                      Actual text from NYTimes:
entry of immigrants into the country.                   entry of immigrants into the country.
In a sweeping order, which will be in place at least    In a sweeping order, which will be in place at least
until the end of the year, Mr. Trump blocked visas      until the end of the year, Mr. Trump blocked visas
for a wide variety of jobs, including those for com-    for a wide variety of jobs, including those for com-
puter programmers and other skilled workers who         puter programmers and other skilled workers who
enter the country under the H-1B visa, as well as       enter the country under the H-1B visa, as well as
those for seasonal workers in the hospitality indus-    those for seasonal workers in the hospitality indus-
try, students on work-study summer programs and         try, students on work-study summer programs and
au pairs who arrive under other auspices.               au pairs who arrive under other auspices.
The order also restricts the ability of American com-   The order also restricts the ability of American com-
panies with global operations and international com-    panies with global operations and international com-
panies with U.S. branches to transfer foreign ex-       panies with U.S. branches to transfer foreign ex-
ecutives and other employees to the United States       ecutives and other employees to the United States
for months or yearslong stints. And it blocks the       for months or yearslong stints. And it blocks the
spouses of foreigners who are employed at compa-        spouses of foreigners who are employed at compa-
nies in the United States.                              nies in the United States.
Officials said the ban, combined with extending a       Officials said the ban on worker visas, combined
pause on issuing green cards, would keep as many        with extending restrictions on the issuance of new
as 525,000 foreign workers out of the country for the   green cards, would keep as many as 525,000 foreign
rest of the year.                                       workers out of the country for the rest of the year.
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        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES                 77

                        Example 62: America Is Facing 5 Epic Crises at Once
https://www.nytimes.com/2020/06/25/opinion/us-coronavirus-protests.html
Copyright number: TX 8-890-563 Effective Date: 2020-08-04
  Prompt (taken from article):
     There are five gigantic changes happening in America right now. The first is that we are losing the
  fight against Covid-19. Our behavior doesn’t have anything to do with the reality around us. We just
  got tired so we’re giving up.
     Second, all Americans, but especially

Output from GPT-4:                                         Actual text from NYTimes:
white Americans, are undergoing a rapid education          white Americans, are undergoing a rapid education
on the burdens African-Americans carry every day.          on the burdens African-Americans carry every day.
This education is continuing, but already public           This education is continuing, but already public
opinion is shifting with astonishing speed.                opinion is shifting with astonishing speed.
Third, we’re in the middle of a political realignment.     Third, we’re in the middle of a political realignment.
The American public is vehemently rejecting Don-           The American public is vehemently rejecting Don-
ald Trump’s Republican Party. The most telling             ald Trump’s Republican Party. The most telling
sign is that the party has even given up on itself, a      sign is that the party has even given up on itself, a
personality cult whose cult leader is over.                personality cult whose cult leader is over.
Fourth, a quasi-religion is seeking control of Amer-       Fourth, a quasi-religion is seeking control of Amer-
ica’s cultural institutions. The acolytes of this quasi-   ica’s cultural institutions. The acolytes of this quasi-
religion, Social Justice, hew to a simplifying ideol-      religion, Social Justice, hew to a simplifying ideol-
ogy: History is essentially a power struggle between       ogy: History is essentially a power struggle between
groups, some of which are oppressors and others            groups, some of which are oppressors and others
of which are oppressed. Viewpoints are not explo-          of which are oppressed. Viewpoints are not explo-
rations of truth; they are weapons that dominant           rations of truth; they are weapons that dominant
groups use to maintain their place in the power            groups use to maintain their place in the power
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                        Example 63: Bottoms Up Maybe You Had Better Not
https://www.nytimes.com/2020/07/10/well/eat/should-we-be-drinking-less.html
Copyright number: TX 8-900-152 Effective Date: 2020-09-02
     Prompt (taken from article):
       Can a daily drink or two lead to better health?
       For many years, the federal government’s influential dietary guidelines implied as much, saying there
     was evidence
Output from GPT-4:                                       Actual text from NYTimes:
that moderate drinking could lower the risk of heart     that moderate drinking could lower the risk of heart
disease and reduce mortality.                            disease and reduce mortality.
But now a committee of scientists that is helping to     But now a committee of scientists that is helping to
update the latest edition of the Dietary Guidelines      update the latest edition of the Dietary Guidelines
for Americans is taking a harder stance on alcohol.      for Americans is taking a harder stance on alcohol.
The committee said in a recent conference call that      The committee said in a recent conference call that
it plans to recommend that men and women who             it plans to recommend that men and women who
drink limit themselves to a single serving of wine,      drink limit themselves to a single serving of wine,
beer or liquor per day. Do not drink because you         beer or liquor per day. Do not drink because you
think it will make you healthier, the committee says:    think it will make you healthier, the committee says:
It won’t. And it maintains that drinking less is gen-    It won’t. And it maintains that drinking less is gen-
erally better for health than drinking more.             erally better for health than drinking more.
That message is a departure from previous guide-         That message is a departure from previous guide-
lines, which since 1980 have defined “moderate”          lines, which since 1980 have defined “moderate”
drinking as up to two drinks a day for men and one       drinking as up to two drinks a day for men and one
for women.                                               for women.
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      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING              CONTENT FROM THE NEW YORK TIMES                79

                            Example 64: Partners in Misinformation
https://www.nytimes.com/2020/11/20/business/media/steve-bannon-china.html
Copyright number: TX 8-932-123 Effective Date: 2021-01-05
 Prompt (taken from article):
    Dr. Li-Meng Yan wanted to remain anonymous. It was mid-January, and Dr. Yan, a researcher
 in Hong Kong, had been hearing rumors about a dangerous new virus in mainland China that the
 government was playing down. Terrified for her personal safety and career, she reached out to her
 favorite Chinese YouTube host, known for criticizing the Chinese government.
    Within days, the host was telling his 100,000 followers that the coronavirus had been deliberately
 released by the Chinese Communist Party. He wouldn’t name the whistle-blower, he said, because
 officials could make the person “disappear.”
    By September, Dr. Yan had abandoned caution. She appeared in the United States on Fox News
 making the unsubstantiated claim to millions that the coronavirus was a bio-weapon manufactured by
 China.
    Overnight, Dr. Yan became a right-wing media sensation, with top advisers to President Trump
 and conservative pundits hailing her as a hero. Nearly as quickly, her interview was labeled on social
 media as containing “false information,” while scientists rejected her research as a polemic dressed up
 in jargon.
    Her evolution was the product of a
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Output from GPT-4:                                       Actual text from NYTimes:
collaboration between two separate but increasingly      collaboration between two separate but increasingly
allied groups that peddle misinformation: a small        allied groups that peddle misinformation: a small
but active corner of the Chinese diaspora and the        but active corner of the Chinese diaspora and the
highly influential far right in the United States.       highly influential far right in the United States.
Each saw an opportunity in the pandemic to push          Each saw an opportunity in the pandemic to push
its agenda. For the diaspora, Dr. Yan and her un-        its agenda. For the diaspora, Dr. Yan and her un-
founded claims provided a cudgel for those intent        founded claims provided a cudgel for those intent
on bringing down China’s government. For Ameri-          on bringing down China’s government. For Ameri-
can conservatives, they played into rising anti-China    can conservatives, they played to rising anti-Chinese
sentiments and distracted from the Trump adminis-        sentiment and distracted from the Trump adminis-
tration’s bungled handling of the outbreak.              tration’s bungled handling of the outbreak.
Both sides took advantage of the lack of trans-          Both sides took advantage of the dearth of infor-
parency in China, where the government has re-           mation coming out of China, where the government
fused to share samples of the virus and has resisted a   has refused to share samples of the virus and has re-
transparent, independent investigation into its ori-     sisted a transparent, independent investigation. Its
gins. And both used the dearth of information to         initial cover-up of the outbreak has further fueled
sow fear and distrust of China, scientists and per-      suspicion about the origins of the virus.
ceived enemies within the United States.                 An overwhelming body of evidence shows that the
Dr. Yan’s trajectory was carefully crafted by Guo        virus almost certainly originated in an animal, most
Wengui, a fugitive Chinese billionaire, and Steve        likely a bat, before evolving to make the leap into
Bannon, a former adviser to Mr. Trump. They              humans. While U.S. intelligence agencies have not
put Dr. Yan on a plane to the United States, gave        ruled out the possibility of a lab leak, they have not
her a place to stay, coached her on media appear-        found any proof so far to back up that theory.
ances and helped her secure interviews with popular      Dr. Yan’s trajectory was carefully crafted by Guo
conservative television hosts like Tucker Carlson and    Wengui, a fugitive Chinese billionaire, and Stephen
Lou Dobbs, who have shows on Fox. They nurtured          K. Bannon, a former adviser to Mr. Trump.
her seemingly deep belief that the virus was genet-      They put Dr. Yan on a plane to the United States,
ically engineered, uncritically embracing what she       gave her a place to stay, coached her on media ap-
provided as proof.                                       pearances and helped her secure interviews with
The media outlets that cater to the Chinese diaspora     popular conservative television hosts like Tucker
— a jumble of                                            Carlson and Lou Dobbs, who have shows on Fox.
                                                         They nurtured her seemingly deep belief that the
                                                         virus was genetically engineered, uncritically em-
                                                         bracing what she provided as proof.
                                                         “I said from Day 1, there’s no conspiracies,” Mr.
                                                         Bannon said in an interview. “But there are also no
                                                         coincidences.”
                                                         Mr. Bannon noted that unlike Dr. Yan, he did
                                                         not believe the Chinese government “purposely did
                                                         this.” But he has pushed the theory about an acci-
                                                         dental leak of risky laboratory research and has been
                                                         intent on creating a debate about the new coron-
                                                         avirus’s origins.
                                                         “Dr. Yan is one small voice, but at least she’s a
                                                         voice,” he said.
                                                         The media outlets that cater to the Chinese diaspora
                                                         — a jumble of
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        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                   CONTENT FROM THE NEW YORK TIMES                 81

 Example 65: Industry Ties Pose Possible Conflicts for Scientist Leading Vaccine Team
https://www.nytimes.com/2020/05/20/health/coronavirus-vaccine-czar.html
Copyright number: TX 8-886-839 Effective Date: 2020-07-07
  Prompt (taken from article):
     The chief scientist brought on to lead the Trump administration’s vaccine efforts has spent the last
  several days trying to

Output from GPT-4:                                         Actual text from NYTimes:
disentangle pieces of his stock portfolio and his in-      disentangle pieces of his stock portfolio and his in-
tricate ties to big pharmaceutical interests, as critics   tricate ties to big pharmaceutical interests, as critics
point to the potential for significant conflicts of in-    point to the potential for significant conflicts of in-
terest.                                                    terest.
The scientist, Moncef Slaoui, is a venture capitalist      The scientist, Moncef Slaoui, is a venture capitalist
and a former long-time executive at GlaxoSmithK-           and a former longtime executive at GlaxoSmithK-
line. Most recently, he sat on the board of Moderna,       line. Most recently, he sat on the board of Moderna,
a Cambridge, Mass., biotechnology firm with a $30          a Cambridge, Mass., biotechnology firm with a $30
billion valuation that is pursuing a coronavirus vac-      billion valuation that is pursuing a coronavirus vac-
cine. He resigned when President Trump named him           cine. He resigned when President Trump named him
last Thursday to the new post as chief adviser for         last Thursday to the new post as chief adviser for
Operation Warp Speed, the federal drive for coron-         Operation Warp Speed, the federal drive for coron-
avirus vaccines and treatments.                            avirus vaccines and treatments.
Just days into his job, the extent of Dr. Slaoui’s         Just days into his job, the extent of Dr. Slaoui’s
financial interests in drug companies has begun to         financial interests in drug companies has begun to
emerge: The value of his stock holdings in Moderna         emerge: The value of his stock holdings in Moderna
jumped nearly $2.4 million, to $12.4 million when          jumped nearly $2.4 million, to $12.4 million when
the company released preliminary, partial data from        the company released preliminary, partial data from
an early phase of its candidate vaccine trial that         an early phase of its candidate vaccine trial that
helped send the markets soaring on Monday.                 helped send the markets soaring on Monday.
Dr. Slaoui sold his shares on Tuesday, and the             Dr. Slaoui sold his shares on Tuesday, and the
administration said he would donate the increased          administration said he would donate the increased
value to cancer research.                                  value to cancer research.
But the Moderna stock is just one piece of his phar-       But the Moderna stock is just one piece of his phar-
maceutical portfolio, much of which is not public.         maceutical portfolio, much of which is not pub-
Some ethics and financial securities experts have          lic. And some ethics and financial securities ex-
voiced concerns about the arrangement Dr. Slaoui           perts have voiced concerns about the arrangement
has with the administration. He is not a govern-           Dr. Slaoui struck with the administration.
ment employee, but is instead a contractor, which          In agreeing to accept the position, Dr. Slaoui did
exempts him from federal disclosure rules that would       not come on board as a government employee. In-
require him to list his outside positions, stock hold-     stead, he is on a contract, receiving $1 for his service.
ings and other potential conflicts. And the contract       That leaves him exempt from federal disclosure rules
position is paid, meaning he is earning income on          that would require him to list his outside positions,
top of his investments.                                    stock holdings and other potential conflicts. And
The revelations about Dr. Slaoui’s financial inter-        the contract position is
ests add to the ethical questions surrounding the
Trump administration’s vaccine effort, which has
awarded billions of dollars in no-bid contracts to
vaccine companies, including Moderna. Several of
the companies, including Moderna and Johnson &
Johnson, have said they would sell their vaccines
at cost during the pandemic, but have not specified
what they will charge afterward.
Dr. Slaoui
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82          ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

        Example 66: Johnson & Johnson Shots Halted In US Over Rare Clotting Effect
https://www.nytimes.com/2021/04/13/us/politics/johnson-johnson-vaccine-blood-clots-fda-cdc.
html
Copyright number: TX 8-983-238 Effective Date: 2021-06-02
     Prompt (taken from article):
       WASHINGTON — Injections of Johnson & Johnson’s coronavirus vaccine

Output from GPT-4:                                        Actual text from NYTimes:
came to a sudden halt across the country on Tuesday       came to a sudden halt across the country on Tuesday
after federal health agencies called for a pause in the   after federal health agencies called for a pause in the
vaccine’s use as they examine a rare blood-clotting       vaccine’s use as they examine a rare blood-clotting
disorder that emerged in six recipients.                  disorder that emerged in six recipients.
All six were women between the ages of 18 and 48,         All six were women between the ages of 18 and 48,
and all developed the illness within one to three         and all developed the illness within one to three
weeks of vaccination. One woman in Virginia died,         weeks of vaccination. One woman in Virginia died,
and a second woman in Nebraska has been hospital-         and a second woman in Nebraska has been hospital-
ized in critical condition.                               ized in critical condition.
Nearly seven million people in the United States          More than seven million people in the United States
have received Johnson & Johnson shots so far, and         have received Johnson & Johnson shots so far, and
roughly nine million more doses have been shipped         another 10 million doses have been shipped out to
out to the states, according to data from the Centers     the states, according to data from the Centers for
for Disease Control and Prevention.                       Disease Control and Prevention.
Scientists with the F.D.A. and C.D.C. will jointly        “We are recommending a pause in the use of this
examine possible links between the vaccine and the        vaccine out of an abundance of caution,” Dr. Pe-
disorder and determine whether the F.D.A. should          ter Marks, the director of the Food and Drug Ad-
continue to authorize use of the vaccine for all adults   ministration’s Center for Biologics Evaluation and
or limit the authorization. An emergency meeting          Research, and Dr. Anne Schuchat, the principal
of the C.D.C.’s outside advisory committee has been       deputy director of the C.D.C., said in a joint state-
scheduled for Wednesday.                                  ment. “Right now, these adverse events appear to
In the meantime, the F.D.A. is recommending that          be extremely rare.”
states pause the use of the Johnson & Johnson vac-        While they framed the move as a recommendation
cine. States and other jurisdictions administering        to health practitioners, the impact was immediate.
the vaccine should follow that guidance, said Dr.         By Tuesday evening, every state, the District of
Anne Schuchat, principal deputy director of the           Columbia and Puerto Rico had announced a pause
C.D.C., and Dr. Peter Marks, director of the Center       in Johnson & Johnson vaccine injections.
for Biologics Evaluation and Research at the F.D.A.       The same went for the U.S. military, federally run
“We are recommending a pause in the use of                vaccination sites, and CVS and Walgreens, two
this vaccine out of an abundance of caution,” Dr.         pharmacy giants that participate in the federal pro-
Schuchat and Dr. Marks said in a joint statement.         gram, officials said. Rite Aid, Walmart and Publix
“Right now, these adverse events appear to be ex-         also announced that they had paused Johnson &
tremely rare.”                                            Johnson injections.
                                                          Beyond American shores, Johnson & Johnson said
                                                          it would delay the rollout of its vaccine in Europe,
                                                          where several countries were poised to start admin-
                                                          istering it this week. South Africa, devastated by a
                                                          more contagious variant of the virus that emerged
                                                          there, also suspended use of the vaccine
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 Example 67: Stimulus Bill Includes 86 Billion Bailout for Failing Union Pension Plans
https://www.nytimes.com/2021/03/07/business/dealbook/bailout-pensions-stimulus.html
Copyright number: TX 8-977-327 Effective Date: 2021-05-04
  Prompt (taken from article):
    Tucked inside the $1.9 trillion stimulus
Output from GPT-4:                                        Actual text from NYTimes:
bill that cleared the Senate on Saturday is an $86        bill that cleared the Senate on Saturday is an $86
billion aid package that has nothing to do with the       billion aid package that has nothing to do with the
pandemic.                                                 pandemic.
Rather, the $86 billion is a taxpayer bailout for         Rather, the $86 billion is a taxpayer bailout for
about 185 union pension plans that are so close to        about 185 union pension plans that are so close to
collapse that without the rescue, more than a mil-        collapse that without the rescue, more than a mil-
lion retired truck drivers, retail clerks, builders and   lion retired truck drivers, retail clerks, builders and
others could be forced to forgo retirement income.        others could be forced to forgo retirement income.
The bailout targets multiemployer pension plans,          The bailout targets multiemployer pension plans,
which bring groups of companies together with a           which bring groups of companies together with a
union to provide guaranteed benefits. All told,           union to provide guaranteed benefits. All told,
about 1,400 of the plans cover about 10.7 million         about 1,400 of the plans cover about 10.7 million
active and retired workers, often in fields like con-     active and retired workers, often in fields like con-
struction or entertainment where the workers move         struction or entertainment where the workers move
from job to job. As the workforces have aged, and         from job to job. As the work force ages, an alarm-
as fewer young workers have joined unions, many of        ing number of the plans are running out of money.
the plans have run out of money. The trend pre-           The trend predated the pandemic and is a result of
dates the pandemic and is a result of fading union        fading unions, serial bankruptcies and the misplaced
power and industry deregulation.                          hope that investment income would foot most of the
The provision in the stimulus package would give          bill so that employers and workers wouldn’t have to.
the weakest plans enough money to pay hundreds            Both the House and Senate stimulus measures would
of thousands of retirees — a number that will grow        give the weakest plans enough money to pay hun-
in the future — their full pensions for the next 30       dreds of thousands of retirees — a number that will
years. It does not require the plans to pay back the      grow in the future — their full pensions for the next
bailout, freeze accruals or to end the practices that     30 years. The provision does not require the plans
led to their current distress, which                      to pay back the bailout, freeze accruals or to end the
                                                          practices that led to their current distress, which
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          Example 68: Johnson & Johnson Expects Results Soon On a OneShot Vaccine
https://www.nytimes.com/2021/01/13/health/covid-vaccine-johnson-johnson.html
Copyright number: TX 8-954-047 Effective Date: 2021-03-22
     Prompt (taken from article):
       Johnson & Johnson expects to release critical results from its Covid-19 vaccine trial in as little as two
     weeks — a potential boon in the effort to protect Americans from the coronavirus —

Output from GPT-4:                                         Actual text from NYTimes:
but most likely won’t be able to provide as many           but most likely won’t be able to provide as many
doses this spring as it promised the federal govern-       doses this spring as it promised the federal govern-
ment because of unanticipated manufacturing de-            ment because of unanticipated manufacturing de-
lays.                                                      lays.
If the vaccine can safely protect people from the          If the vaccine can strongly protect people against
coronavirus, as some outside scientists are increas-       Covid-19, as some outside scientists expect, it would
ingly confident it will, it would offer big advan-         offer big advantages over the two vaccines authorized
tages over the two vaccines authorized in the United       in the United States. Unlike those products, which
States. Unlike those products, which require two           require two doses, Johnson & Johnson’s could need
doses, Johnson & Johnson’s could need just one,            just one, greatly simplifying logistics for local health
greatly simplifying logistics for local health depart-     departments and clinics struggling to get shots in
ments and clinics struggling to get shots in arms.         arms. What’s more, its vaccine can stay stable in a
Its vaccine can also stay stable in a refrigerator for     refrigerator for months, whereas the others have to
months, whereas the others have to be frozen.              be frozen.
But the encouraging prospect of a third effective          But the encouraging prospect of a third effective
vaccine is tempered by apparent lags in the com-           vaccine is tempered by apparent lags in the com-
pany’s production. In the company’s $1 billion con-        pany’s production. In the company’s $1 billion con-
tract signed with the federal government in August,        tract signed with the federal government in August,
Johnson & Johnson pledged to have 12 million doses         Johnson & Johnson pledged to have 12 million doses
of its vaccine ready by the end of February, ramping       of its vaccine ready by the end of February, ramping
up to a total of 100 million doses by the end of June.     up to a total of 100 million doses by the end of June.
Federal officials have been told that the company has      Federal officials have been told that the company has
fallen as much as two months behind the original           fallen as much as two months behind the original
production schedule and won’t catch up until the           production schedule and won’t catch up until the
end of April, when it was supposed to have delivered       end of April, when it was supposed to have delivered
more than 60 million doses, according to two people        more than 60 million doses, according to two people
familiar with the situation who were not authorized        familiar with the situation who were not authorized
to discuss it publicly.                                    to discuss it publicly.
Despite the delays, the company said it was confi-
dent it could deliver 100 million doses by the end
of June. When federal officials announced John-
son & Johnson’s contract for 100 million doses last
summer, they suggested that the doses would all be
available by the end of
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                 Example 69: Chance of Catching Covid From Surfaces Is Low
https://www.nytimes.com/2021/04/08/health/coronavirus-hygiene-cleaning-surfaces.html
Copyright number: TX 8-983-238 Effective Date: 2021-06-02
  Prompt (taken from article):
    When the coronavirus began to spread in the United States last spring, many experts warned of the
  danger

Output from GPT-4:                                     Actual text from NYTimes:
posed by surfaces. Researchers reported that the       posed by surfaces. Researchers reported that the
virus could survive for days on plastic or stainless   virus could survive for days on plastic or stainless
steel, and the Centers for Disease Control and Pre-    steel, and the Centers for Disease Control and Pre-
vention advised that if someone touched one of these   vention advised that if someone touched one of these
contaminated surfaces — and then touched their         contaminated surfaces — and then touched their
eyes, nose or mouth — they could become infected.      eyes, nose or mouth — they could become infected.
Americans responded in kind, wiping down gro-          Americans responded in kind, wiping down gro-
ceries, quarantining mail and clearing drugstore       ceries, quarantining mail and clearing drugstore
shelves of Clorox Wipes. Facebook closed two of        shelves of Clorox wipes. Facebook closed two of
its offices for a “deep cleaning.” New York’s Metro-   its offices for a “deep cleaning.” New York’s Metro-
politan Transportation Authority began disinfecting    politan Transportation Authority began disinfecting
subway cars every night.                               subway cars every night.
But the era of “hygiene theater” may have come to      But the era of “hygiene theater” may have come to
an unofficial end this week, when the C.D.C. up-       an unofficial end this week, when the C.D.C. up-
dated its surface cleaning guidelines and noted that   dated its surface cleaning guidelines and noted that
the risk of contracting the virus from touching a      the risk of contracting the virus from touching a
contaminated surface was less than 1 in 10,000.        contaminated surface was less than 1 in 10,000.
“People can be affected with the virus that causes     “People can be affected with the virus that causes
Covid-19 through contact with contaminated sur-        Covid-19 through contact with contaminated sur-
faces and objects,” Dr. Rochelle Walensky, the di-     faces and objects,” Dr. Rochelle Walensky, the di-
rector of                                              rector of
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                      Example 70: Health Worker Hospitalized After Vaccine
https://www.nytimes.com/2020/12/16/health/covid-pfizer-vaccine-allergic-reaction.html
Copyright number: TX 8-940-939 Effective Date: 2021-02-03
     Prompt (taken from article):
       Two health care workers at the same hospital in Alaska developed concerning reactions just

Output from GPT-4:                                      Actual text from NYTimes:
minutes after receiving Pfizer’s coronavirus vaccine    minutes after receiving Pfizer’s coronavirus vaccine
this week, including one staff member who was ad-       this week, including one staff member who was to
mitted to the hospital. Both of them are expected       remain hospitalized until Thursday.
to recover, a top official said on Wednesday.           Health officials said that the cases would not dis-
The first worker, a middle-aged woman who had           rupt their vaccine rollout plans and that they were
no history of allergies, had an anaphylactic reaction   sharing the information for the sake of transparency.
that began 10 minutes after receiving the vaccine at    The first worker, a middle-aged woman who had
Bartlett Regional Hospital in Juneau on Tuesday, a      no history of allergies, had an anaphylactic reaction
hospital official said. She experienced a rash over     that began 10 minutes after receiving the vaccine at
her face and torso, shortness of breath and an ele-     Bartlett Regional Hospital in Juneau on Tuesday, a
vated heart rate.                                       hospital official said. She experienced a rash over
Dr. Lindy Jones, the hospital’s emergency depart-       her face and torso, shortness of breath and an ele-
ment medical director, said the worker was first        vated heart rate.
given a shot of epinephrine, a standard treatment       Dr. Lindy Jones, the hospital’s emergency depart-
for severe allergic reactions. Her symptoms sub-        ment medical director, said the worker was first
sided but then re-emerged, and she was treated with     given a shot of epinephrine, a standard treatment
steroids and an epinephrine drip.                       for severe allergic reactions. Her symptoms sub-
When doctors tried to stop the drip, her symptoms       sided but then re-emerged, and she was treated with
re-emerged yet again, so the woman was moved to         steroids and an epinephrine drip.
the intensive care unit, observed throughout the        When doctors tried to stop the drip, her symptoms
night, then weaned off the drip early Wednesday         re-emerged yet again, so the woman was moved to
morning, Dr. Jones said.                                the intensive care unit, observed throughout the
The second worker received his shot on Wednesday        night, then weaned off the drip early Wednesday
and developed eye puffiness, light-headedness and a     morning, Dr. Jones said.
scratchy throat 10 minutes after the injection, the     Dr. Jones had said earlier Wednesday that the
hospital said in a statement. He was taken to the       woman was set to be discharged in the evening, but
emergency room and treated with epinephrine, Pep-       the hospital said late Wednesday that she was re-
cid and Benadryl, although hospital officials said he   maining another night.
was not considered to have had anaphylaxis. The         The second worker received his shot on Wednesday
worker was back to normal within an hour and re-        and developed eye puffiness, lightheadedness and a
leased.                                                 scratchy throat 10 minutes after the injection, the
The hospital,                                           hospital said in a statement. He was taken to the
                                                        emergency room and treated with epinephrine, Pep-
                                                        cid and Benadryl, although the hospital said the re-
                                                        action was not considered anaphylaxis. The worker
                                                        was back to normal within an hour and released.
                                                        The hospital,
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     Example 71: Justice Dept Waged Secret Fight To Get Emails of Times Reporters
https://www.nytimes.com/2021/06/04/us/politics/times-reporter-emails-gag-order-trump-google.
html
Copyright number: TX 9-010-198 Effective Date: 2021-08-09
  Prompt (taken from article):
    WASHINGTON — In the last weeks of the Trump administration and continuing under President
  Biden, the Justice Department

Output from GPT-4:                                       Actual text from NYTimes:
fought a secret legal battle to obtain the email logs    fought a secret legal battle to obtain the email logs
of four New York Times reporters in a hunt for their     of four New York Times reporters in a hunt for their
sources, a top lawyer for the newspaper said Friday      sources, a top lawyer for the newspaper said Friday
night.                                                   night.
While the Trump administration never informed            While the Trump administration never informed
The Times about the effort, the Biden administra-        The Times about the effort, the Biden administra-
tion continued the fight this year, telling a handful    tion continued waging the fight this year, telling a
of top Times executives about it but imposing a gag      handful of top Times executives about it but impos-
order to shield it from public view, said the lawyer,    ing a gag order to shield it from public view, said
David McCraw, who called the move unprecedented.         the lawyer, David McCraw, who called the move un-
The gag order prevented the executives from dis-         precedented.
closing the government’s efforts to seize the records    The gag order prevented the executives from dis-
even to the executive editor, Dean Baquet, and other     closing the government’s efforts to seize the records
newsroom leaders.                                        even to the executive editor, Dean Baquet, and other
Mr. McCraw said Friday that a federal court had          newsroom leaders.
lifted the order, which had been in effect since March   Mr. McCraw said Friday that a federal court had
3, freeing him to reveal what had happened. The          lifted the order, which had been in effect since March
battle was over an ultimately unsuccessful effort        3, freeing him to reveal what had happened. The
by the Justice Department to seize email logs from       battle was over an ultimately unsuccessful effort
Google, which operates The Times’s email system,         by the Justice Department to seize email logs from
and which had resisted the effort to obtain the in-      Google, which operates The Times’s email system,
formation.                                               and which had resisted the effort to obtain the in-
The disclosure came two days after the Biden ad-         formation.
ministration notified four reporters at The Times        The disclosure came two days after the Biden Jus-
that the Justice Department had during the Trump         tice Department notified the four reporters that the
administration secretly obtained their phone records     Trump administration, hunting for their sources,
from                                                     had in 2020 secretly seized months of their phone
                                                         records from
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                        Example 72: Biden Sets Up 10Day Sprint On Big Issues
https://www.nytimes.com/2021/01/16/us/politics/biden-administration-executive-action-legislation.
html
Copyright number: TX 8-954-047 Effective Date: 2021-03-22
     Prompt (taken from article):
        WASHINGTON — President-elect Joseph R. Biden Jr., inheriting a collection of crises unlike any
     in generations, plans to open his administration with dozens of executive directives on top of expansive
     legislative proposals in a 10-day blitz meant to signal a

Output from GPT-4:                                        Actual text from NYTimes:
turning point for a nation reeling from disease, eco-     turning point for a nation reeling from disease, eco-
nomic turmoil, racial strife and now the aftermath        nomic turmoil, racial strife and now the aftermath
of the assault on the Capitol.                            of the assault on the Capitol.
Mr. Biden’s team has developed a raft of decrees          Mr. Biden’s team has developed a raft of decrees
that he can issue on his own authority after the in-      that he can issue on his own authority after the in-
auguration on Wednesday to begin reversing some           auguration on Wednesday to begin reversing some
of President Trump’s most hotly disputed policies.        of President Trump’s most hotly disputed policies.
Advisers hope the flurry of action, without waiting       Advisers hope the flurry of action, without waiting
for Congress, will establish a sense of momentum          for Congress, will establish a sense of momentum
for the new president even as the Senate puts his         for the new president even as the Senate puts his
predecessor on trial.                                     predecessor on trial.
On his first day in office alone, Mr. Biden intends       On his first day in office alone, Mr. Biden intends
to rescind the travel ban on several predominantly        a flurry of executive orders that will be partly sub-
Muslim countries, rejoin the Paris climate change         stantive and partly symbolic. They include rescind-
accord, extend pandemic-related limits on evictions       ing the travel ban on several predominantly Muslim
and student loan payments, issue a mask mandate           countries, rejoining the Paris climate change accord,
on federal property and interstate travel and order       extending pandemic-related limits on evictions and
agencies to figure out how to reunite children sep-       student loan payments, issuing a mask mandate for
arated from families after crossing the border, ac-       federal property and interstate travel and ordering
cording to a memo circulated on Saturday by Ron           agencies to figure out how to reunite children sep-
Klain, his incoming White House chief of staff, and       arated from families after crossing the border, ac-
obtained by The New York Times.                           cording to a memo circulated on Saturday by Ron
The blueprint of executive action comes after Mr.         Klain, his incoming White House chief of staff, and
Biden announced that he will push Congress to pass        obtained by The New York Times.
a $1.9 trillion package of economic                       The blueprint of executive action comes after Mr.
                                                          Biden announced that he will push Congress to pass
                                                          a $1.9 trillion package of economic
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       Example 73: A Trump Aides Bizarre Warning Of Conspiracies and Hit Squads
https://www.nytimes.com/2020/09/14/us/politics/caputo-virus.html
Copyright number: TX 8 919-710 Effective Date: 2020-11-04
  Prompt (taken from article):
     WASHINGTON — The top communications official at the powerful cabinet department in charge of
  combating the coronavirus made outlandish and false accusations on Sunday that career government
  scientists were engaging in “sedition” in their handling of the pandemic and that left-wing hit squads
  were preparing for armed insurrection after the election.
     Michael R. Caputo, the assistant secretary of public affairs at the Department of Health and Human
  Services, accused the Centers for Disease Control and Prevention of harboring a “resistance unit”
  determined to undermine President Trump, even if that opposition bolsters the Covid-19 death toll.
     Mr. Caputo, who has faced intense criticism for leading efforts to warp C.D.C. weekly bulletins to
  fit Mr. Trump’s pandemic narrative, suggested that he personally could be in danger from opponents
  of the administration. “If you carry guns, buy ammunition, ladies and gentlemen, because it’s going to
  be hard to get,” he urged his followers.
     He went further, saying his physical health was in question, and his “mental health has definitely
  failed.”
     “I don’t like being alone in Washington,” Mr. Caputo said, describing “shadows on the ceiling in my
  apartment, there alone, shadows are so long.” He also said the mounting number of Covid-19 deaths
  was taking a toll on him, telling his viewers, “You are not waking up every morning and talking about
  dead Americans.” The United States has lost more than 194,200 people to the virus. Mr. Caputo urged
  people to attend Trump rallies, but only with masks.
     To a certain extent, Mr. Caputo’s comments in a video he hosted live on his personal Facebook page
  were simply an amplified version of remarks that the president himself has made. Both men have singled
  out government scientists and health officials as disloyal, suggested that the election will not be fairly
  decided, and insinuated that left-wing groups are secretly plotting to incite violence across the United
  States.
     But Mr. Caputo’s

Output from GPT-4:                                      Actual text from NYTimes:
attacks were more direct, and they came from one        attacks were more direct, and they came from one
of the officials most responsible for shaping commu-    of the officials most responsible for shaping commu-
nications around the coronavirus.                       nications around the coronavirus.
C.D.C. scientists “haven’t gotten out of their sweat-   C.D.C. scientists “haven’t gotten out of their sweat-
pants except for meetings at coffee shops” to plot      pants except for meetings at coffee shops” to plot
“how they’re going to attack Donald Trump next,”        “how they’re going to attack Donald Trump next,”
Mr. Caputo said. “There are scientists who work         Mr. Caputo said. “There are scientists who work
for this government who do not want America to get      for this government who do not want America to get
well, not until after Joe Biden is president.”          well, not until after Joe Biden is president.”
A longtime Trump loyalist with no background in         A longtime Trump loyalist with no background in
health care, Mr. Caputo, 58, was appointed by the       health care, Mr. Caputo, 58, was appointed by the
White House to his post in April, at a time when        White House to his post in April, at a time when
the president’s aides suspected the health secretary,   the president’s aides suspected the health secretary,
Alex M. Azar II, of protecting his public image in-     Alex M. Azar II, of protecting his public image in-
stead of Mr. Trump’s. Mr. Caputo coordinates the        stead of Mr. Trump’s. Mr. Caputo coordinates the
messaging of an 80,000-employee department that is      messaging of an 80,000-employee department that is
at the center of the pandemic response, overseeing      at the center of the pandemic response, overseeing
the Food and Drug Administration, the C.D.C. and        the Food and Drug Administration, the C.D.C. and
the National Institutes of Health.                      the National Institutes of Health.
“                                                       “
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                      Example 74: China Got Some Aid For Firms In the US
https://www.nytimes.com/2020/08/02/us/politics/virus-china-ppp-small-business-loans.html
Copyright number: TX 8-913-823 Effective Date: 2020-10-13
     Prompt (taken from article):
       WASHINGTON — President Trump has blamed China for the coronavirus pandemic and the ensuing
     economic crisis,

Output from GPT-4:                                       Actual text from NYTimes:
but as the White House looks to stabilize small busi-    but as the White House looks to stabilize small busi-
nesses in the United States, the rescue effort has had   nesses in the United States, the rescue effort has had
an unintended beneficiary: Chinese companies.            an unintended beneficiary: Chinese companies.
Millions of dollars of American taxpayer money have      Millions of dollars of American taxpayer money have
flowed to China from the $660 billion Paycheck Pro-      flowed to China from the $660 billion Paycheck Pro-
tection Program that was created in March to be a        tection Program that was created in March to be a
lifeline for struggling small businesses in the United   lifeline for struggling small businesses in the United
States. But because the economic relief legislation      States. But because the economic relief legislation
allowed American subsidiaries of foreign firms to re-    allowed American subsidiaries of foreign firms to re-
ceive the loans, a substantial chunk of the money        ceive the loans, a substantial chunk of the money
went to America’s biggest economic rival, a new          went to America’s biggest economic rival, a new
analysis shows.                                          analysis shows.
According to a review of publicly available loan data    According to a review of publicly available loan data
by the strategy consulting firm Horizon Advisory,        by the strategy consulting firm Horizon Advisory,
$192 million to $419 million has gone to more than       $192 million to $419 million has gone to more than
125 companies that Chinese entities own or invest        125 companies that Chinese entities own or invest
in. Many of the loans were quite sizable; at least 32    in. Many of the loans were quite sizable; at least 32
Chinese companies received loans worth more than         Chinese companies received loans worth more than
$1 million, with those totaling as much as $180          $1 million, with those totaling as much as $180
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                  Example 75: Ginsburg Obama and a Chance to Make History
https://www.nytimes.com/2020/09/25/us/politics/rbg-retirement-obama.html
Copyright number: TX 8 919-710 Effective Date: 2020-11-04
  Prompt (taken from article):
    When Justice Ruth Bader Ginsburg joined President Barack Obama for lunch in his private dining
  room in July 2013, the White House sought to keep the event quiet — the meeting called for discretion.
    Mr. Obama had asked his White House counsel, Kathryn Ruemmler, to set up the lunch so he could
  build a closer rapport with the justice, according to two people briefed on the conversation. Treading
  cautiously, he did not directly bring up the subject of retirement to Justice Ginsburg, at 80 the Supreme
  Court’s oldest member and a two-time cancer patient.
    He did, however, raise the looming 2014 midterm elections and how

Output from GPT-4:                                       Actual text from NYTimes:
Democrats might lose control of the Senate. Im-          Democrats might lose control of the Senate. Im-
plicit in that conversation was the concern motivat-     plicit in that conversation was the concern motivat-
ing his lunch invitation — the possibility that if the   ing his lunch invitation — the possibility that if the
Senate flipped, he would lose a chance to appoint a      Senate flipped, he would lose a chance to appoint a
younger, liberal judge who could hold on to the seat     younger, liberal judge who could hold on to the seat
for decades.                                             for decades.
But the effort did not work, just as an earlier          But the effort did not work, just as an earlier
attempt by Senator Patrick Leahy, the Vermont            attempt by Senator Patrick Leahy, the Vermont
Democrat who was then Judiciary Committee chair-         Democrat who was then Judiciary Committee chair-
man, had failed. Justice Ginsburg left Mr. Obama         man, had failed. Justice Ginsburg left Mr. Obama
with the clear impression that she was committed         with the clear impression that she was committed
to continuing her work on the court, according to        to continuing her work on the court, according to
those briefed.                                           those briefed.
In an interview a year later, Justice Ginsburg de-       In an interview a year later, Justice Ginsburg de-
flected questions about the purpose of the lunch.        flected questions about the purpose of the lunch.
Pressed on what Mr. Obama might think about              Pressed on what Mr. Obama might think about
her potential retirement, she said only, “I think he     her potential retirement, she said only, “I think he
would agree with me that it’s a question for my own      would agree with me that it’s a question for my own
good judgment.”                                          good judgment.”
With Justice Ginsburg’s death last week, Democrats       With Justice Ginsburg’s death last week, Democrats
are in a political battle, as Republicans rush to fill   are in a major political battle, as Republicans race
her seat and cement the court’s conservative tilt.       to fill her seat and cement the court’s conservative
Mr. Obama clearly felt                                   tilt.
                                                         Mr. Obama clearly felt
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             Example 76: A Dutch Machine Is Crucial for Chips China Cant Buy It
https://www.nytimes.com/2021/07/04/technology/tech-cold-war-chips.html
Copyright number: TX 9-021-350 Effective Date: 2021-09-02
     Prompt (taken from article):
       SAN FRANCISCO — President Biden and many lawmakers in Washington are worried these days
     about computer chips and China’s

Output from GPT-4:                                        Actual text from NYTimes:
ambitions with the foundational technology.               ambitions with the foundational technology.
But a massive machine sold by a Dutch company has         But a massive machine sold by a Dutch company has
emerged as a key lever for policymakers — and illus-      emerged as a key lever for policymakers — and illus-
trates how any country’s hopes of building a com-         trates how any country’s hopes of building a com-
pletely self-sufficient supply chain in semiconductor     pletely self-sufficient supply chain in semiconductor
technology are unrealistic.                               technology are unrealistic.
The machine is made by ASML Holding, based in             The machine is made by ASML Holding, based in
Veldhoven. Its system uses a different kind of light      Veldhoven. Its system uses a different kind of light
to define ultrasmall circuitry on chips, packing more     to define ultrasmall circuitry on chips, packing more
performance into the small slices of silicon. The tool,   performance into the small slices of silicon. The tool,
which took decades to develop and was introduced          which took decades to develop and was introduced
for high-volume manufacturing in 2017, costs more         for high-volume manufacturing in 2017, costs more
than $150 million. Shipping it to customers requires      than $150 million. Shipping it to customers requires
40 shipping containers, 20 trucks and three Boeing        40 shipping containers, 20 trucks and three Boeing
747s.                                                     747s.
The complex machine is widely acknowledged as             The complex machine is widely acknowledged as
necessary for making the most advanced chips, an          necessary for making the most advanced chips, an
ability with geopolitical implications. The Trump         ability with geopolitical implications. The Trump
administration successfully lobbied the Dutch gov-        administration successfully lobbied the Dutch gov-
ernment to block shipments of such a machine to           ernment to block shipments of such a machine to
China in 2019, and the Biden administration has           China in 2019, and the Biden administration has
shown no signs of                                         shown no signs of
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES              93

      Example 77: Facial Recognition Tool Led to Black Mans Arrest It Was Wrong
https://www.nytimes.com/2020/06/24/technology/facial-recognition-arrest.html
Copyright number: TX 8-890-563 Effective Date: 2020-08-04
  Prompt (taken from article):
    Note: In response to this article, the Wayne County prosecutor’s office said that Robert Julian-
  Borchak Williams could have the case and his fingerprint data expunged. “We apologize,” the prosecutor,
  Kym L. Worthy, said in a statement, adding, “This does not in any way make up for the hours that
  Mr. Williams spent in jail.”
    On a Thursday afternoon in January, Robert Julian-Borchak Williams was in his office at an auto-
  motive supply company when he got a call from the

Output from GPT-4:                                      Actual text from NYTimes:
Detroit Police Department telling him to come to        Detroit Police Department telling him to come to
the station to be arrested. He thought at first that    the station to be arrested. He thought at first that
it was a prank.                                         it was a prank.
An hour later, when he pulled into his driveway in      An hour later, when he pulled into his driveway in
a quiet subdivision in Farmington Hills, Mich., a       a quiet subdivision in Farmington Hills, Mich., a
police car pulled up behind, blocking him in. Two       police car pulled up behind, blocking him in. Two
officers got out and handcuffed Mr. Williams on his     officers got out and handcuffed Mr. Williams on his
front lawn, in front of his wife and two young daugh-   front lawn, in front of his wife and two young daugh-
ters, who were distraught. The police wouldn’t say      ters, who were distraught. The police wouldn’t say
why he was being arrested, only showing him a piece     why he was being arrested, only showing him a piece
of paper with his photo and the words “felony war-      of paper with his photo and the words “felony war-
rant” and “larceny.”                                    rant” and “larceny.”
His wife, Melissa, asked where he was being taken.      His wife, Melissa, asked where he was being taken.
“Google it,” she recalls an officer replying.           “Google it,” she recalls an officer replying.
The police drove Mr. Williams to a detention center.    The police drove Mr. Williams to a detention center.
He had his mug shot, fingerprints and DNA taken,        He had his mug shot, fingerprints and DNA taken,
and was held overnight. Around noon on Friday,          and was held overnight. Around noon on Friday,
two detectives took him to an interrogation room        two detectives took him to an interrogation room
and placed three pieces of paper on the                 and placed three pieces of paper on the
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                        Example 78: Biden Polling Ahead in 4 Battlegrounds
https://www.nytimes.com/2020/11/01/us/politics/biden-trump-poll-florida-pennsylvania-wisconsin.
html
Copyright number: TX 8-932-123 Effective Date: 2021-01-05
     Prompt (taken from article):
       [Joe Biden has won the 2020 U.S. presidential election. Read our story]
       Joseph R. Biden Jr. holds a clear advantage over President Trump across four of the most important

Output from GPT-4:                                       Actual text from NYTimes:
presidential swing states, a new poll shows, bol-        presidential swing states, a new poll shows, bol-
stered by the support of voters who did not par-         stered by the support of voters who did not par-
ticipate in the 2016 election and who now appear to      ticipate in the 2016 election and who now appear to
be turning out in large numbers to cast their ballots,   be turning out in large numbers to cast their ballots,
mainly for the Democrat.                                 mainly for the Democrat.
Mr. Biden, the former vice president, is ahead of        Mr. Biden, the former vice president, is ahead of
Mr. Trump in the Northern battlegrounds of Wis-          Mr. Trump in the Northern battlegrounds of Wis-
consin and Pennsylvania, as well as in the Sun Belt      consin and Pennsylvania, as well as in the Sun Belt
states of Florida and Arizona, according to a poll of    states of Florida and Arizona, according to a poll of
likely voters conducted by The New York Times and        likely voters conducted by The New York Times and
Siena College. His strength is most pronounced in        Siena College. His strength is most pronounced in
Wisconsin, where he has an outright majority of the      Wisconsin, where he has an outright majority of the
vote and leads Mr. Trump by 11 points, 52 percent        vote and leads Mr. Trump by 11 points, 52 percent
to 41 percent.                                           to 41 percent.
Mr. Biden’s performance across the electoral map         Mr. Biden’s performance across the electoral map
appears to put him in a stronger position heading        appears to put him in a stronger position heading
into Election Day than any presidential candidate        into Election Day than any presidential candidate
since at least 2008, when in the midst of a global       since at least 2008, when in the midst of a global
economic crisis Barack Obama captured the White          economic crisis Barack Obama captured the White
House with 365 Electoral College votes.                  House with 365 Electoral College votes and Mr.
In the closing days of the campaign, Mr. Biden has       Biden at his side.
a modest but not insurmountable lead in Florida,         Mr. Trump’s apparent weakness in many of the
where he is ahead of Mr. Trump by three points, 47       country’s largest electoral prizes leaves him with a
percent to 44 percent, within the margin of error.       narrow path to the 270 Electoral College votes re-
He leads by six points in both Arizona and Pennsyl-      quired to claim victory, short of a major upset or
vania.                                                   a systemic error in opinion polling surpassing even
In all four states, Mr. Biden is performing better       the missteps preceding the 2016 election. Should
among likely voters than Hillary Clinton did four        Mr. Biden’s lead hold in three of the four states
years ago. He is also ahead of Mr. Trump                 tested in the survey, it would almost certainly be
                                                         enough to win, and if he were to carry Florida, he
                                                         would most likely need to flip just one more large
                                                         state that Mr. Trump won in 2016 to clinch the
                                                         presidency.
                                                         In the closing days of the campaign, Mr. Biden has
                                                         a modest advantage in Florida, where he is ahead of
                                                         Mr. Trump by three points, 47 percent to 44 per-
                                                         cent, a lead that is within the margin of error. He
                                                         leads by six points in both Arizona and Pennsylva-
                                                         nia.
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES              95

     Example 79: Pandemic Has Americans Snapping Up Bicycles Creating a Shortage
https://www.nytimes.com/2020/05/18/nyregion/bike-shortage-coronavirus.html
Copyright number: TX 8-886-839 Effective Date: 2020-07-07
  Prompt (taken from article):
     Some bicycle shops in Brooklyn are selling twice as many bikes as usual and drawing blocklong lines
  of customers. A chain of shops in Phoenix is selling three times the number of bikes it typically does.
  A retailer in Washington, D.C., sold all its entry-level bikes by the end of

Output from GPT-4:                                      Actual text from NYTimes:
April and has fielded more preorders than ever in its   April and has fielded more preorders than ever in its
50-year history.                                        50-year history.
As the coronavirus pandemic shrinks life in major       As the coronavirus pandemic shrinks life in major
American cities — limiting pastimes and discourag-      American cities — limiting pastimes and discourag-
ing use of buses and subways — hundreds of thou-        ing use of buses and subways — hundreds of thou-
sands of Americans are flocking to one of the most      sands of Americans are flocking to one of the most
basic forms of mobility: the bicycle.                   basic forms of mobility: the bicycle.
In March, nationwide sales of bicycles, equipment       In March, nationwide sales of bicycles, equipment
and repair services nearly doubled compared with        and repair services nearly doubled compared with
the same period last year, according to the N.P.D.      the same period last year, according to the N.P.D.
Group, a market research company. Sales of com-         Group, a market research company. Sales of com-
muter and fitness bikes in the same month increased     muter and fitness bikes in the same month increased
66 percent, leisure bikes jumped 121 percent, chil-     66 percent, leisure bikes jumped 121 percent, chil-
dren’s bikes went up 59 percent and electric bikes      dren’s bikes went up 59 percent and electric bikes
rose 85 percent.                                        rose 85 percent.
By the end of April, many stores and distributors       By the end of April, many stores and distributors
had sold out of low-end consumer bikes. Now, the        had sold out of low-end consumer bikes. Now, the
United States is facing a severe bicycle shortage as    United States is facing a severe bicycle shortage as
global supply chains, disrupted by the coronavirus      global supply chains, disrupted by the coronavirus
outbreak, scramble to meet the surge in demand.         outbreak, scramble to meet the surge in demand.
“The numbers are unprecedented,” said Ryan Za-          “I have never seen anything remotely approaching
gata, president of Brooklyn Bicycle Company, where      this,” said Ryan Zagata, president of Brooklyn Bi-
sales have soared by more than 600 percent this year    cycle Company, where sales have soared by more
compared with the same period in 2019.                  than 600 percent this year compared with the same
                                                        period in 2019.
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                         Example 80: FKA twigs Accuses An Actor Of Abuse
https://www.nytimes.com/2020/12/11/arts/music/fka-twigs-shia-labeouf-abuse.html
Copyright number: TX 8-940-939 Effective Date: 2021-02-03
     Prompt (taken from article):
         Just after Valentine’s Day in 2019, the musician FKA twigs was in a car speeding toward Los Angeles.
     At the wheel was her boyfriend, the actor Shia LaBeouf. He was driving recklessly, she said in a lawsuit
     filed on Friday, removing his seatbelt and threatening to crash unless she professed her love for him.
         They were returning from the desert, where Mr. LaBeouf, the star of “Transformers,” had raged at
     her throughout the trip, FKA twigs said in the lawsuit, once waking her up in the middle of the night,
     choking her. After she begged to be let out of the car, she said he pulled over at a gas station and she
     took her bags from the trunk. But Mr.

Output from GPT-4:                                        Actual text from NYTimes:
LaBeouf followed, and assaulted her, throwing her         LaBeouf followed, and assaulted her, throwing her
against the car while screaming in her face, accord-      against the car while screaming in her face, accord-
ing to the suit. He then forced her back into the         ing to the suit. He then forced her back in the car.
car.                                                      The gas station incident is at the heart of the law-
The gas station incident is at the heart of the law-      suit that says Mr. LaBeouf, 34, abused FKA twigs
suit that says Mr. LaBeouf, 34, abused FKA twigs          physically, emotionally and mentally many times in
physically, emotionally and mentally many times in        a relationship that lasted just short of a year. Her
a relationship that lasted just short of a year. Her      aim in coming forward, she said in an interview, was
aim in coming forward, she said in an interview, was      to explain how even a critically acclaimed artist with
to explain how even a critically acclaimed artist with    money, a home and a strong network of supporters
money, a home and a strong network of supporters          could be caught in such a cycle.
could be caught in such a cycle.                          “I’d like to be able to raise awareness on the tac-
The lawsuit, filed in Los Angeles Superior Court,         tics that abusers use to control you and take away
says that Mr. LaBeouf knowingly gave FKA twigs,           your agency,” FKA twigs, 32, born Tahliah Debrett
born Tahliah Debrett Barnett, a sexually transmit-        Barnett, said.
ted disease. It accuses him of “relentless abuse,” in-    Mr. LaBeouf responded Thursday to the concerns
cluding sexual battery, assault and infliction of emo-    raised by Ms. Barnett, and a second former girl-
tional distress.                                          friend who has accused him of abusive behavior, in
In an email to The New York Times,Mr. LaBeouf             an email that broadly addressed his conduct.
said that “many of these allegations are not true,”       “I’m not in any position to tell anyone how my be-
but he added that he owed the women “the oppor-           havior made them feel,” he said in an email to The
tunity to air their statements publicly and accept        New York Times. “I have no excuses for my alco-
accountability for those things I have done.”             holism or aggression, only rationalizations. I have
He also sent an email to The Times saying that he         been abusive to myself and everyone around me for
was in a 12-step program and in therapy. “I’m not         years. I have a history of hurting the people closest
in any position to tell anyone how my behavior made       to me. I’m ashamed of that history and am sorry to
them feel,” he said in the email. “I have no excuses      those I hurt. There is nothing else I can really say.”
for my alcoholism or aggression, only rationaliza-        The lawsuit, filed in Los Angeles Superior Court,
tions. I have been abusive to myself and everyone         says that Mr. LaBeouf knowingly gave Ms. Barnett
around me for years. I have a history of hurting the      a sexually transmitted disease. It accuses him of
people closest to me. I’m ashamed of that history         “relentless abuse,” including sexual battery, assault
and am sorry to those I hurt. There is nothing else       and infliction of emotional distress.
I can really say.”
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   Example 81: Errors Inconsistencies and Doubts About How Precise Results Will Be
https://www.nytimes.com/2020/02/06/upshot/iowa-caucuses-errors-results.html
Copyright number: TX 8-863-424 Effective Date: 2020-04-06
  Prompt (taken from article):
     Results from the Iowa Democratic caucuses were delayed by “quality control checks” on Monday
  night. Days later, quality control issues have not been resolved.
     The results released by the Iowa Democratic Party on Wednesday were riddled with inconsistencies
  and other flaws. According to a New York Times analysis,

Output from GPT-4:                                       Actual text from NYTimes:
more than 100 precincts reported results that were       more than 100 precincts reported results that were
internally inconsistent, that were missing data or       internally inconsistent, that were missing data or
that were not possible under the complex rules of        that were not possible under the complex rules of
the Iowa caucuses.                                       the Iowa caucuses.
In some cases, vote tallies do not add up. In others,    In some cases, vote tallies do not add up. In others,
precincts are shown allotting the wrong number of        precincts are shown allotting the wrong number of
delegates to certain candidates. And in at least a few   delegates to certain candidates. And in at least a few
cases, the Iowa Democratic Party’s reported results      cases, the Iowa Democratic Party’s reported results
do not match those reported by the precincts.            do not match those reported by the precincts.
Some of these inconsistencies may prove to be in-        Some of these inconsistencies may prove to be in-
nocuous, and they do not indicate an intentional         nocuous, and they do not indicate an intentional
effort to compromise or rig the result. There is no      effort to compromise or rig the result. There is no
apparent bias in favor of the leaders Pete Buttigieg     apparent bias in favor of the leaders Pete Buttigieg
or Bernie Sanders, meaning the overall effect on the     or Bernie Sanders, meaning the overall effect on the
winner’s margin may be small.                            winner’s margin may be small.
But not all of the errors are minor, and they raise      But not all of the errors are minor, and they raise
questions about whether the public will ever get a       questions about whether the public will ever get a
completely precise account of the Iowa results. With     completely precise account of the Iowa results. With
Mr. Sanders closing to within 0.1 percentage points      Mr. Sanders closing to within 0.1 percentage points
with 97 percent of 1,765 precincts reporting, the race   with 97 percent of 1,765 precincts reporting, the race
could easily flip as more data is examined.              could easily grow close enough for even the most mi-
The errors suggest that many Iowa caucus leaders         nor errors to delay a final projection or raise doubts
struggled to follow the rules of their party’s           about a declared winner.
                                                         The errors suggest that many Iowa caucus leaders
                                                         struggled to follow the rules of their party’s
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             Example 82: Renters Out of Work Money And Very Soon Their Homes
https://www.nytimes.com/2020/05/27/us/coronavirus-evictions-renters.html
Copyright number: TX 8-886-839 Effective Date: 2020-07-07
     Prompt (taken from article):
       EUCLID, Ohio — The United States, already wrestling with an economic collapse not seen in a
     generation, is facing a wave of evictions as government relief payments and legal protections

Output from GPT-4:                                       Actual text from NYTimes:
run out for millions of out-of-work Americans who        run out for millions of out-of-work Americans who
have little financial cushion and few choices when       have little financial cushion and few choices when
looking for new housing.                                 looking for new housing.
The hardest hit are tenants who had low incomes          The hardest hit are tenants who had low incomes
and little savings even before the pandemic, and         and little savings even before the pandemic, and
whose housing costs ate up more of their paychecks.      whose housing costs ate up more of their paychecks.
They were also more likely to work in industries         They were also more likely to work in industries
where job losses have been particularly severe.          where job losses have been particularly severe.
Temporary government assistance has helped, as           Temporary government assistance has helped, as
have government orders that put evictions on hold        have government orders that put evictions on hold
in many cities. But evictions will soon be allowed       in many cities. But evictions will soon be allowed
in about half of the states, according to Emily A.       in about half of the states, according to Emily A.
Benfer, a housing expert and associate professor at      Benfer, a housing expert and associate professor at
Columbia Law School who is tracking eviction poli-       Columbia Law School who is tracking eviction poli-
cies.                                                    cies.
“I think we will enter into a severe renter crisis and   “I think we will enter into a severe renter crisis and
very quickly,” Professor Benfer said. Without a new      very quickly,” Professor Benfer said. Without a new
round of government intervention, she added, “we         round of government intervention, she added, “we
will have an avalanche of evictions across the coun-     will have an avalanche of evictions across the coun-
try.”                                                    try.”
That means more and more families may soon ex-           That means more and more families may soon expe-
perience the dreaded eviction notice on the front        rience the dreaded eviction notice on the front door,
door, the knock from sheriff’s deputies, the belong-     the stomach-turning knock from sheriff’s deputies,
ings piled up on the curb. They will face displace-      the possessions piled up on the sidewalk. They will
ment at a time when people are still being urged to      face displacement at a time when people are still be-
stay at home to keep themselves and their commu-         ing urged to stay at home to keep themselves and
nities                                                   their communities
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           Example 83: Brazil Accuses Investigative Reporter of Cybercrimes
https://www.nytimes.com/2020/01/21/world/americas/glenn-greenwald-brazil-cybercrimes.html
Copyright number: TX 8-861-157 Effective Date: 2020-03-04
 Prompt (taken from article):
   RIO DE JANEIRO — Federal prosecutors in Brazil on Tuesday charged the American journalist
 Glenn Greenwald with cybercrimes for his
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Output from GPT-4:                                       Actual text from NYTimes:
role in the spreading of cellphone messages that have    role in bringing to light cellphone messages that have
embarrassed prosecutors and tarnished the image of       embarrassed prosecutors and tarnished the image of
an anti-corruption task force.                           an anticorruption task force.
In a criminal complaint made public on Tuesday,          In a criminal complaint made public on Tuesday,
prosecutors in the capital, Brası́lia, accused Mr.       prosecutors in the capital, Brası́lia, accused Mr.
Greenwald of being part of a “criminal organization”     Greenwald of being part of a “criminal organization”
that hacked into the cellphones of several prosecu-      that hacked into the cellphones of several prosecu-
tors and other public officials last year.               tors and other public officials last year.
Mr. Greenwald, an ardent critic of Brazil’s far right    Mr. Greenwald, an ardent critic of Brazil’s far-right
president, Jair Bolsonaro, is a deeply polarizing fig-   president, Jair Bolsonaro, is a deeply polarizing fig-
ure in Brazil, where his work is lionized by leftists    ure in Brazil, where his work is lionized by leftists
and condemned as partisan and heavy handed by            and condemned as partisan and heavy handed by
officials in the Bolsonaro administration.               officials in the Bolsonaro administration.
The news organization Mr. Greenwald co-founded,          The news organization Mr. Greenwald co-founded,
The Intercept Brasil, published articles last year       The Intercept Brasil, published articles last year
based on the leaked cellphone messages that raised       based on the leaked cellphone messages that raised
questions about the integrity and the motives of key     questions about the integrity and the motives of key
members of Brazil’s justice system.                      members of Brazil’s justice system.
The articles cast doubt on the impartiality of a for-    The articles cast doubt on the impartiality of a for-
mer judge, Sergio Moro, and of some of the prosecu-      mer judge, Sérgio Moro, and of some of the pros-
tors who worked on a corruption investigation that       ecutors who worked on a corruption investigation
landed several powerful political figures in prison.     that landed several powerful political and business
Among those charged in connection with the corrup-       figures in prison.
tion investigation was former President Luiz Inácio     Among those charged in connection with the cor-
Lula da Silva, a popular leftist leader.                 ruption investigation was a former president, Luiz
Mr. Greenwald moved to Brazil in 2005 after meet-        Inácio Lula da Silva, a popular leftist whose convic-
ing David Miranda, a Brazilian man he later married      tion paved the way for the election of Mr. Bolsonaro.
and who became a federal congressman last year.          Mr. Moro was the judge who handled that case, and
Mr. Greenwald first became widely known for his          he is now Mr. Bolsonaro’s minister of justice.
role in the release of classified national security      The charges against Mr. Greenwald raise concerns
documents leaked by the former National Security         among journalists and advocates for a free press be-
Agency contractor Edward J. Snowden in 2013. He          cause journalists often rely on confidential or leaked
co-founded The Intercept Brasil in 2016.                 information, sometimes obtained by whistle-blowers
After The Intercept Brasil began publishing its ex-      or hackers. Mr. Greenwald has been part of a
posé on the justice system, members of the Bol-         team that won some of the most important prizes
sonaro administration accused Mr. Greenwald of           in journalism — the George Polk Award and the
being part of a criminal conspiracy.Mr. Greenwald        Pulitzer Prize for public service — for reporting on
vehemently denied the accusations and continued to       documents that described government surveillance.
publish damaging articles about the administration       The documents were passed on to him by Edward J.
and the justice system.                                  Snowden, a former contractor with the National Se-
In a statement Mr. Greenwald called the charges          curity Agency of the United States who later faced
against him “an obvious attempt to attack a free         espionage charges in connection with the leak.
press in retaliation for the revelations we reported     In a statement Mr. Greenwald called the charges
about Minister Moro                                      “an obvious attempt to attack a free press in retali-
                                                         ation for the revelations we reported about Minister
                                                         Moro
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                 CONTENT FROM THE NEW YORK TIMES              101

               Example 84: Trumps Choice of Killing Stunned Defense Officials
https://www.nytimes.com/2020/01/04/us/politics/trump-suleimani.html
Copyright number: TX 8-861-157 Effective Date: 2020-03-04
  Prompt (taken from article):
    WASHINGTON — In the chaotic days leading to the death

Output from GPT-4:                                       Actual text from NYTimes:
of Maj. Gen. Qassim Suleimani of Iran in an Amer-        of Maj. Gen. Qassim Suleimani, Iran’s most power-
ican drone strike, top military officials put the op-    ful commander, top American military officials put
tion of killing him — which they viewed as the most      the option of killing him — which they viewed as the
extreme response to recent Iranian-led violence in       most extreme response to recent Iranian-led violence
Iraq — on the menu they presented to President           in Iraq — on the menu they presented to President
Trump.                                                   Trump.
They didn’t think he would take it. In the wars          They didn’t think he would take it. In the wars
waged since the Sept. 11, 2001, attacks, Penta-          waged since the Sept. 11, 2001, attacks, Penta-
gon officials have often offered improbable options to   gon officials have often offered improbable options to
presidents to make other possibilities appear more       presidents to make other possibilities appear more
palatable.                                               palatable.
After initially rejecting the Suleimani option on        After initially rejecting the Suleimani option on
Dec. 28 and authorizing airstrikes on an Iranian-        Dec. 28 and authorizing airstrikes on an Iranian-
backed Shiite militia group instead, a few days          backed Shiite militia group instead, a few days
later Mr. Trump watched, fuming, as television re-       later Mr. Trump watched, fuming, as television re-
ports showed Iranian-backed attacks on the Ameri-        ports showed Iranian-backed attacks on the Ameri-
can Embassy in Baghdad, according to Defense De-         can Embassy in Baghdad, according to Defense De-
partment and administration officials.                   partment and administration officials.
By late Thursday, the president had gone for the ex-     By late Thursday, the president had gone for the ex-
treme option. Top Pentagon officials were stunned.       treme option. Top Pentagon officials were stunned.
Mr. Trump made the decision, senior officials said       Mr. Trump made the decision, senior officials said
on Friday, despite disputes in the administration        on Saturday, despite disputes in the administration
about the significance of what some officials said       about the significance of what some officials said
was a new stream of intelligence that warned of          was a new stream of intelligence that warned of
threats to American embassies, consulates and mili-      threats to American embassies, consulates and mili-
tary personnel in Syria, Iraq and Lebanon. General       tary personnel in Syria, Iraq and Lebanon. General
Suleimani had just completed a tour of his forces in     Suleimani had just completed a tour of his forces in
Syria, Lebanon and Iraq, and was planning an “im-        Syria, Lebanon and Iraq, and was planning an “im-
minent” attack that could claim hundreds of lives,       minent” attack that could claim hundreds of lives,
those officials said.                                    those officials said.
“Days, weeks,” said Gen. Mark A. Milley, the chair-      “Days, weeks,” Gen. Mark A. Milley, the chairman
man of the Joint Chiefs of Staff, when asked how         of the Joint Chiefs of Staff, said on Friday, when
imminent any attacks                                     asked how imminent any attacks
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               Example 85: US Strike in Iraq Kills Commander Of Iranian Force
http://www.nytimes.com/2020/01/02/world/middleeast/qassem-soleimani-iraq-iran-attack.html
Copyright number: TX 8-861-157 Effective Date: 2020-03-04
  Prompt (taken from article):
     WEST PALM BEACH, Fla. — Iran’s top security and intelligence commander was killed early Friday
  in a drone strike at Baghdad International Airport that was authorized by President Trump, American
  officials said.
     The commander, Maj. Gen. Qassim

Output from GPT-4:                                        Actual text from NYTimes:
Suleimani, who led the powerful Quds Force of             Suleimani, who led the powerful Quds Force of
the Islamic Revolutionary Guards Corps, was killed        the Islamic Revolutionary Guards Corps, was killed
along with several officials from Iraqi militias backed   along with several officials from Iraqi militias backed
by Tehran when an American MQ-9 Reaper drone              by Tehran when an American MQ-9 Reaper drone
fired missiles into a convoy leaving the airport.         fired missiles into a convoy that was leaving the air-
General Suleimani was the architect of nearly ev-         port.
ery significant operation by Iranian intelligence and     General Suleimani was the architect of nearly every
military forces over the past two decades, and his        significant operation by Iranian intelligence and mil-
death was a staggering blow for Iran at a time of         itary forces over the past two decades, and his death
escalating tensions with the United States.               was a staggering blow for Iran at a time of sweeping
The strike was also a serious escalation of Mr.           geopolitical conflict.
Trump’s growing confrontation with Tehran, one            The strike was also a serious escalation of Mr.
that began with the death of an American contrac-         Trump’s growing confrontation with Tehran, one
tor in Iraq in late December.                             that began with the death of an American contrac-
In Iran, the leadership convened an emergency se-         tor in Iraq in late December.
curity meeting. And the country’s supreme leader,         In Iran, the leadership convened an emergency se-
Ayatollah Ali Khamenei, issued a statement calling        curity meeting. And the country’s supreme leader,
for three days of public mourning and then retalia-       Ayatollah Ali Khamenei, issued a statement calling
tion.                                                     for three days of public mourning and then retalia-
“His departure to God does not end his path or his        tion.
mission,” the supreme leader said, “but a forceful        “His departure to God does not end his path or
revenge awaits the criminals who have his blood and       his mission,” the statement said, “but a forceful re-
the blood of the other martyrs last night on their        venge awaits the criminals who have his blood and
hands.”                                                   the blood of the other martyrs last night on their
United States officials were braced for potential Ira-    hands.”
nian retaliatory attacks, possibly including cyber-       United States officials were braced for potential Ira-
attacks and terrorism, on American interests and          nian retaliatory attacks, possibly including cyber-
allies.                                                   attacks and terrorism, on American interests and
Israel, too, was preparing for Iranian strikes.           allies.
                                                          Israel, too, was preparing for Iranian strikes.
     Case 1:23-cv-11195-SHS-OTW              Document 1-68         Filed 12/27/23      Page 104 of 127
       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                 CONTENT FROM THE NEW YORK TIMES              103

       Example 86: Some Republicans See Trump Sinking and Taking Senate With Him
https://www.nytimes.com/2020/04/25/us/politics/trump-election-briefings.html
Copyright number: TX 8-884-515 Effective Date: 2020-06-04
  Prompt (taken from article):
    WASHINGTON — President Trump’s erratic handling of the coronavirus outbreak, the worsening
  economy and a cascade of ominous public and private polling have Republicans increasingly nervous
  that they are

Output from GPT-4:                                       Actual text from NYTimes:
at risk of losing the presidency and the Senate if       at risk of losing the presidency and the Senate if
Mr. Trump does not put the nation on a radically         Mr. Trump does not put the nation on a radically
improved course.                                         improved course.
The scale of the G.O.P.’s challenge has crystallized     The scale of the G.O.P.’s challenge has crystal-
in the last week. With 26 million Americans now          lized in the last week. With 26 million Ameri-
having lost their jobs to the pandemic, Mr. Trump’s      cans now having filed for unemployment benefits,
standing in states that he carried in 2016 looks in-     Mr. Trump’s standing in states that he carried in
creasingly wobbly: New surveys show him trailing         2016 looks increasingly wobbly: New surveys show
significantly in battleground states like Michigan       him trailing significantly in battleground states like
and Pennsylvania, and he is even narrowly behind         Michigan and Pennsylvania, and he is even narrowly
in must-win Florida.                                     behind in must-win Florida.
Democrats raised substantially more money than           Democrats raised substantially more money than
Republicans did in the first quarter in the most piv-    Republicans did in the first quarter in the most piv-
otal congressional races, according to recent cam-       otal congressional races, according to recent cam-
paign finance reports. And while Mr. Trump is            paign finance reports. And while Mr. Trump is
well ahead in money compared with the presumptive        well ahead in money compared with the presumptive
Democratic nominee, Joseph R. Biden Jr., Demo-           Democratic nominee, Joseph R. Biden Jr., Demo-
cratic donors are only beginning to focus on the gen-    cratic donors are only beginning to focus on the gen-
eral election, and several super PACs plan to spend      eral election, and several super PACs plan to spend
heavily on behalf of him and the party.                  heavily on behalf of him and the party.
Perhaps most significantly, Mr. Trump’s single best      Perhaps most significantly, Mr. Trump’s single best
advantage as an incumbent — his access to the bully      advantage as an incumbent — his access to the bully
pulpit — has effectively become a platform for self-     pulpit — has effectively become a platform for self-
sabotage.                                                sabotage.
His daily news briefings on the coronavirus outbreak     His daily news briefings on the coronavirus outbreak
are inflicting grave damage on his political standing,   are inflicting grave damage on his political standing,
Republicans believe, and his recent remarks about        Republicans believe, and his recent remarks about
combating the virus with sunlight and disinfectant       combating the virus with sunlight and disinfectant
were a breaking point for a number of senior party       were a breaking point for a number of senior party
officials.                                               officials.
On Friday, Mr. Trump conducted only a short brief-       On Friday evening, Mr. Trump conducted only a
ing and took no questions, a format that a senior        short briefing and took no questions, a format that
administration official said was being discussed as      a senior administration official said was being dis-
the best option for the president going forward.         cussed as the best option for the president going
Publicly, Mr. Trump                                      forward.
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Example 87: How Can We Achieve Herd Immunity Experts Are Quietly Upping the Number
https://www.nytimes.com/2020/12/24/health/herd-immunity-covid-coronavirus.html
Copyright number: TX 8-940-939 Effective Date: 2021-02-03
  Prompt (taken from article):
     At what point does a country achieve herd immunity? What portion of the population must acquire
  resistance to the coronavirus, either through infection or vaccination, in order for the disease to fade
  away and life to return to normal?
     Since the start of the pandemic, the figure that many epidemiologists have offered has been 60 to
  70 percent. That range is still cited by the World Health Organization and is often repeated during
  discussions of the future course of the disease.
     Although
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                 CONTENT FROM THE NEW YORK TIMES              105

Output from GPT-4:                                       Actual text from NYTimes:
it is impossible to know with certainty what the limit   it is impossible to know with certainty what the limit
will be until we reach it and transmission stops, re-    will be until we reach it and transmission stops, hav-
cently, a figure to whom millions have turned for an-    ing a good estimate is important: It gives Americans
swers — Dr. Anthony S. Fauci, an adviser to both         a sense of when we can hope to breathe freely again.
the Trump administration and the incoming Biden          Recently, a figure to whom millions of Americans
administration — has begun incrementally raising         look for guidance — Dr. Anthony S. Fauci, an ad-
his herd-immunity estimate.                              viser to both the Trump administration and the in-
In the pandemic’s early days, Dr. Fauci tended to        coming Biden administration — has begun incre-
cite the same 60 to 70 percent estimate that most        mentally raising his herd-immunity estimate.
experts did. About a month ago, he began saying          In the pandemic’s early days, Dr. Fauci tended to
“70, 75 percent” in television interviews. And last      cite the same 60 to 70 percent estimate that most
week, in an interview with CNBC News, he said “75,       experts did. About a month ago, he began saying
80, 85 percent” and “75 to 80-plus percent.”             “70, 75 percent” in television interviews. And last
In a telephone interview the next day, Dr. Fauci         week, in an interview with CNBC News, he said “75,
acknowledged that he had slowly but deliberately         80, 85 percent” and “75 to 80-plus percent.”
been moving the goal posts. He is doing so, he said,     In a telephone interview the next day, Dr. Fauci
partly based on new science, and partly on his gut       acknowledged that he had slowly but deliberately
feeling that the country is finally ready to hear what   been moving the goal posts. He is doing so, he said,
he really thinks.                                        partly based on new science, and partly on his gut
Hard as it may be to hear, he said, he believes that     feeling that the country is finally ready to hear what
it may take close to 90 percent immunity to bring        he really thinks.
the virus to a halt — almost as much as is needed        Hard as it may be to hear, he said, he believes that
to stop a measles outbreak.                              it may take close to 90 percent immunity to bring
Asked about Dr. Fauci’s conclusions, prominent epi-      the virus to a halt — almost as much as is needed
demiologists said that he might be proven right. The     to stop a measles outbreak.
early range of 60 to 70 percent was almost undoubt-      Asked about Dr. Fauci’s conclusions, prominent epi-
edly too low, they said, and the virus is becoming       demiologists said that he might be proven right. The
more transmissible, so it will take greater herd im-     early range of 60 to 70 percent was almost undoubt-
munity to stop it.                                       edly too low, they said, and the virus is becoming
Dr. Fauci’s statements come at a time when more          more transmissible, so it will take greater herd im-
than a third of Americans say in polls that they         munity to stop it.
do not want to take a vaccine, a stance that if un-      Dr. Fauci said that weeks ago, he had hesitated to
changed could undermine the collective immunity          publicly raise his estimate because many Americans
that is needed to stop the pandemic.Dr. Fauci said       seemed hesitant about vaccines, which they would
that he may have been moving the goal posts              need to accept almost universally in order for the
                                                         country to achieve herd immunity.
                                                         Now that some polls are showing that many more
                                                         Americans are ready, even eager, for vaccines, he
                                                         said he felt he could deliver the tough message that
                                                         the return to normal might take longer than antici-
                                                         pated.
                                                         “When polls said only about half of all Americans
                                                         would take a vaccine, I was saying herd immunity
                                                         would take 70 to 75 percent,” Dr. Fauci said
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                  Example 88: Scientists Find Hints of Life in Clouds of Venus
https://www.nytimes.com/2020/09/14/science/venus-life-clouds.html
Copyright number: TX 8 919-710 Effective Date: 2020-11-04
  Prompt (taken from article):
    High in the toxic atmosphere of the planet

Output from GPT-4:                                       Actual text from NYTimes:
Venus, astronomers on Earth have discovered signs        Venus, astronomers on Earth have discovered signs
of what might be life.                                   of what might be life.
If the discovery is confirmed by additional telescope    If the discovery is confirmed by additional telescope
observations and future space missions, it could turn    observations and future space missions, it could turn
the gaze of scientists to one of the brightest objects   the gaze of scientists toward one of the brightest ob-
in the night sky. Venus, named after the Roman           jects in the night sky. Venus, named after the Ro-
goddess of beauty, roasts at temperatures of hun-        man goddess of beauty, roasts at temperatures of
dreds of degrees and is cloaked by clouds that con-      hundreds of degrees and is cloaked by clouds that
tain droplets of corrosive sulfuric acid. Few have       contain droplets of corrosive sulfuric acid. Few have
focused on the rocky planet as a habitat for some-       focused on the rocky planet as a habitat for some-
thing living.                                            thing living.
Instead, for decades, scientists have sought signs of    Instead, for decades, scientists have sought signs of
life elsewhere, usually peering outward to Mars and      life elsewhere, usually peering outward to Mars and
more recently at Europa, Enceladus and other icy         more recently at Europa, Enceladus and other icy
moons of the giant planets.                              moons of the giant planets.
The astronomers who reported the finding on Mon-         The astronomers, who reported the finding on Mon-
day have not collected specimens of Venusian mi-         day in a pair of papers, have not collected speci-
crobes, nor have they snapped any pictures of them.      mens of Venusian microbes, nor have they snapped
But with powerful telescopes, they have detected         any pictures of them. But with powerful telescopes,
a chemical — phosphine — in the high clouds of           they have detected a chemical — phosphine — in
Venus. After much analysis, the scientists assert        the thick Venus atmosphere. After much analysis,
that something now alive is the only explanation for     the scientists assert that something now alive is the
the chemical’s source.                                   only explanation for the chemical’s source.
Some researchers question this hypothesis, and they      Some researchers question this hypothesis, and they
suggest instead that the gas could result from un-       suggest instead that the gas could result from un-
explained atmospheric or geologic processes on a         explained atmospheric or geologic processes on a
planet that remains mysterious. But the finding          planet that remains mysterious. But the finding
will also encourage some planetary scientists to ask     will also encourage some planetary scientists to ask
whether humanity has overlooked a planet that may        whether humanity has overlooked a planet that may
have once been more Earthlike than any other world       have once been more Earthlike than any other world
in our solar system.                                     in our solar system.
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      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING        CONTENT FROM THE NEW YORK TIMES       107

       Example 89: Mexico Moves to Make Marijuana Legal as Canada Has Done
https://www.nytimes.com/2021/03/10/world/americas/mexico-cannabis-bill.html
Copyright number: TX 8-977-327 Effective Date: 2021-05-04
 Prompt (taken from article):
   MEXICO CITY — Lawmakers in Mexico approved a bill Wednesday night to legalize recreational
 marijuana, a milestone for the
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Output from GPT-4:                                      Actual text from NYTimes:
country, which is in the throes of a drug war and       country, which is in the throes of a drug war and
could become the world’s largest cannabis market,       could become the world’s largest cannabis market,
leaving the United States between two pot-selling       leaving the United States between two pot-selling
neighbors.                                              neighbors.
The 316-to-129 vote in Mexico’s lower house, the        The 316-to-129 vote in Mexico’s lower house, the
Chamber of Deputies, came more than two years af-       Chamber of Deputies, came more than two years af-
ter the Mexican Supreme Court ruled that the coun-      ter the Mexican Supreme Court ruled that the coun-
try’s ban on recreational marijuana was unconstitu-     try’s ban on recreational marijuana was unconstitu-
tional and more than three years after the country      tional and more than three years after the country
legalized medicinal cannabis.                           legalized medicinal cannabis.
The chamber approved the bill in general terms          The chamber approved the bill in general terms
Wednesday evening before moving on to a lengthy         Wednesday evening before moving on to a lengthy
discussion of possible revisions introduced by indi-    discussion of possible revisions introduced by indi-
vidual lawmakers. In its final form, though, the        vidual lawmakers. In its final form, though, the
measure is widely expected to sail through the Sen-     measure is widely expected to sail through the Sen-
ate before being sent to President Andrés Manuel       ate before being sent to President Andrés Manuel
López Obrador, who has signaled support for legal-     López Obrador, who has signaled support for legal-
ization.                                                ization.
The measure, which is likely to face legal challenges   The measure, as of Wednesday night, would allow
from opponents, would allow adults to smoke mar-        adults to smoke marijuana and, with a permit, grow
ijuana and, with a permit, grow a small number of       a small number of cannabis plants at home. It would
cannabis plants at home. It would also grant licenses   also grant licenses for producers — from small farm-
for producers — from small farmers to commercial        ers to commercial growers — to cultivate and sell the
growers — to cultivate and sell the crop.               crop.
“Today we are in a historic moment,” said Simey         “Today we are in a historic moment,” said Simey
Olvera, a lawmaker with the governing Morena            Olvera, a lawmaker with the governing Morena
party. “With this, the false belief that cannabis is    party. “With this, the false belief that cannabis is
part of Mexico’s serious health problems is left be-    part of Mexico’s serious public health problems is
hind.”                                                  left behind.”
If enacted, Mexico would join Canada and Uruguay        If enacted, Mexico would join Canada and Uruguay
in a small but growing list of countries that have      in a small but growing list of countries that have
legalized marijuana in the Americas, adding further     legalized marijuana in the Americas, adding further
momentum to the legalization movement in the re-        momentum to the legalization movement in the re-
gion. In the United States, Democrats in the Senate     gion. In the United States, Democrats in the Senate
have also promised to scrap federal prohibition of      have also promised to scrap federal prohibition of
the drug this year.                                     the drug this year.
For “Mexico, given its size and its worldwide repu-     For “Mexico, given its size and its worldwide repu-
tation for being damaged by the drug war, to take       tation for being damaged by the drug war, to take
a step of this magnitude is enormously significant,”    this step is enormously significant,” said
said Marielena Hincapié, an executive director at
the National Immigration Law Center. “Mindsets
are changing.”
The law would also be a shift from the policies
of many of Mexico’s cartel-fighting presidents, who
have for years railed against drug use and have
stayed firm in their opposition even as many of their
Latin American counterparts have changed course.
The bill’s passage is a coup for Mr.López Obrador,
who has
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES               109

                Example 90: Less Sleep in Middle Age May Raise Dementia Risk
https://www.nytimes.com/2021/04/20/health/sleep-dementia-risk.html
Copyright number: TX 8-983-238 Effective Date: 2021-06-02
  Prompt (taken from article):
    Could getting too little sleep increase your chances of developing dementia?
    For years, researchers have pondered this and other questions about how sleep relates to cognitive
  decline. Answers
Output from GPT-4:                                        Actual text from NYTimes:
have been elusive because it is hard to know if insuf-    have been elusive because it is hard to know if insuf-
ficient sleep is a symptom of the brain changes that      ficient sleep is a symptom of the brain changes that
underlie dementia — or if it can actually help cause      underlie dementia — or if it can actually help cause
those changes.                                            those changes.
Now, a large new study reports some of the most           Now, a large new study reports some of the most
persuasive findings yet to suggest that people who        persuasive findings yet to suggest that people who
don’t get enough sleep in their 50s and 60s may be        don’t get enough sleep in their 50s and 60s may be
more likely to develop dementia when they are older.      more likely to develop dementia when they are older.
The research, published Tuesday in the journal Na-        The research, published Tuesday in the journal Na-
ture Communications, has limitations but also sev-        ture Communications, has limitations but also sev-
eral strengths. It followed nearly 8,000 people in        eral strengths. It followed nearly 8,000 people in
Britain for about 25 years, beginning when they           Britain for about 25 years, beginning when they
were 50 years old. It found that those who consis-        were 50 years old. It found that those who consis-
tently reported sleeping six hours or less on an av-      tently reported sleeping six hours or less on an av-
erage weeknight were about 30 percent more likely         erage weeknight were about 30 percent more likely
than people who regularly got seven hours sleep (de-      than people who regularly got seven hours sleep (de-
fined as “normal” by the study) to be diagnosed with      fined as “normal” sleep in the study) to be diagnosed
dementia nearly three decades later.                      with dementia nearly three decades later.
“It would be really unlikely that almost three            “It would be really unlikely that almost three
decades earlier this sleep was a symptom of demen-        decades earlier, this sleep was a symptom of demen-
tia, so it’s a great study in providing strong evidence   tia, so it’s a great study in providing strong evidence
that sleep is really a risk factor,” said Dr. Kristine    that sleep is really a risk factor,” said Dr. Kristine
Yaffe, a professor of neurology and psychiatry at the     Yaffe, a professor of neurology and psychiatry at the
University of California, San Francisco, who was not      University of California, San Francisco, who was not
involved in the study.                                    involved in the study.
The study is “a very important piece of the puzzle,”      Pre-dementia brain changes like accumulations of
said Dr. Erik Musiek, a neurologist and co-director       proteins associated with Alzheimer’s are known to
of the Center on Biological Rhythms and Sleep at          begin about 15 to 20 years before people exhibit
Washington University in St. Louis, who was not           memory and thinking problems, so sleep patterns
involved in the study.                                    within that time frame could be considered an
                                                          emerging effect of the disease. That has posed a
                                                          “chicken or egg question of which comes first, the
                                                          sleep problem or the pathology,” said Dr. Erik
                                                          Musiek, a neurologist and co-director of the Cen-
                                                          ter on Biological Rhythms and Sleep at Washington
                                                          University in St. Louis, who was
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 Example 91: Factory MixUp Ruins 15 Million Doses Of Vaccine From Johnson & Johnson
https://www.nytimes.com/2021/03/31/us/politics/johnson-johnson-coronavirus-vaccine.html
Copyright number: TX 8-983-238 Effective Date: 2021-06-02
  Prompt (taken from article):
    WASHINGTON — Workers at a plant in Baltimore manufacturing two coronavirus vaccines acci-
  dentally conflated the ingredients several weeks ago, contaminating up to 15 million doses of Johnson
  & Johnson’s vaccine and forcing regulators to delay authorization of the plant’s production

Output from GPT-4:                                       Actual text from NYTimes:
lines, according to federal officials.                   lines.
The plant is run by Emergent BioSolutions, a man-        The plant is run by Emergent BioSolutions, a man-
ufacturing partner to both Johnson & Johnson and         ufacturing partner to both Johnson & Johnson and
AstraZeneca, the British-Swedish company whose           AstraZeneca, the British-Swedish company whose
vaccine has yet to be authorized for use in the United   vaccine has yet to be authorized for use in the United
States. Federal officials attributed the mistake to      States. Federal officials attributed the mistake to
human error.                                             human error.
The mix-up has halted future shipments of John-          The mix-up has delayed future shipments of John-
son & Johnson doses in the United States while the       son & Johnson doses in the United States while
Food and Drug Administration investigates. John-         the Food and Drug Administration investigates
son & Johnson has moved to strengthen its control        what occurred. Johnson & Johnson has moved to
over Emergent BioSolutions’ work to avoid further        strengthen its control over Emergent BioSolutions’
quality lapses.                                          work to avoid additional quality lapses.
The mistake is a major embarrassment both for            The mistake is a major embarrassment both for
Johnson & Johnson, whose one-dose vaccine has            Johnson & Johnson, whose one-dose vaccine has
been credited with speeding up the national im-          been credited with speeding up the national immu-
munization program, and for Emergent, a company          nization program, and for Emergent, its subcontrac-
that has faced fierce criticism for its heavy lobbying   tor, which has faced fierce criticism for its heavy lob-
for federal contracts, especially for the government’s   bying for federal contracts, especially for the govern-
emergency health stockpile.                              ment’s emergency health stockpile.
The error does not affect any Johnson & Johnson          The error does not affect any Johnson & Johnson
doses that are currently being delivered and used        doses that are currently being delivered and used
nationwide, including the shipments that states are      nationwide, including the shipments that states are
counting on next week. All those doses were pro-         counting on next week. All those doses were pro-
duced in the Netherlands, where operations have          duced in the Netherlands, where operations have
been fully approved by federal regulators.               been fully approved by federal regulators.
Further shipments of the Johnson & Johnson vaccine       Further shipments of the Johnson & Johnson vac-
— expected to total 24 million doses in the next         cine — expected to total 24 million doses in the
month — were supposed to come from the giant             next month — were supposed to come from the gi-
plant in East Baltimore. Those deliveries are now in     ant plant in Baltimore. Those deliveries are now in
question while the quality control issues are sorted     question while the quality control issues are sorted
out, according to people familiar with the matter.       out, according to people familiar with the matter.
Federal officials still expect to have enough doses      Federal officials still expect to have enough doses
to meet President Biden’s commitment to provide          from Johnson & Johnson and the other two ap-
enough vaccine to immunize every adult by the end        proved coronavirus vaccine makers to meet Presi-
of May. The two other federally authorized man-          dent Biden’s commitment to provide enough vaccine
ufacturers, Pfizer-BioNTech and Moderna, are con-        to immunize every adult by the end of May.
tinuing to deliver as expected.                          Pfizer is shipping its doses ahead of schedule, and
Pfizer is shipping its doses ahead of schedule, and      Moderna is on the verge of winning approval to de-
Moderna is on the verge of winning approval to de-       liver vials of vaccine packed with up to 15 doses
liver vials of vaccine packed with up to 15 doses        instead of 10, further bolstering the nation’s stock.
instead of 10, further bolstering the nation’s stock.
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                  CONTENT FROM THE NEW YORK TIMES               111

             Example 92: Over 100 Republicans Threaten to Split From the Party
https://www.nytimes.com/2021/05/11/us/politics/republicans-third-party-trump.html
Copyright number: TX 8-994-252 Effective Date: 2021-07-07
  Prompt (taken from article):
    More than 100 Republicans, including some former elected officials, are preparing to release a letter

Output from GPT-4:                                        Actual text from NYTimes:
this week threatening to form a third party if the        this week threatening to form a third party if the
Republican Party does not make certain changes,           Republican Party does not make certain changes,
according to an organizer of the effort.                  according to an organizer of the effort.
The statement is expected to take aim at former           The statement is expected to take aim at former
President Donald J. Trump’s stranglehold on Re-           President Donald J. Trump’s stranglehold on Re-
publicans, which signatories to the document have         publicans, which signatories to the document have
deemed unconscionable.                                    deemed unconscionable.
“When in our democratic republic, forces of con-          “When in our democratic republic, forces of con-
spiracy, division, and despotism arise, it is the pa-     spiracy, division, and despotism arise, it is the pa-
triotic duty of citizens to act collectively in defense   triotic duty of citizens to act collectively in defense
of liberty and justice,” reads the preamble to the        of liberty and justice,” reads the preamble to the
full statement, which is expected to be released on       full statement, which is expected to be released on
Thursday.                                                 Thursday.
The effort comes as House Republican leaders are          The effort comes as House Republican leaders are
expected on Wednesday to oust Representative Liz          expected on Wednesday to oust Representative Liz
Cheney of Wyoming from their ranks because of her         Cheney of Wyoming from their ranks because of her
outspoken criticism of Mr. Trump’s election lies.         outspoken criticism of Mr. Trump’s election lies.
“This is a first step,” said Miles Taylor, an organizer   “This is a first step,” said Miles Taylor, an organizer
of the effort and a former Trump-era Department of        of the effort and a former Trump-era Department of
Homeland Security official who anonymously wrote          Homeland Security official who anonymously wrote
a book condemning the Trump administration. In            a book condemning the Trump administration. In
October, Mr. Taylor acknowledged he was the au-           October, Mr. Taylor acknowledged he was the au-
thor of both the book and a 2018 New York Times           thor of both the book and a 2018 New York Times
Op-Ed article.                                            Op-Ed article.
“This is us saying that a group of more than 100          “This is us saying that a group of more than 100
prominent Republicans think that the situation has        prominent Republicans think that the situation has
gotten so dire with the Republican Party that it is       gotten so dire with the Republican Party that it is
now time to seriously consider whether an alterna-        now time to seriously consider whether an alterna-
tive might be the only option,” he said.                  tive might be the only option,” he said.
The list of people signing the statement includes for-    The list of people signing the statement includes for-
mer officials at both the state and national level who    mer officials at both the state and national level who
once were governors, members of Congress, ambas-          once were governors, members of Congress, ambas-
sadors, cabinet secretaries, state legislators and Re-    sadors, cabinet secretaries, state legislators and Re-
publican Party chairmen, Mr. Taylor said.                 publican Party chairmen, Mr. Taylor said.
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112       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

                    Example 93: How the Brain Is Attacked by an Infection
https://www.nytimes.com/2020/09/09/health/coronavirus-brain.html
Copyright number: TX 8 919-710 Effective Date: 2020-11-04
  Prompt (taken from article):
    The coronavirus targets the lungs foremost, but also the kidneys, liver and blood vessels. Still, about
  half of patients report neurological symptoms, including headaches, confusion and delirium, suggesting
  the virus may also attack the brain.
    A new study offers the first clear evidence
     Case 1:23-cv-11195-SHS-OTW                 Document 1-68         Filed 12/27/23        Page 114 of 127
        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                    CONTENT FROM THE NEW YORK TIMES                113

Output from GPT-4:                                          Actual text from NYTimes:
that, in some people, the coronavirus invades brain         that, in some people, the coronavirus invades brain
cells, hijacking them to make copies of itself. The         cells, hijacking them to make copies of itself. The
virus also seems to suck up all of the oxygen nearby,       virus also seems to suck up all of the oxygen nearby,
starving neighboring cells to death.                        starving neighboring cells to death.
It’s unclear how the virus gets to the brain or how         It’s unclear how the virus gets to the brain or how
often it sets off this trail of destruction. Infection of   often it sets off this trail of destruction. Infection of
the brain is likely to be rare, but some people may         the brain is likely to be rare, but some people may
be susceptible because of their genetic backgrounds,        be susceptible because of their genetic backgrounds,
a high viral load or other reasons.                         a high viral load or other reasons.
“If the brain does become infected, it could have a         “If the brain does become infected, it could have a
lethal consequence,” said Akiko Iwasaki, an immu-           lethal consequence,” said Akiko Iwasaki, an immu-
nologist at Yale University who led the work.               nologist at Yale University who led the work.
The study was posted online on Wednesday and has            The study was posted online on Wednesday and has
not yet been vetted by experts for publication. But         not yet been vetted by experts for publication. But
several researchers said it was careful and elegant,        several researchers said it was careful and elegant,
showing in multiple ways that the virus can infect          showing in multiple ways that the virus can infect
brain cells.                                                brain cells.
Scientists have had to rely on brain imaging and            Scientists have had to rely on brain imaging and
patient symptoms to infer effects on the brain, but         patient symptoms to infer effects on the brain, but
“we hadn’t really seen much evidence that the virus         “we hadn’t really seen much evidence that the virus
can infect the brain, even though we knew it was            can infect the brain, even though we knew it was a
a potential possibility,” said Dr. Michael Zandi, a         potential possibility,” said Dr. Michael Zandi, con-
consultant neurologist at the National Hospital for         sultant neurologist at the National Hospital for Neu-
Neurology and Neurosurgery in Britain. “This data           rology and Neurosurgery in Britain. “This data just
just provides a little bit more evidence that it cer-       provides a little bit more evidence that it certainly
tainly can.”                                                can.”
Dr. Zandi and his colleagues published research in          Dr. Zandi and his colleagues published research in
July showing that some patients with Covid-19, the          July showing that some patients with Covid-19, the
illness caused by the coronavirus, develop serious          illness caused by the coronavirus, develop serious
neurological complications, including nerve damage.         neurological complications, including nerve damage.
In the new study, Dr. Iwasaki and her colleagues            In the new study, Dr. Iwasaki and her colleagues
documented brain infection in three ways: in brain          documented brain infection in three ways: in brain
tissue from a person who died of Covid-19, in a             tissue from a person who died of Covid-19, in a
mouse model and in organoids — clusters of brain            mouse model and in organoids — clusters of brain
cells in a lab dish meant to mimic the brain’s three-       cells in a lab dish meant to mimic the brain’s three-
dimensional structure.                                      dimensional structure.
Other pathogens — including the Zika virus — are            Other pathogens — including the Zika virus — are
known to infect brain cells. Limited evidence from          known to infect brain cells. Immune cells then flood
autopsies suggests that the coronavirus can reach           the damaged sites, trying to cleanse the brain by
the brain, but until now, there was no proof that it        destroying infected cells.
could invade brain cells.                                   The coronavirus is much stealthier: It exploits the
The researchers also found that the virus can               brain cells’ machinery to multiply, but doesn’t de-
                                                            stroy them. Instead, it chokes off oxygen to adjacent
                                                            cells, causing them to wither and die.
                                                            The researchers
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114        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

                  Example 94: Despite Timely Alerts Trump Was Slow to Act
https://www.nytimes.com/2020/04/11/us/politics/coronavirus-trump-response.html
Copyright number: TX 8-884-515 Effective Date: 2020-06-04
  Prompt (taken from article):
     WASHINGTON — “Any way you cut it, this is going to be bad,” a senior medical adviser at the
  Department of Veterans Affairs, Dr. Carter Mecher, wrote on the night of Jan. 28, in an email to a
  group of public health experts scattered around the government and universities. “The projected size
  of the outbreak already seems hard to believe.”
     A week after the first coronavirus case had been identified in the United States, and six long weeks
  before President Trump finally took aggressive action to confront the danger the nation was

Output from GPT-4:                                       Actual text from NYTimes:
facing — a pandemic that is now forecast to take         facing — a pandemic that is now forecast to take
tens of thousands of American lives — Dr. Mecher         tens of thousands of American lives — Dr. Mecher
was urging the upper ranks of the nation’s public        was urging the upper ranks of the nation’s public
health bureaucracy to wake up and prepare for the        health bureaucracy to wake up and prepare for the
possibility of far more drastic action.                  possibility of far more drastic action.
“You guys made fun of me screaming to close the          “You guys made fun of me screaming to close the
schools,” he wrote to the group, which called itself     schools,” he wrote to the group, which called itself
“Red Dawn,” an inside joke based on the 1984 movie       “Red Dawn,” an inside joke based on the 1984 movie
about a band of Americans trying to save the coun-       about a band of Americans trying to save the coun-
try after a foreign invasion. “Now I’m screaming,        try after a foreign invasion. “Now I’m screaming,
close the colleges and universities.”                    close the colleges and universities.”
His was hardly a lone voice. Throughout January,         His was hardly a lone voice. Throughout January,
as Mr. Trump repeatedly played down the serious-         as Mr. Trump repeatedly played down the serious-
ness of the virus and focused on other issues, an        ness of the virus and focused on other issues, an
array of figures inside his government — from top        array of figures inside his government — from top
White House advisers to experts deep in the cabinet      White House advisers to experts deep in the cabinet
departments and intelligence agencies — identified       departments and intelligence agencies — identified
the threat, sounded alarms and made clear the need       the threat, sounded alarms and made clear the need
for aggressive action.                                   for aggressive action.
The president, though, was slow to absorb the scale      The president, though, was slow to absorb the scale
of the risk and to act accordingly, focusing instead     of the risk and to act accordingly, focusing instead
on controlling the message, protecting gains in the      on controlling the message, protecting gains in the
stock market and batting away warnings from senior       economy and batting away warnings from senior of-
officials. It was a problem, he said, that had come      ficials. It was a problem, he said, that had come out
out of nowhere and could not have been foreseen.         of nowhere and could not have been foreseen.
Even after Mr. Trump took his first concrete ac-         Even after Mr. Trump took his first concrete ac-
tion at the end of January — limiting travel from        tion at the end of January — limiting travel from
China — public health often had to compete with          China — public health often had to compete with
economic and political considerations in internal de-    economic and political considerations in internal de-
bates, slowing the path toward belated decisions to      bates, slowing the path toward belated decisions to
seek more money from Congress, obtain necessary          seek more money from Congress, obtain necessary
supplies, address shortfalls in testing and ultimately   supplies, address shortfalls in testing and ultimately
move to keep much of the nation at home.                 move to keep much of the nation at home.
Unfolding as it did in the wake of impeachment pro-      Unfolding as it did in the wake of his impeachment
ceedings and in the midst of                             by the House and in the midst of
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       ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING             CONTENT FROM THE NEW YORK TIMES           115

       Example 95: Gaetz Said to Face US Inquiry Over Sex With an Underage Girl
https://www.nytimes.com/2021/03/30/us/politics/matt-gaetz-sex-trafficking-investigation.html
Copyright number: TX 8-977-327 Effective Date: 2021-05-04
  Prompt (taken from article):
    Representative Matt Gaetz, Republican of Florida and a close ally of former President Donald J.
  Trump, is being investigated by the

Note: The Justice Department subsequently decided not to bring charges against Representative Matt Gaetz.
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116        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

  Output from GPT-4:                                         Actual text from NYTimes:
  Department of Justice over whether he had a sexual         Justice Department over whether he had a sexual
  relationship with a 17-year-old and paid for her to        relationship with a 17-year-old and paid for her to
  travel with him, according to three people briefed         travel with him, according to three people briefed
  on the matter.                                             on the matter.
  Investigators are examining whether Mr. Gaetz vio-         Investigators are examining whether Mr. Gaetz vio-
  lated federal sex trafficking laws, the people said. A     lated federal sex trafficking laws, the people said. A
  variety of federal statutes make it illegal to induce      variety of federal statutes make it illegal to induce
  someone under 18 to travel over state lines to engage      someone under 18 to travel over state lines to engage
  in sex in exchange for money or something of value.        in sex in exchange for money or something of value.
  The Justice Department regularly prosecutes such           The Justice Department regularly prosecutes such
  cases, and offenders often receive severe sentences.       cases, and offenders often receive severe sentences.
  It was not clear how Mr. Gaetz met the girl, believed      It was not clear how Mr. Gaetz met the girl, believed
  to be 17 at the time of encounters about two years         to be 17 at the time of encounters about two years
  ago that investigators are scrutinizing, according to      ago that investigators are scrutinizing, according to
  two of the people.                                         two of the people.
  The investigation was opened in the final months of        The investigation was opened in the final months of
  the Trump administration under Attorney General            the Trump administration under Attorney General
  William P. Barr, the two people said. Given Mr.            William P. Barr, the two people said. Given Mr.
  Gaetz’s national profile, senior Justice Department        Gaetz’s national profile, senior Justice Department
  officials in Washington — including some appointed         officials in Washington — including some appointed
  by Mr. Trump — were notified of the investigation,         by Mr. Trump — were notified of the investigation,
  the people said.                                           the people said.
  The three people said that the examination of Mr.          [Read more on what we know about the investiga-
  Gaetz, 38, is part of a broader investigation into a       tion of Matt Gaetz.]
  political ally of his, a local official in Florida named   The three people said that the examination of Mr.
  Joel Greenberg, who was indicted last summer on            Gaetz, 38, is part of a broader investigation into a
  an array of charges, including sex trafficking of a        political ally of his, a local official in Florida named
  child and financially supporting people in exchange        Joel Greenberg, who was indicted last summer on
  for sex, at least one of whom was an underage girl.        an array of charges, including sex trafficking of a
  Mr. Gaetz, who has denied that he had a relation-          child and financially supporting people in exchange
  ship with a 17-year-old,said in an interview that his      for sex, at least one of whom was an underage girl.
  lawyers had been in touch with the Justice Depart-         Mr. Greenberg, who has since resigned his post as
  ment and that he was the subject, not the target,          tax collector in Seminole County, north of Orlando,
  of an investigation. “I only know that it has to do        visited the White House with Mr. Gaetz in 2019, ac-
  with women,” Mr. Gaetz said. “I have a suspicion           cording to a photograph that Mr. Greenberg posted
  that someone is trying to recategorize my generosity       on Twitter.
  to ex-girlfriends as something more untoward.”             No charges have been brought against Mr. Gaetz,
                                                             and the extent of his criminal exposure is unclear.
                                                             Mr. Gaetz said in an interview that his lawyers had
                                                             been in touch with the Justice Department and that
                                                             they were told he was the subject, not the target,
                                                             of an investigation. “I only know that it has to do
                                                             with women,” Mr. Gaetz said. “I have a suspicion
                                                             that someone is trying to recategorize my generosity
                                                             to ex-girlfriends as something more untoward.”
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      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES             117

        Example 96: A Lab Pushed for Early Tests But Federal Officials Said No
https://www.nytimes.com/2020/03/10/us/coronavirus-testing-delays.html
Copyright number: TX 8-875-175 Effective Date: 2020-05-04
 Prompt (taken from article):
    Dr. Helen Y. Chu, an infectious disease expert in Seattle, knew that the United States did not have
 much time.
    In late January, the first confirmed American case of the coronavirus had landed in her area. Critical
 questions needed answers: Had the man infected anyone else? Was the deadly virus already lurking in
 other communities and spreading?
    As luck would have it, Dr. Chu had a way to monitor the region. For months, as part of a research
 project into the flu, she and a team of researchers had been collecting nasal swabs from residents
 experiencing symptoms throughout the Puget Sound region.
    To repurpose the tests for monitoring the coronavirus, they would need the support of state and federal
 officials. But nearly everywhere Dr. Chu turned, officials repeatedly rejected the idea, interviews and
 emails show, even as weeks crawled by and outbreaks emerged in countries outside of China, where the
 infection began.
    By Feb. 25, Dr. Chu and her colleagues could not bear to wait any longer.
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118        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

Output from GPT-4:                                         Actual text from NYTimes:
They began performing coronavirus tests, without           They began performing coronavirus tests, without
government approval.                                       government approval.
What came back confirmed their worst fear. They            What came back confirmed their worst fear. They
quickly had a positive test from a local teenager          quickly had a positive test from a local teenager
with no recent travel history. The coronavirus had         with no recent travel history. The coronavirus had
already established itself on American soil without        already established itself on American soil without
anybody realizing it.                                      anybody realizing it.
“It must have been here this entire time,” Dr. Chu         “It must have been here this entire time,” Dr. Chu
recalled thinking. “It’s just everywhere already.”         recalled thinking with dread. “It’s just everywhere
In fact, officials would later discover through testing,   already.”
the virus had already contributed to the deaths of         In fact, officials would later discover through testing,
two people, and it would go on to kill 20 more in the      the virus had already contributed to the deaths of
Seattle region over the following days.                    two people, and it would go on to kill 20 more in the
Federal and state officials said the flu study could       Seattle region over the following days.
not be repurposed because it did not have explicit         Federal and state officials said the flu study could
permission from research subjects; the labs were also      not be repurposed because it did not have explicit
not certified for clinical work. While acknowledging       permission from research subjects; the labs were also
the ethical questions, Dr. Chu and others argued           not certified for clinical work. While acknowledging
there should be more flexibility in an emergency dur-      the ethical questions, Dr. Chu and others argued
ing which so many lives could be lost. On Monday           there should be more flexibility in an emergency dur-
night, state regulators told them to stop testing al-      ing which so many lives could be lost. On Monday
together.                                                  night, state regulators told them to stop testing al-
The failure to tap into the flu study was just one in      together.
a series of missed chances by the federal government       The failure to tap into the flu study, detailed here
to ensure more widespread testing during the early         for the first time, was just one in a series of missed
days of the outbreak, when containment would have          chances by the federal government to ensure more
been easier. Instead, local officials across the coun-     widespread testing during the early days of the out-
try were left to operate in the dark as the crisis grew    break, when containment would have been easier.
undetected and exponentially.                              Instead, local officials across the country were left
Even now, after weeks of mounting frustration to-          to work in the dark as the crisis grew undetected
ward federal agencies over flawed test kits and bur-       and exponentially.
densome rules, states with growing cases such as           Even now, after weeks of mounting frustration to-
New York and California are struggling to test             ward federal agencies over flawed test kits and bur-
widely for the coronavirus. The continued delays           densome rules, states with growing cases such as
have made it impossible for officials to get a true        New York and California are struggling to test
picture of the scale of the growing outbreak, which        widely for the coronavirus. The continued delays
has now spread to at least 36 states and                   have made it impossible for officials to get a true
                                                           picture of the scale of the growing outbreak, which
                                                           has now spread to at least 36 states and
    Case 1:23-cv-11195-SHS-OTW             Document 1-68       Filed 12/27/23      Page 120 of 127
      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING               CONTENT FROM THE NEW YORK TIMES            119

       Example 97: With WellTimed Bets Insiders Cash In on Sprint for a Vaccine
https://www.nytimes.com/2020/07/25/business/coronavirus-vaccine-profits-vaxart.html
Copyright number: TX 8-900-152 Effective Date: 2020-09-02
 Prompt (taken from article):
    On June 26, a small South San Francisco company called Vaxart made a surprise announcement: A
 coronavirus vaccine it was working on had been selected by the U.S. government to be part of Operation
 Warp Speed, the flagship federal initiative to quickly develop drugs to combat Covid-19.
    Vaxart’s shares soared. Company insiders, who weeks earlier had received stock options worth a few
 million dollars, saw the value of those awards increase sixfold. And a hedge fund that partly controlled
 the company walked away with more than $200 million in instant profits.
    The race is on to develop a coronavirus vaccine, and some companies and investors are betting that
 the winners stand to earn vast profits from selling hundreds of millions — or even billions — of doses
 to a desperate public.
    Across the pharmaceutical and medical industries, senior executives and board members are capital-
 izing on that dynamic.
    They are making millions of dollars after announcing positive developments, including support from
 the government, in their efforts
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120        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

Output from GPT-4:                                        Actual text from NYTimes:
to fight Covid-19. After such announcements, in-          to fight Covid-19. After such announcements, in-
siders from at least 11 companies — most of them          siders from at least 11 companies — most of them
smaller firms whose fortunes often hinge on the suc-      smaller firms whose fortunes often hinge on the suc-
cess or failure of a single drug — have sold shares       cess or failure of a single drug — have sold shares
worth well over $1 billion since March, according to      worth well over $1 billion since March, according to
figures compiled for The New York Times by Equi-          figures compiled for The New York Times by Equi-
lar, a data provider.                                     lar, a data provider.
In some cases, company insiders are profiting             In some cases, company insiders are profiting
from regularly scheduled compensation or automatic        from regularly scheduled compensation or automatic
stock trades. But in other situations, senior officials   stock trades. But in other situations, senior officials
appear to be pouncing on opportunities to cash out        appear to be pouncing on opportunities to cash out
while their stock prices are sky high. And some           while their stock prices are sky high. And some
companies have awarded stock options to executives        companies have awarded stock options to executives
shortly before market-moving announcements about          shortly before market-moving announcements about
their vaccine progress.                                   their vaccine progress.
The sudden windfalls highlight the powerful finan-        The sudden windfalls highlight the powerful finan-
cial incentives for company officials to generate pos-    cial incentives for company officials to generate pos-
itive headlines in the race for coronavirus vaccines      itive headlines in the race for coronavirus vaccines
and treatments, even if the drugs might never pan         and treatments, even if the drugs might never pan
out.                                                      out.
Some companies are attracting government scrutiny         Some companies are attracting government scrutiny
for potentially using their associations with Oper-       for potentially using their associations with Opera-
ation Warp Speed as a marketing ploy. For in-             tion Warp Speed as marketing ploys.
stance, the headline on Vaxart’s news release de-         For example, the headline on Vaxart’s news release
clared: “Vaxart’s Covid-19 Vaccine Selected for the       declared: “Vaxart’s Covid-19 Vaccine Selected for
U.S. Government’s Operation Warp Speed.” But the          the U.S. Government’s Operation Warp Speed.” But
reality is more complex.                                  the reality is more complex.
Vaxart’s vaccine candidate was included in a trial        Vaxart’s vaccine candidate was included in a trial
on primates that a federal agency was organizing          on primates that a federal agency was organizing
in conjunction with Operation Warp Speed. But             in conjunction with Operation Warp Speed. But
Vaxart is not among the companies selected to re-         Vaxart is not among the companies selected to re-
ceive significant financial support from Warp Speed       ceive significant financial support from Warp Speed
to produce hundreds of millions of vaccine doses.         to produce hundreds of millions of vaccine doses.
“The U.S. Department of Health and Human Ser-             “The U.S. Department of Health and Human Ser-
vices has entered into funding agreements with cer-       vices has entered into funding agreements with cer-
tain vaccine manufacturers, and we are negotiat-          tain vaccine manufacturers, and we are negotiat-
ing with others. Neither is the case with Vaxart,”        ing with others. Neither is the case with Vaxart,”
said Michael R. Caputo, the department’s assistant        said Michael R. Caputo, the department’s assistant
secretary for public affairs. “Vaxart’s vaccine can-      secretary for public affairs. “Vaxart’s vaccine can-
didate was selected to participate in preliminary         didate was selected to participate in preliminary
U.S. government studies to determine potential ar-        U.S. government studies to determine potential ar-
eas for possible Operation Warp Speed partnership         eas for possible Operation Warp Speed partnership
and support. At this time, those studies are ongo-        and support. At this time, those studies are ongo-
ing, and no determinations have been made.”               ing, and no determinations have been made.”
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      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES             121

      Example 98: New York Fraud Investigations Expand to Trump Tax WriteOffs
https://www.nytimes.com/2020/11/19/nyregion/trump-fraud-investigations-taxes.html
Copyright number: TX 8-932-123 Effective Date: 2021-01-05
 Prompt (taken from article):
    Two separate New York State fraud investigations into President Trump and his businesses, one
 criminal and one civil, have expanded to include tax write-offs on millions of dollars in consulting fees,
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122        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

Output from GPT-4:                                        Actual text from NYTimes:
some of which appear to have gone to Ivanka Trump,        some of which appear to have gone to Ivanka Trump,
according to people with knowledge of the matter.         according to people with knowledge of the matter.
The inquiries — a criminal investigation by the           The inquiries — a criminal investigation by the
Manhattan district attorney, Cyrus R. Vance Jr.,          Manhattan district attorney, Cyrus R. Vance Jr.,
and a civil one by the state attorney general, Letitia    and a civil one by the state attorney general, Letitia
James — are being conducted independently. But            James — are being conducted independently. But
both offices issued subpoenas to the Trump Organi-        both offices issued subpoenas to the Trump Organi-
zation in recent weeks for records related to the fees,   zation in recent weeks for records related to the fees,
the people said.                                          the people said.
The subpoenas were the latest steps in the two in-        The subpoenas were the latest steps in the two in-
vestigations of the Trump Organization, and un-           vestigations of the Trump Organization, and un-
derscore the legal challenges awaiting the president      derscore the legal challenges awaiting the president
when he leaves office in January. There is no indi-       when he leaves office in January. There is no indi-
cation that his daughter is a focus of either inquiry,    cation that his daughter is a focus of either inquiry,
which the Trump Organization has derided as polit-        which the Trump Organization has derided as polit-
ically motivated.                                         ically motivated.
The developments followed a recent New York Times         The development follows a recent New York Times
examination of more than two decades of Mr.               examination of more than two decades of Mr.
Trump’s tax-return data, which found that he had          Trump’s tax records, which found that he had
paid little or no federal income taxes in most years,     paid little or no federal income taxes in most years,
largely because he reported losing much more money        largely because of his chronic business losses.
than he made.                                             Among the revelations was that Mr. Trump reduced
Now, Mr. Vance and Ms. James are examining                his taxable income by deducting about $26 million in
whether the Trump Organization’s practices vio-           fees to unidentified consultants as a business expense
lated state laws. In the case of the consulting fees,     on numerous projects between 2010 and 2018.
they are looking into whether the Trumps reduced          Some of those fees appear to have been paid to
their taxable income by deducting large fees they         Ms. Trump, The Times found. On a 2017 dis-
paid to Ms. Trump and other Trump Organization            closure she filed when joining the White House as
executives.                                               a presidential adviser, she reported receiving pay-
The tax deductions were significant:Mr. Trump re-         ments from a consulting company she co-owned,
duced his taxable income by deducting about $26           totaling $747,622, that exactly matched consulting
million in fees to unidentified consultants as a busi-    fees claimed as tax deductions by the Trump Orga-
ness expense on numerous projects between 2010            nization for hotel projects in Hawaii and Vancouver,
and 2018.                                                 British Columbia.
Some of those fees appear to have been paid to Ms.        The subpoenas were focused on fees paid to the firm
Trump. On a 2017 disclosure she filed when join-          on her disclosures, TTT Consulting L.L.C., and rep-
ing the White House as a presidential adviser, she        resented just a portion of the $26 million, according
reported receiving payments from a consulting com-        to a person with knowledge of the matter. The name
pany she co-owned, totaling $747,622, that exactly        of the firm appears to be a reference to Ms. Trump
matched consulting fees claimed as tax deductions         and other members of her family.
by the Trump Organization for hotel projects in           Ms. Tru
Hawaii and Vancouver, British Columbia.
The subpoenas focused on fees paid to the firm on
her disclosures, TTT Consulting L.L.C., and repre-
sented just a portion of the $26 million, according to
a person with knowledge of the matter. The name
of the firm appears to be a reference to Ms. Trump
and other members of her family.
Ms. Tru
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      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING                CONTENT FROM THE NEW YORK TIMES             123

                    Example 99: New York Sues NRA in Bid To Dissolve It
https://www.nytimes.com/2020/08/06/us/ny-nra-lawsuit-letitia-james.html
Copyright number: TX 8-913-823 Effective Date: 2020-10-13
 Prompt (taken from article):
    New York’s attorney general issued an existential challenge to the National Rifle Association on Thurs-
 day, arguing in a lawsuit that years of runaway corruption and misspending demanded the dissolution
 of the nation’s most powerful gun rights lobby.
    While the legal confrontation could take years to play out, it constitutes yet another deep blow to an
 organization whose legendary political clout has been diminished by infighting and financial distress.
    The suit was swiftly followed by two others:
      Case 1:23-cv-11195-SHS-OTW             Document 1-68         Filed 12/27/23      Page 125 of 127
124        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

Output from GPT-4:                                       Actual text from NYTimes:
The N.R.A. struck back with a federal lawsuit            The N.R.A. struck back with a federal lawsuit
against the office of the attorney general, Letitia      against the office of the attorney general, Letitia
James, claiming her action was politically motivated     James, claiming her action was politically motivated
and violated the organization’s First Amendment          and violated the organization’s First Amendment
rights. And the attorney general of Washington,          rights. And the attorney general of Washington,
D.C., filed suit against the N.R.A. and its chari-       D.C., filed suit against the N.R.A. and its chari-
table foundation, alleging that the N.R.A. misused       table foundation, alleging that the N.R.A. misused
millions of dollars of the foundation’s funds.           millions of dollars of the foundation’s funds.
Ms. James — who has special jurisdiction over            Ms. James — who has special jurisdiction over
the N.R.A. because it was chartered as a non-            the N.R.A. because it was chartered as a non-
profit in New York 148 years ago — also sued four        profit in New York 148 years ago — also sued four
current or former N.R.A. leaders, seeking tens of        current or former N.R.A. leaders, seeking tens of
millions of dollars in restitution. In addition to       millions of dollars in restitution. In addition to
Wayne LaPierre, the longtime chief executive, they       Wayne LaPierre, the longtime chief executive, they
are John Frazer, the organization’s general coun-        are John Frazer, the organization’s general coun-
sel; Josh Powell, a former top lieutenant of Mr.         sel; Josh Powell, a former top lieutenant of Mr.
LaPierre; and Wilson Phillips, a former chief finan-     LaPierre; and Wilson Phillips, a former chief finan-
cial officer.                                            cial officer.
While allegations of mismanagement and lavish            While allegations of mismanagement and lavish
spending by Mr. LaPierre and others have emerged         spending by Mr. LaPierre and others have emerged
from the N.R.A.’s internecine warfare over the last      from the N.R.A.’s internecine warfare over the last
year, the New York suit lays out a broad litany of       year, the New York suit lays out a broad litany of
new allegations of corruption and greed from exec-       new allegations of corruption and greed from exec-
utives who Ms. James said “looted” the N.R.A.            utives who Ms. James said “looted” the N.R.A.
Mr. LaPierre is accused of raiding N.R.A. funds          Mr. LaPierre is accused of raiding N.R.A. funds
to bankroll an extravagant lifestyle, even though he     to bankroll an extravagant lifestyle, even though he
was already paid millions in direct compensation by      was already paid millions in direct compensation by
the organization.                                        the organization.
Over six and a half years, the suit said, a per-         Over six and a half years, the suit said, a per-
sonal travel consultant for Mr. LaPierre was paid        sonal travel consultant for Mr. LaPierre was paid
$13.5 million, largely on no-bid contracts. Private      $13.5 million, largely on no-bid contracts. Private
flights were chartered for Mr. LaPierre’s wife and his   flights were chartered for Mr. LaPierre’s wife and his
niece. He took frequent trips to the Bahamas on the      niece. He took frequent trips to the Bahamas on the
N.R.A.’s dime, often decamping to a 108-foot yacht       N.R.A.’s dime, often decamping to a 108-foot yacht
called “Illusions” that was owned by an N.R.A. con-      called “Illusions” that was owned by an N.R.A. con-
tractor and included a chef and four staterooms.         tractor and included a chef and four staterooms.
He lavished gifts from Neiman Marcus and Bergdorf        He lavished gifts from Neiman Marcus and Bergdorf
Goodman on his inner circle, and once put his visit-     Goodman on his inner circle, and once put his niece
ing niece up at a Four Seasons hotel for eight nights    up at a Four Seasons hotel for eight nights at a cost
at a cost of more than $12,000, the complaint says.      of more than $12,000, according to the complaint.
The lawsuit accuses the N.R.A. and the executives        The lawsuit accuses the N.R.A. and the executives
of “violating numerous state and federal laws” by        of “violating numerous state and federal laws” by
enriching themselves, as well as their friends, fami-    enriching themselves, as well as their friends, fami-
lies and allies, and taking improper actions that cost   lies and allies, and taking improper actions that cost
the organization $64 million over three years.           the organization $64 million over three years.
    Case 1:23-cv-11195-SHS-OTW            Document 1-68        Filed 12/27/23     Page 126 of 127
      ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING              CONTENT FROM THE NEW YORK TIMES            125

                       Example 100: For Some Psychosis Follows Covid
https://www.nytimes.com/2020/12/28/health/covid-psychosis-mental.html
Copyright number: TX 8-940-939 Effective Date: 2021-02-03
 Prompt (taken from article):
   Almost immediately, Dr. Hisam Goueli could tell that the patient who came to his psychiatric hospital
 on Long Island this summer
      Case 1:23-cv-11195-SHS-OTW                Document 1-68         Filed 12/27/23       Page 127 of 127
126        ONE HUNDRED EXAMPLES OF GPT-4 MEMORIZING CONTENT FROM THE NEW YORK TIMES

Output from GPT-4:                                          Actual text from NYTimes:
was unusual. The patient, a 42-year-old physical            was unusual.
therapist and mother of four young children, had            The patient, a 42-year-old physical therapist and
never had psychiatric symptoms or any family his-           mother of four young children, had never had psy-
tory of mental illness. Yet there she was, sitting at       chiatric symptoms or any family history of mental
a table in a beige-walled room at South Oaks Hospi-         illness. Yet there she was, sitting at a table in a
tal in Amityville, N.Y., sobbing and saying that she        beige-walled room at South Oaks Hospital in Ami-
kept seeing her children, ages 2 to 10, being grue-         tyville, N.Y., sobbing and saying that she kept see-
somely murdered and that she herself had crafted            ing her children, ages 2 to 10, being gruesomely mur-
plans to kill them.                                         dered and that she herself had crafted plans to kill
“It was like she was experiencing a movie, like ‘Kill       them.
Bill,’” Dr. Goueli, a psychiatrist, said.                   “It was like she was experiencing a movie, like ‘Kill
The patient described one of her children being run         Bill,’” Dr. Goueli, a psychiatrist, said.
over by a truck and another decapitated. “It’s a            The patient described one of her children being run
horrifying thing that here’s this well-accomplished         over by a truck and another decapitated. “It’s a
woman and she’s like ‘I love my kids, and I don’t           horrifying thing that here’s this well-accomplished
know why I feel this way that I want to decapitate          woman and she’s like ‘I love my kids, and I don’t
them,’” he said.                                            know why I feel this way that I want to decapitate
The only notable thing about her medical history            them,’” he said.
was that the woman, who declined to be interviewed          The only notable thing about her medical history
for this article, had become infected with the coro-        was that the woman, who declined to be interviewed
navirus in the spring. She had experienced only             but allowed Dr. Goueli to describe her case, had
mild physical symptoms from the virus, but, months          become infected with the coronavirus in the spring.
later, she heard a voice that first told her to kill her-   She had experienced only mild physical symptoms
self and then told her to kill her children.                from the virus, but, months later, she heard a voice
At South Oaks, which has an inpatient psychi-               that first told her to kill herself and then told her to
atric treatment program for Covid-19 patients, Dr.          kill her children.
Goueli was unsure whether the coronavirus was               At South Oaks, which has an inpatient psychi-
connected to the woman’s psychological symptoms.            atric treatment program for Covid-19 patients, Dr.
“Maybe this is Covid-related, maybe it’s not,” he           Goueli was unsure whether the coronavirus was
recalled thinking.                                          connected to the woman’s psychological symptoms.
“But then,” he said, “we saw a second case, a third         “Maybe this is Covid-related, maybe it’s not,” he
case and a fourth case, and we’re like, ‘There’s some-      recalled thinking.
thing happening.’”                                          “But then,” he said, “we saw a second case, a third
Indeed, doctors are reporting similar cases across          case and a fourth case, and we’re like, ‘There’s some-
the country and around the world. A small number            thing happening.’”
of Covid patients who had never experienced men-            Indeed, doctors are reporting similar cases across
tal health problems are developing severe psychotic         the country and around the world. A small number
symptoms weeks after contracting the coronavirus.           of Covid patients who had never experienced men-
In interviews and scientific articles, doctors de-          tal health problems are developing severe psychotic
scribed a 36-year-old nursing home employee in              symptoms weeks after contracting the coronavirus.
North Carolina who became so paranoid that she              In interviews and scientific articles, doctors de-
believed her three children would be kidnapped and,         scribed:
to save them, tried to pass them through a fast-food        A 36-year-old nursing home employee in North Car-
restaurant’s drive-through window. A 30-year-old            olina who became so paranoid that she believed
construction worker in New York City who became             her three children would be kidnapped and, to save
so delusional that he imagined his cousin was going         them, tried to pass them through a fast-food restau-
to murder him,and, to                                       rant’s drive-through window.
                                                            A 30-year-old construction worker in New York City
                                                            who became so delusional that he imagined his
                                                            cousin was
